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 THE EUGENICAL ASPECTS OF DEPORTATION

                     HEARINGS

          THE COMMITTEE ON
   IMMIGRATION AND NATURALIZATION
      HOUSE OF REPRESENTATIVES
                 SEVENTIETH CONGRESS
                        FIRST SESSION


                      FEBRUARY 21, 1928
         (INCLUDING TESTIMONY TAKEN APRIL 28, 1926,
                  WITH EIGHT APPENDICES)


                         STATEMENT OF
                DR. HARRY H. LAUGHLIN


                      HEARING NO. 70.1.4




                          UNITED STATES
                  Eqh)'ERNMENT PRINTING OFFICE
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      8sO4                     1928
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                             HousE OF    REPRESENTATIVES
                                SEVENTIETH CONGRESS

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          THE EUGENICAL ASPECTS OF DEPORTATION

                           HOUSE OF REPRESENTATIVES,
            COMMITTEE ON IMMIGRATION ANVD NATURALIZATION,
                                       Tuesday, Febuary 21, 1928.
      The committee this day met at 10.30 o'clock a. in., Hon. Albert
    Johnson, chairman, presiding.
      The CHA!RMUAN. The committee will be in order. Members of the
   committee will remember that on April 28, 1926, the committee au-
   thorized Dr. Harry H. Laughlin, who has been conducting some of
   the statistical and biological researches for the committee, to make
   further investigations for the committee. Up to that date three
   reports had been printed. On that date Doctor Laughlin made a
   preliminary report on the subject "The Eugenical Aspects of Depor-
   tation," and he was authorized by the committee to prepare tables
   and analyses concerning biological and other matters derived from
   studies ot the deportations from the United States.
      That matter is now before the committee and ready for the printer.
   It has occurred to the chairman that it would be well to authorize
   these researches to go to the printer as of this date and thereby bring
   them into the activities of this Congress. If there is no objection, it
   will be so ordered.
      I think this will be found a very interesting hearing.

                              HOUSE OF REPRESENTATIVES,
                                 (OMMrTEE ON IMMIGRATION,
                                           Wednesday, ,Jyrii 28, 1926.
     The CHAIRmAN. The committee will be. in order. In accordance
   with previous arrangement, this meeting was called in order to hear
   Dr. Harry H. LaugMin, of the eugenics record office of the Carnegie
   Institution of Washigon, in a series of statements on the biological
   aspects of immigration. At the last meeting, if you will remember,
   when the doctor was present, it was a;=to        set aside from that
   hearing his observations with regard to deportation under present
   laws and to make them the subject of a special hearing. If there is
   no objection he will proceed along that line to-day.
                        PREVIOUS INVESTIGATIONS

     The committee will remember also that on two or three previous
   occasions we authorized Doctor Laughlin to make investigations and
   studies for our use; Doctor Laughlin has been the expert, eugenics
   agent for our committee since 1920, and his valuable investigations
   on different phases of immigration from time to time have been
   printed. These studies previously reported to this committee by
   Doctor Laughlin are as follows:
     1. April 17, 1920, "Biological aspects of i    tion."
     2. November 21, 1922, "Analyds of America's modem melting
   pot."
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       3. March 8, 1924, "Europe as an emigrant exporting continent
     and the United States as an immigrant receiving Nation."
       Those are all printed in the record& of the committee. Doctor
     Laughlin is now'ready to report, as the result of his researches, on
     "The eugenical aspects of deportation."
       The committee understands that these investigations were made
     at first hand under our authority, and because they have required so
     much study in the collection o~f data, in the preparation of tables
     and in their analysis, it is desirable that permission be granted to add
     tables and explanatory appendixes, and to revise the statements.
       'Mr. HOLADAY. Mr. Chairman, I would like to make a motion.
     These tables are very interesting and useful, and we shall need them
     in future reference.
       I move that the matter that Doctor Laughlin gives us this morn.
     ing, together with such tables and other data as he may prepare, be
     incorporated in the committee report of the hearing.
       I understand that there are some matters on which he is not yet
     ready to report; and I include in my motion that we request him to
     continue his study of this matter and to include all of his data and
     analysis in the printed reports.
       The CHAIRMAN. Gentlemen, you have heard the motion. Is
     there any discussion? Without. objection, it will be considered
     ordered.
       I understand that the motion which has just been made and carried
     provides that Doctor Laughlin, expert eugenics agent of this com-
     mittee, shall go ahead with the several studies which lie has on hand.
                  FUTURE INVESTIGATIONS FOR THIS COMMITTEE

       And just for your information, the subjects on which he is now
     working, in order to make future reports, ave as follows (I quote from
     a memorandum of Doctor Laughlin's):
        i. The European sources of .4merican innigration.-The first material for this
      particular research was gathered in Europe under the joint auspices of the Coui-
     mittee on Immigration and Naturalization and the Department of Labor. Sat-
     isfactorv data were secured from 67 of the 123 consular districts in Europe and
     the Near East. The completion of this investigation and the analysis of its
     findings for the use of the committee will depend upon a common agreement
     among this committee, the president of the Carnegie Institution, of Washington,
     and the Department of State of the United States. The facts covered by the
     particular survey relate to the population density, the standards of living, differ-
     ential economic'stress, and the racial composition of the population of each of
     the 123 American consular districts in Europe and the Near East, together with
     a record of the emigration history from each district and an examination of the
     current forces in the particular district which bear upon the quantity and quality
     of bot actual and potential emigration.
        Mr. HOLADAY. Mr. Chairman, I intend my motion to provide
     also that as to those future investigations, because the work on
     deportation is not yet completed, he be authorized to continue them.
        The CHAIRmAN. Without objection, that authority is given.
        The second study Doctor Laughlin is to make is as follows:
       2. Further sludy of crime among aliens.-An extension of the researches of this
     subject already inade in the "Analysis of America's modern melting pot." In
     the new study it is proposed to suirvey not only the State institutions for the
     eriminalistie classes, but also to survey the field represented by the courts, the
     jails, and the public and private welfare organizations, and to classify foreitgn-
     born criminals b- race, type, and history of crime, circumstances of immigration
     and naturalization, and to investigate alien crime in relation to soundness of
     social instincts and stress of adjustment to new environment.
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               DocumentASPECTS
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       3. Population increase and economic stress in relation to human migration.-An
    analysis of population growth in connection with economic stress in the different
    countries of the world.
       4. Mate selection and race crossing in the United States.-An investigation of
    the history and -r,-nt trend of mate selection and an analysis of their under-
    lying causes. This should include not only a study of wide race crossing, but also
    of mate selection between the more closely related racial strains and family stocks.
       5. Differentialfecundity within the present American population, with particular
    reference to the racialcomposition and individual quality of future popidation.-An
    analysis of reproduction rates of different groups of the American population.
       We hope ultimately to hear and have printed reports on all these
    subjects, which bear intimately upon immigration policy.
       Mr. JENKINS. Mr. Chairman, does Doctor Laughlin do this work
    for the Government?
       The CHAIRMAN. Ho does it for us.
       Mr. JENKINS. For this committee?
      The CHAIRMAN. Yes. I will say that his report on "Analysis of
    America's modern melting pot," as printed for these hearings, was
    priceless and the demand for it was so great that copies of it can
    hardly be found now. That was printed in 1922.
      Now, in giving your present report on deportation, will you please
    proceed in your own way, Doctor Laughlin.
    STATEMENT OF DR. HARRY H. LAUGHLIN, OF THE EUGENICS
       RECORD OFFICE OF THE CARNEGIE INSTITUTION OF WASH-
       INGTON, COLD SPRING HARBOR, LONG ISLAND, N. Y.
       Doctor LAUGHLIN. Mr. Chairman and gentlemen of the committee,
    in answer to the question asked a few minutes ago, I will state that
    I am not a Government official, but a member of the eugenics record
    office of the Carnegie Institution of Washington, which is devoted to
    scientific research. The chairman of this committee indicated that
    these researches on immigration in relation to population would be
    of value, and so I have made this particular study on deportation in
    order that I might lay the facts before this committee.
       The CHAIRMAN. I suggest that you open your statement by out-
    lining your present researches.
       Doctor LAUGHLIN. In the investigation which I ant reporting to-
    day, we made a survey of the several State and Federal custodial
    institutions for all types of the socially inadequate, including the
    feeble-minded, the insane, the criminalistic, and other classes. We
    studied the relation between the total number of foreign-born inmates
    in State custodial institutions and the number of such inmates who
    are deportable, by specific types and classes. We followed this with
    a study of the nondeportable foreign-born inmates in State institu-
    tions, by types and classes and causes of nondeportability. Then
    followed a comparison between the numbers of foreign-born inmates
    deportable and the numbers actually deported, by specific types and
    classes. The work included also an examination of the deportation
    practices of the several States, particularly in their relation to Fed-
    eral procedure. Finally we made some studies on the economic and
    eugenic aspects of deportation.
       In our immigration law and practice, deportation is the last line
    of defense against contamination of American family stocks by
    alien hereditary degeneracy. The first line of defense is the attempt
    to exclude certain types and classes of antisocial and otherwise
    undesirable persons, front admission into the United States. Under
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                 EUGENICAL ASPEOTS OF DEPORTATION

      the perfect operation of the law there would be no one to deport,
      but the fact is that many inadequates and potential inadequates
      have broken through our first lines, so that our last resort is to deport
      them, if we wisb to protect American blood from alien contamination.
      It is not a matter of race-that is determined by the quota-but of
      later discovered degeneracy among the particular immigrants, re-
      gardless of race.
                             SCOPE OF INVESTIGATION

          The present investigation has been a first-hand study made under
       the direct auspices of this committee, into the several aspects of
      deportation. In this study, out of 688 State and Federal institutions
      for the several types of' the socially inadequate institutions, we
      received returns from 684, so that any'statistical sunmaries which we
      may make from this investigation may be considered as practically
      complete and as fairly representative of the actual situation. Only
      four--three for the delinquent classed and one for the deaf-institu-
       tions in the group did not finally make returns to these studies.
       These are: Rosewood State Training School, Owings Mills, Md.;
       House of Correction and State Prison for Women, Rutland, Vt.;
      Louisiana State School for the Deaf, Baton Rouge, La.; Mother
       Berkerdyke Ilome, Ellsworth, Kans.
          Of the total 688 institutions, 53 are for the feeble-minded; 173 for
       the insane, 203 for the criminalistic and delinquent classes; 12 for
      epileptics; 82 for tuberculosis cases; I for leprosy; 42 for the blind;
      30 for the deaf; 5 for the deformed or crippled; and 87 for the de-
      pendents. These are major institutions maintained by the States
      and Federal Government,, and do not include private institutions nor
      municipal institutions, such as jails and local almshouses, or county
      institutions for the tubercular.
          ,rhe CHAIRMAN. It (loes not include county alinshouses?
          l)octor LAtx;oHLIN. No, sir. It includes only State and Federal
      institutions, maintained directly by State and Federal Governments.
          Of course the total number of institutions varies from time to
      time; new ones open and occasionally an old institution is closed.
      Most of the returns for the present survey were made during the
      calendar year 1925; many of them were not made until 1926. They
      do not represent the exact situation at any one date, but they show
      the conditions severally at the time of their respective reports.
          In these returns, for the 684 institutions, the authorities reported
      74,170 foreign-born inmates.
          In a preliminary survey which terminated January 1, 1923, we
      found, in 667 State and Federal institutions, where there were all
      classes of the socially inadequate in the United States, a total of
      451,046 inmates. Of these the institutional authorities reported
      knowledge of the nativity of 386,713, or 85.74 per cent; they con-
      fessed ignorance about tie nativity of 64,333 inmates, or 14.26 per
      cent of the whole. Of the total number of inmates of known nativity
      in 1922, 71,271, or 15.80 per cent, were reported as of foreign birth.
      It is not this figure, 71,271 for 1922, but the corresponding figure,
      74,184 for 1925 and 1926, that we herewith analyze and present to
      the committee.
         The CHAIRMAN. It is interesting to coin pare the 15.80 per cent
      of all imnatesbeing of foreign birth with the 12.97 per cent of all
      our population in 1920 being of foreign birth. It is significant that
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                    BUOUNICAL ASPEOTS OF DEPORTATION

    while these defective aliens, whom the several States now support,
    were aligned a quota of zero, they have even overstepped the aver-
    age runof defectiveness in the whole population by about one-fourth.
            FOREIGN-BORN INMATES OF CUSTODIAL INSTITUTIONS

       Doctor LAUGHLIN. The present investigation concerns primarily
    the deportability of these 74,184 foreign-born inmates. (See Table
    I, p. 6.) If our immigration laws had worked as was intended,
    none of the present 74,184 inmates would have been admitted. But
    our first lines of defense were so broken by the alien attack that over
    70,000 inadequates were found in 684 out of 688 State and Federal
    institutions. This disregards the additional numbers which are
    always found in municipal and private custodial institutions; it
    disregards also the number of aliens now at large in this country who
    are destined, shortly, to become institutional inmates.
       It is apparent that, from the practical point of view, the deporta-
    tion service must be greatly reinforced, both by statute defining its
    duties and by adequate appropriations making'it physically possible
    to carry on the duties which are imposed upon it by law.
       The CHAIRMAN. Do they differentiate in these reports as to the
    foreign born who are naturalized and those who are not naturalized?
                       CAUSES OF NONDEPORTABILITY
       Doctor LAUGHLIN. Yes, sir. This brings us to the analysis of the
    causes of nondeportability. In order to answer this and other ques-
    tions in a definite manp'er,'I have prepared a summary table, called
    Table No. 1. It shows, in condensed form, the statistical summary
    and analysis of this problem which deserves particular attention.
       (Doctor Laughlin here displayed and explained Table No. I,
    p. 6.)
       A very interesting feature shown by the examination of the chart
    consists in the fact that out of the 74,170 inmates of foreign birth,
    only 3,798, or 5.12 per cent, were reported as deportable; this means
    that 70,372, or 94.88 per cent, are not deportable. There are three
    reasons for the nondeportability of inadequates of foreigh birth.
    First, the foreign-born person may be a naturalized citizen; second,
    he may have been in the United State. more than five years; and third,
    he may have become inade uate from causes arising since his admis-
    sion into the United States. Of these 70,372 foreign-born inmates
    who are reported as not deportable, the institution authorities gave
    the following reasons: For 15,363, or 20.71 per cent, the foreign-
    born inmates were naturalized. For 33,447, or 45.10 per cent, the
    particular aliens had been residents of the United States for more
    than five years. With 3,526, or 4.75 per cent, the reason assigned for
    nondeportability was that these persons had become inadequates from
    causes arising since their arrival in the United States; and for 18,036,
    or 24.32 per cent of the total foreign-born inmates, the institutional
    authorities claim nondeportability, but could give no reason why.
    Of course this means that for about one-fourth of the aliens, the insti-
    tutional authorities of the States, which States were maintaining
    these alien inmates at their own expense, possessed very little infor-
    mation concerning the histories of their custodial charges. If a more
    vigorous deportation policy were in operation, doubtless much of this
    particular missing information would be found.
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     6                          EUGENICAL ASPECTS OF DEPORTATION

             TABLE l.-Instittuffonal inmates, native born and foreign born, 1925-26

                                                 Num-      Native beta       Foreign born          Nativity
                                                            Num-                                  not known
                                                 ber of
                                                 Insti-                                                            Total
                                                tutions Num-        Per     Num-       Per      Num-        Per
                                                         ber        cent      bet     cent       ber       cent

     Foebleminded .......................          .53    38,347    84.2     1,02      &711 3,218          1209     43,16'
     Insane ...............................         173 148,484     60.43 A W98821.97 4                    17.6
     CriMlnalistl......................             200 8&5057      7&76 11,224  10.39 1,715               10.85   107,991
     Epileptic .........................             12 7,391       7252     749  7.39 2052                20.13    10617.
        beiulous .........................           82 13,478      74.85 26     14.481,M2                 10.6     18,0
     Dao ...........................                       6, 3391.847                     .82 ...
                                                                                                 0 7.34...94M
     Blind ...........................               42    5684 9306   130             2.13    294 4.81 6,101
     Dad .............................               29 0,3.2       91.84         7     .62          10     7.3.. .19
     Deformed and crippled ...............            5    662      748          16    1.82         199    2.69        87
     Dependent ..........................            87 21,254      54.28    8,748     9.57     14,155     3615     39.1&
             Total .....................           684 324,882      67.91       70    15.50 79,3i7         16.58    78,361
         a C84out of a total of 688 institutions supplied returns for this investigation.    (See p. 4.)

        If only about 1 in 20 of the public charges of the Federal Govern.
     ment and of the several State governments is reported as deportable
     it means that 19 out of every 20 of the foreign-born inadequates in
     State and Federal institutions, by some way or another, not only go
     through our immigration sieve at our shore and border, but also hay
     managed to circumvent deportation. The principal remedy would
     seem to provide for more thorough examination into the individua
     and family histories of the would-be immigrant. A great advanc
     in this direction has been made b be inning the examination o
     immigrants in their home towns. Thefeasibility of such examina-
     tions was first demonstrated by my studies made as a representative
     of the United States Department of Labor and of this committee
     We made successfully such actual experimental examinations in
     Europe in 1923 and 1924, in perfect consonance with international
     law. This procedure seems to point the way for achieving a more
     thorough sorting of immigrants before they take the ship for th,
     United States. The would-be immigrant must present his foreign
     passport to the American consul. The American consul, before
     grafiting his visa, can, as we have demonstrated, require a great dea
     of information concerning the individual's present condition, his pas,
     history, and, if need be the history of his family, all of which woulc
     throw a great deal of light upon the possibilities of the particular
     immigrant and his offspring developing into valuable citizens of thi
     United States. But one of the prhicipal direct reaults of such require-
     ment for more thorough overseas examination would consist in the
     more certain sorting out of individuals who are "likely to become
     public charges."
                        IMMIGRANTS DEBARRED AND ALIENS DEPORTED

       The CHAIRMAN. Let us have your memorandum on the relation
     between would-be immigrapft' debarred and aliens deported.
       Doctor LAUGHLIN. For tihe fiscal year ending June 30, 1925
     294,314 aliens wore admitted into the United States, according to the
     report of the Commissioner General of Immigration.
       During the same year, 25,390 would-be immigrants were rejected
     at the ports ard border. The following table gives the classification
     of this latter number by causes:
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                                         DEPORTATIONPageID.361 Page

                                     Would.be immigrants debarred
                         [From the report of the Commissioner.OeDerhl of Immigration)
        Withoutproper immigration visas (under act of 1924):
             Land --.                        .                                            15, 989
                                                      ..-----------------------------------------------
             Seaport ----------------------------------------------------                  2,618
        Likely to become public charges ----------------------------------                 3,029
        Loathsome or dangerous contagious diseases -------------------------                  562
        Per centum limit law, extended (excess quota)----------------------                   561
        Unable to read --------------------------------------------------                     523
        Contract laborers -----------------------------------------------                     452
        Mental or physical detectives -----------------------------------                     505
        Stowaways ------------------------------------------------------                      308
        Criminals -------------------------------------------------------                     251
        Under Chinese exclusion act --------------------------------------                    188
        Immoral classes ------------------------------------------------                       98
        All other classes ------------------------------------------------                    306
               Total .--------------------------------------------------                  25,390
          Only 3,029 were rejected a- likely to become public charges, only
        251 as criminals, and only 505 as mental or physical defectives.
        Compare these figures with the actual findings in institutions in the
        United States. With the growth of inspection overseas, this class of
        would-be immigrants debarred at our gates should be greatly re-
        duced. The removal of the necessity for such debarring is one of
        the greatest humanitarian advances which we could make in our
        immigration policy. The would-be immigrant who is ultimately to
        be debarred or deported should, very early in his contact with the
        United States consular and immigration officials, find out the truth
        concerning his prospect foi admission. Of course, one of the greatest
        practical advances in this direction would consist in making it cost
        the transportation companies money to bring to our gates a debar-
        able condidate for admission. If the transportation companies made
        money, both by bringing them to our gates ,nd then by carrying
        them'back again, doubtless many debarables would go through this
        procedure. But if it cost the companies money to bring debarables
        to us, they would collaborate with the United States in assorting
        immigrants as early as possible in the migration process.
          During ti. same fiscal year-that is, the one which ended June 30,
        1925-there were deported 9,495 persons. By causes these are listed
        as follows:
                                             Aliens deported
                         [From the report of the Commissioner.General of Immigration)
        Entered without inspection ---------------------------------------                 1 169
        Likely to become public charges and vagrants ----------------------                1, 759
        Mental diseases or defects -----------------------------------------                  608
        Without proper visa (under immigration act of 1924) -----------------              2, 723
        Criminals -------------------------------------------------------                     637
        Unable to read ---------------------------------------------------                    474
        Under per cent limit (act of 1921) ----------------------------------                 394
        Immoral classes --------------------------------------------------                    327
        Physically defective ----------------------------------------------                   174
        Loathsome or dangerous contagious diseases -------------------------                  104
        Under Chinese exclusion laws--------------------------------------                     93
        Entered within one year of deportation -----------------------------                  164
        All other causes --------------------------------------------------                   869
               Total ----------------------------------------------------                  9,4 95
     Case 3:19-cr-02637-MSB Document 57-3 Filed 10/14/20 PageID.362 Page 10 of 89
                    TALz I.-Case of ondeabilityof joreign-bom inetiutiondinmates for al types of social inadequacy
                                                                  [From the present institutional investigation, 1925-261

                        Num-                                                                   .t.f.nied.tt.
                                                                                                                 Causes of nondoportability of foreign-born inmates
                        ber of Number of foreign-born Foreign-born Inmates,
                          in-             inmates                   deportable                                                 ent of United States Causes
                         sti-                                                                                            Reside                             arising since ad- Causes not
  Type of Institution     tu-                                                          Naturalized citizens                    ore than 5 years             mission                   given
                        tions
                           re-
                           ort- mae male Fe- Total cn  Per          Fe-
                        p,ing                               Male mate Total Pen Male I Fe Total rent              e Male male    Fe- IT ro t al
                                                                                                                                             a    Per
                                                                                                                                                 cent      Fe-             Per
                                                                                                                                                           male Total cent Total cnt        Per
                              53    7441 M 1,602 100
Feeble-minded .......                                          12       g     21                                 0.94;     343                                 6       9 0.50         631139.38
Insane.............         173 29,94224,044 53,986 100 812 411 1,=                     G,335.050 11.439 21. 19114,276 11,454? 25,730 47.66                  392 1.615 2.99 13,979 25.89
Criminalistic .........     200 10,731      493 11,224  100 %,366 43 %,409                             2,030 18.091 2,930           3421 3,2721 2. 15               248     .21    :3,201   2.09
Epileptic .............       12    392-    357    749  100             2     10        41     30            71 9.481      343      325,     668189.19                 0 0
Tuberculous. .........                                  100        81 33 118                                    32. 90!    759      2521 1,011   38.77              541   20.74        801   3.07
Leprous ..............                                                                 654   204                                      75211LMX.{0
                                                                                                              0 0 1         45                                         0 0              05 0
Blind .................      421 92          38 130 100                 o      El
                                                                               0                             44 33.85       32       13       45134.62         6      15  11.54        261  20.00
Deaf............              29'    30'     27"    57 100       01     0                0'      a           i1 19.30,      18       1.51 33 57.89             0l      0 0             10 17.54
Deformed and crip-                                                   1         3
  pled ................        5!             8     16  100                                                                           61 12 75.00
                                                                                                              0         0    6                          2              4 2.04           0 0
Dependent ...........8,1 3,.22              520 3,746 100      10 4           14       776111             8 r95 23.89 1,386         312 1,698 45.33 1,0tI I 54 1,094 29.2C             45 i 1.20
                                                            3,2.           ,9
      Total. ..........     684147, 276 26,894 74,170   10                        12 9,630 51=1 i5,363 r20.711 20,1381 13,3MI 33,447 45.10 3,033                              ii -i--      - -
w                                                                                          1                                                    1         1 493
                                            Aliens deported from United States for the fiscal year ending June 30, 1925
                                                           [From the report of the Commissioner General of Immigration. 1925]
                                                                                Number                                                                                              Number
Causes of deportability:                                                        deported           Causes of deportability-continued.                                               deported
   Feeble-minded ..............................................................         4             Unable to read (over 16 years) ...............................................     474
   Insane .......................................................................     527             Likely to become a public charge ............................................    1,758
   Criminals ...................................................................     637              Al others (including persons deported for legal reasons not necesarily coupled
   Epileptics ...................................................................       6               with social inadequacy) .................................................... 5.,930
   Under Chinese exclusion act .................................................       93
   Contract laborers ............................................................      66                Total ......................................................................      9,495
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       Deportables fall principally into four classes in relation to the
    statute of limitations, mode of entry and kind of person. These
    classes are, first, members of excluded classes at time of entry,
    whose deportation is compulsory within five years after entry;
    second, public charges from causes existing prior to entry; and whose
    deportation is compulsory within five years after entry; third, entered
    without the consent, of, or at time or place not designated by immigra-
    tion officials, and whose deportation is required within three years
    after entry; fourth, certain classes of prostitutes, persons engaged in
    the white slave trade, and anarchists, whose deportation is com-
    pulsory within five years after entry.
       In this study we are interested only in deportation of the socially
    inadequate individuals, particularly those who have become the
    charges of the several States on account of inadequacy of one or
    more of the several types shown in the tables which accompany this
    report. During the year 1925 the Immigration Service del;orted
    4 persons because of their feeble-mindedness. In the 53 institutions
    for the feeble-minded, the present survey found 1,612 foreign-born
    inmates; thus we find that the relation between the number actually
    deported and the foreign born of this particular class is very remote.
    In reference te the insane, we learn that the immigration service
    deported, on account of insanity and all other mental conditions,
    except feeble-mindedness, in this year, 527 persons. Our survey
    found 53,986 insane persons of foreign birth in our State and Federal
    institutions. In 1925 tle immigration service deported 637 criminals.
    We found in the State and Federal prisons (thus excluding jails and
    workhouses) 11,444 persons of foreign birth. To catch up with the
    intent of the law to maintain its standard of desirability for immi-
    grants, the country will have to deport defective aliens in greatly
    increased numbers.
       At this point it is proper to compare the findings of the present
    field survey with the official records of deportation made by the
    Secretary of Labor and the Commissioner General of Immigration.
              LIMITATIONS OF PRESENT DEPORTATION FACILITIES

      The CHAIRMAN.     Let us add these to our record.
       In the Ninth Anual Report of the Secretary of Labor, for the
    fiscal year ending June 30, 1921, the Secretary says (p. 28):
      The lack or a sufficient appropriation has prevented systematic overhauling
    of the various State and Federal charitable institutions with a view to returning
    deportable a0en inmates to their respective countries, although this work will be
    prosecuted as vigorously as possible with the limited funds at hand.
       In the Annual Report of the Commissioner General of Immigration
    for the fiscal year ending June 30, 1922, the Commissioner General
    says (p. 17):
       Lack of funds has prevented the bureau from conducting an active campaign
    against aliens unlawfully resident here, and many such who were proper slb-
    jects for deportation aider our laws have been permitted to remain for this
    reason. In fact, it. may be stated that the bureau has been careful to see that
    the activities in this direction of its field officers have been confined to the more
    extreme cases where, for peculiarly good cause, deportation should be accom-
    plished.
       In the Annual Report of the Commissioner General of Immnigra-
    tion for the fiscal year ending June 30, 1925, this officer says (p. 9):
      Of the total number of deportations effected during the year, 958 aliens were
    permitted to reship one way foreign as seamen in lieu of deportation, and in
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                        EUGENICAL ASPROTS OF DEPORTATION

      fulfillment of the terms of the warrants of deportation in their respective cases.
      This procedure resulted In a saving to the Government of approximately
      $148,281.56.
         In addition to the foregong, many thousands of dollars have been saved the
      appropriation by judiciously controlling the transportation of deportees from
      point to point in this country for ultimate deportation, with a view to the maxi-
      mum economy. * * * Approximately $20,868 was saved in transportation
      costs alone in cffecting, through the port of Galveston, Tex., instead of con-
      veying them to Ellis Island * * *.
         Doctor LAUGHLIN. It is important to consider that while we may
      expect a great reduction in the number of persons rejected at the
      ports and border, the number of deportations has, in recent years,
      risen rapidly. Both of these trends point toward greater efficiency
      in policy and administration. Thus in 1921 the total number of
      persons deported was 4,517; in 1922, 4,345; in 1923, 3,661; and in
      1924, 6,433. This speaks well for the executive department in-
      trusted with this work. The advance is small, but it is in the right
      direction. The deportation of all deportable persons in the United
      States would constitute a tremendous task and would cost much
      more than the funds made available by Congress for such a purpose.
      As a matter of fact, most deportables are permitted to remain in the
      country until the statute of lih;tations automatically transforms
      them into the class of nondeportables. In the present study we are
      concerned primarily with institutional inmates. The individuals
      who get in the institutions constitute only a minor portion of the
      undesirable elements. It is known that only those inadequates who
      fall way below the line of efficiency into the class of helplessness or
      desperation are institutionalized. These are the extreme inade-
      quates and are always much fewer than the great border-line class,
      lying between competency and efficiency on the one hand and help-
      lessness and menace on the other. But of the 74,170 foreign-born
      inmates, 33,447 were given as nondeportables because of more than
      five years' residence within the United States. This, as I previously
      stated, is 45.10 per cent of our whole number of foreign-born inade-
      quates in the State and Federal custodial institutions. Of these,
      only 3,526, or 4.75 per cent, were nondeportable because they were
      certified as having become inadequate from causes arising since their
      arrival in the United States. Except for the statute of limitations,
      practically all of these inadequates would be deportable except the
      3,526, for whom we take the responsibility, because we assume that
      their misfortunes are due to causes which'arose in this country; it is
      assumed that they did not bring the basic causes of inadequacy with
      them. It might'be well to extend the statute of limitations to 10
      years, making exceptions for certain classes of crininalistic persons
      who should never be given the advantage of this limitation.
          RELATION BETWEEN         NUMBER     OF DEPORTABLES AND          ACTUAL

                                      DEPORTATIONS

                                    (See Table II, p. 8)
        This investigation shows that not nearly all of the aliens who were
      found in the United States, and who are inadequate below the level
      set by our immigration standards, are legally deportable, and of those
      who are legally deportable only a small fraction are actually returned
      to the countries which produce them. The situation calls for not
      only raising our admission standards on the basis of total numbers,
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    race, family stock, and individual quality, but also of keeping track
    of the aliens within our borders, and upon the first discovery of an
    alien, especially if such person is likely to become the parent of future
    Americans, who does not conform to our admission standards and to
    the standard we have set for our own citizenry, of securing his prompt
    return to his home country. It seems like a simple statement, but it
    is elementary. Our present research has covered a portion of this
    field in a careful manner. It is hoped that future researches will
    investigate other phases, particularly the trend of our national
    racial characteristics as the result of race crossing within the United
    States, and also the trend in hereiditary endowment of our people
    in reference to those inborn capacities which we prize, regardless of
    race.
   * The CHAIRMAN. We hope that such a study will be made. It
    would be of great use to the committee in its deliberations.
    ADMINISTRATION DISTRICTS OF THE BUREAU OF IMMIGRATION                 OF
              THE UNITED STATES DEPARTMENT OF LABOR

       The CHAIRMAN. Let me suggest that you show the map of the
    United States which you have prepared showing the boundaries of
    the several immigration districts. The desire to diffuse informa-
    tion concerning procedure in deportation prompts mn to suggest that
    the map which is before us (see p. 52), showing the districts and the
    headquarters of the immigration officers, be published in these
    hearings.
      Doctor   LAUGHLIN.   W-e have a copy of the general order No. 2
    which, on December 6, 1922, established these districts. For our
    own use we prepared a map showing them, but so far as I know no
    map has yet been published showing their boundaries, convenient
    for ready reference. The only map of this sort which I have seen is
    the one in the office of the Bureau of Immigration in Washington.
       The CHAIRMAN. Without objection, this map will be printed in the
    record, and other plats as needed.
       Doctor LAUGHLIN. This [indicating] is a map (see p. 52) of the
    United States which shows the administrative immigration districts
    of the United States; and every one of these districts has a capital,
    you night say, which is the headquarters of the immigration business
    in that district.
       The CHAIRMAN. Let me interrupt you a moment to explain this
    map [indicating). (See p. 52.) Of course, each person would be
    interested in his own district. You notice right away that the State
    of Washington is split in the middle and that one corner of it, ap-
    parently about the size of two or three New England States, is the
    western district of Washington. Now, in the institutions there,
    there are over 1,300 deportable people, including some, however,
    who have been in the institutions more than the five-year limit.
       Now, that is not only highly informative, but these tables are
    carried out so as to show why these people are not deported,
    what the cost of deporting them would be, and so on. And that
    is shown on those tables for the whole United States. The publi-
    cation of this map ought to be of use as an aid in making the neces-
    sary contacts between persons in charge of or who know of de-
    portable aliens and the deportation officers of the United States.
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                        EGENCAL ASPECTS OF DEPORTATION

                 E IXe RrSTATE RETURN OF SOCIAL INADEQUATES

         Dftor LarGcinz. Cbosely connected with the matter of the inter-
      nsimW itlwu Or deportation of inadequates is the interstate and
      intimnanty lel     mn of -similar classes. We often find in the cus-
      tedW        iztmims of one State a large number of inmates who spent
      mett of their efective lives, if they possessed such a period at all, in
      wme onber State, but who are now being maintained many with no
      frispe of _is or eoonomic rehabilitation, in custodial institutions of
      or at de cist of some host State. In social management and in
      goirezmummta pfircy and in the interests of eugenical conservation
      theft is a 'e"N important general principle of responsibility and de-
      poat*6ola whxda is being developed and which has made great head-
      WV&y in wee*01 years.
         The C(\umi&x-. How would this principle be stated?
          M neo La-,uN. It might well read this way: "Each community
      wbjxh pmdoes a socially inadequate individual should be required
      to twre tke Qudb person during the period of inadequacy." This
      woaM       rewmt -'dumping,"if such practice exists. It would prevent
      Whe oiiia. l Kr x4fi!dcal encouragement of emigration of the less effec-
      tive Ewnm, s of a community, and it would place the responsibility
      wbfte it 1b*Bcgs soeia1v, economically, and eugenically. Socially,
      the caze* a deftretire is certainly the duty of the family, the con-
      mumity, te Sttte, and the nation which produces him. Economically
      the coet Aodd be assessed on the group responsible for him, and
      ealrmEl, it is dear that a person with defective hereditary endow-
       mentA nd not We permitted to leave his offspring as seed stock in
      odnr tnviutaies than his own. Nor, for that matter, should he be
      pennit$il to reproduce at home. But that is a domestic matter.
      The ben* ateitoTy should solve its own eugenical problems at home.
      Whae 4%n4f&mingthe United States as a whole, the matter of inter-
      nmdeeal depotation is a Federal matter.
         TMhe wer States have it as a function of theirs to maintain social
           .qwd.esz, Ah]ugh the Federal Government decides who may come
      hm- The ltiter Govemment ought, therefore, in common justice, to
      dqpat aH M            ornorinadequates to the countries whence they
      ca,     wt.-m soh inadequates are found being maintained at the
      expense of &e several States. Indeed, there is a growing tendency
      an the put of the several States to request permission of the Federal
      Gem imt to sue the United States in equity to recover the cost of
      nDjinnmilg fonfi-born inadequates, whom the United States has
      penuttd to ione into its Territories and whom only the United
      Sites can &plcrt. Doubtless, greater activity of this sort on the part
      ef th.w.        States would exert pressure which would animate the
      Fe ia Govent to develop its deportation policy to a point of
      gtmte   effime.
         In wfermce to interstate deportation, our particular investigation
      nAed fvr pIini paS questions of each of the 688 custodial institu-
      fmm We xwirved turns from 590 of these, jointly with similar
      itmluns in nene to international deportation. The questions and
       wwswv!u, tiabdUite by substance of answer and type of institution,
      SMas feaa
         'Thw Cumnza.     We can examine the tables and print them in the
       hin-
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                                EUOENICAL ASPECTS OF DEPORTATION

                               A.   RETURN OF CITIZENS OF OTHER STATES

        1. When a citizen of another State is returned from your institution, to what
    officer in his home State is he delivered?
                                     Type of inslilution

    (Nos.-Types of institutions: Ffor the feeble-minded; I-for the Insane; C-for the cri inallstie and
     delinquent; E-for the epileptic; T-for the tuberculous; B=for the blind; D-for the deaf; Dep.-tot the
     dependent)


                       Answer                         F.      I.            C.   I E.    T.         B.        D.   Dep.               ToAl


    Sheriff..................................      S20                   1......
                                                                         I8                     .............                  35
    Institution ..............................   4    $9       7 ......           3       1.1                  2!... . 67
    Relatives or friends .....................   5     5      17 ...........                        5          4 .             37
    No returns made ....................         S11
                                                 8 14 It7 38  31
                                                              48:        1      254 1 337
                                                                                14                  9492~ 221 1         21?i 1142
                                                                                                                              112
    No answer ..........................
    No nonresidents admitted ...............     5     1        II 1            i15                  4 1                5      72
    Refer us to some State department or
      official ................................  3    17       4!       2         5 .........                 .....
    Probate Judge........................... I         1...........            .              ...... I...                    i
    U. S. Veterans' Bureau or hospital ......
    No fixed rule-home, Institution. or*                                     -...... I......
                                                                           ------                          ------
      county official .........................
    Designated by authorities of receiving
                                                            .s .. .... 2. ...... .....                             .......
                                                                                                                   ......
      State ................................     3. 12         S ...... ......            .............           ......       18
    Designated by authorities of returning'
      State ..................................
    Probation officer ........................                             .I..... . . . . . .,.. . . . ., 22;
                                                              ....... 82 ....
    Police official ............................
    County attorney ........................
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    No State laws on subject ................                                 4, ...... . ....... ...... ...... i...... i       S
    Returned only when discharged or pa-
      roled ..................................                               ...... . ......
                                                                           S.....                           -:::.               3
    Commissioner of charities ............... ......               ...... 3                .                  . - -
    Court..............................
    None ...................................
           Total .............................              41513            177 1~ 711 3 31 =                        671...I N

      2. In such cases, what is the nature of the cooperation given by the receiving
    State?
                                                    Type of inatiLufion

                       Answer                         F.      I.            C.     E.    T.         B.        D.


    None given .............................                                 14'    1
                                                                                   32
                                                                                       7            .3                            o~.    42
    Good cooperation.......................
    No inmates returned ....................
    No nonresldants admitted ...............
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    Acceptance of legal residents ............                                21........                               1 .               37
    Good cooperation with some States but
     not with others ........................                                                                                .        I. 13
    No answer ..........................                                                             15               19         1I     142
    Refer us to some State department or                                      31    2    3 I.
     official ................................                                                                         ""i .             35
    Reciprocal agreements ..................                                  25 ..........I.                                            12
    Eitradition .............................                                                                       ".. .                14
    No fixed rules or laws ...................
    Arrangements made by State depart-
     ment or official ........................                 10                              .!                       i                 6
    Pays expenses of return .................
    Cal for grlsoner ...............
    Returned only when discharged or par-
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           Total .............................                                                                231 67....QO
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        3 In case of such returns, who pay& the transportation and other return
                                                Type of institution

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       4. What practical rule determines whether an inmate shall be returned to his
     bowe State?
                                    Type of institution

                      Aswer                       F.           1.      C. E.T.            B. iD. Dep.                  Total
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          TOW ......................... 1      ' 77     90  771   33  23f1                                                 M


        Doctor LAUGLM.N. While there is yet no highly developed system
     for returning inadequates to their respective sources in the United
     States, we can see a definite groping toward such an end and can
     observe considerable progress being made toward its achievement
     within the last few years.
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                EUGBNIOAL ASPEOTS OF DEPORTATION

         One of the most interesting studies made in the field of national
      and interstate deportation has been carried on by the New York
      State bureau of special examination, by Dr. Spencer L. Dawes,
      medical examiner.
        The CHAIRMAN. It is important that we have this report on file.
      If we can secure it, I suggest that we print it as an appendix to this
      hearing. Without objection this will be ordered.
         (See Appendix 5, p. 67.)
         Doctor LAUGHLIN. I have here also the returns from our own
      inquiry on international deportation practices, received from the
      same 590 institutions.
        The CHAIRMAN. These also should be included in the record.
      The States, as well as the Federal Government, have a responsibility
      and a duty in deportation.
      THE ADMINISTRATIVE     INITIATIVE IN DEPORTATION     OF ALIEN PUBLIC
                                     CHARGES

        Doctor   LAUGHLIN.   We made inquiry of each State and Federal
      custodial institution in the United States to find out how many
      foreigners each had in its custody, and of those how many were
      deportable, and of those who were not deportable, why each was not
      deportable, as I have already explained. And then we went further
      and made inquiry into the procedure of deportation. Of each insti-
      tution we asked the following three questions:
         1. With what Federal deportation office, if any, has your institu-
      tion made immediate cofitacts?
         2. In the case of deportation of aliens from your institution, who
      has taken the initiative-your institution or the Federal authority?
         3. In the case of deportation of aliens from your institution, who
      pays the cost of transportation and other deportation expenses to
      the border or port of departure, your institution (that is, your State)
      or the Federal Government?
         The returns of this study are shown in the accompanying tables
       (pp. 12, 13, and 15). When it came to asking the institutions, who
      had custody of more than 70,000 aliens, with what Federal deporta-
      tion office, if any, the particular institution had made immediate
      contact, only 196 could answer the question; 288 claim to have made
      no contacts; 77 gave no answer; the other institutions referred us to
      some other official for our answer. It is interesting that from 590
      institutional returns, in reference to initiative in deportation, 202
      have stated that they had never made any deportation, and conse-
        uently could not answer the question; 40 had no alien inmates; 94
      did not answer. Only three confessed not to know. One claimed
      that "the patient or relatives" took the initiative; 18 that "some
      State department or official took it," while one referred it to the
      "court of commitment." Fifteen said that "either the State or
      Federal Government" took the initiative.- Thirty-one answered
      "some official of the State." Eighty-five said that the Federal Gov-
      ernment took the initiative, and 100 said that the particular institu-
      tion took the initiative.
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                                    OF DEPORTATION

                                         B. IaCPORTATION Or ALINS
       1. With what Federal deportation office, If any, has your institution made
     immediate contacts?
                                 Type of institution

                       Answer                       F.         1.        C.         E.              T. IB.          D.       Dep. o           Total

       o named.....................15
      No contacts made ..................... 2
                                                    5
                                                         7
                                                              2
                                                              6                                     44    271 14
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                                                                                                     2 ..........               4
                                                                                                                               48
                                                                                                                                          1
                                                                                                                                          5
                                                                                                                                                19
                                                                                                                                                38
      No foreign-born .......................  I .     .   .,
      Refer iu to some State department or            I
       offiol ..............................  2    131        1                                      6,1-$ ........           .                  25
           Total                ...............
                                          49J 13 1                       M77 9                      71 1331 231                671        8       00
       a Includes, for all questions under "B," 5 Institutions for the deformed, I for Inebriates, I for lepers,
     and I for diseases (venereal).
        2. In the case of deportation of ajiens from your Institution, who has taken the
     initiative, your institution or the Federal authority?
                                                    Type of institution

           .......
               .......
                 .......i
                        ...
                       Answer                         F         I         C             R            T       B        1) Dep. I Al ii Total

     Institution (or State) ................
      Federal Government ............... 4
      Some State department or official.......
                                                f   3
                                                          81
                                                         17
                                                         13
                                                               50
                                                                7
                                                                    81
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      No deportations made ............ 18 2                   65 .......31
     'No alien Inmates ........................ 1   2 ....      0 ...... 8       8     4      7    1;   40
      Noanswer ..............................     10      9    25     3    it    7     9     18    4    94
      Do not know ................. 1                     2 ..................                           3
      Patient or relatives ............... ..... ............     .
      Refer us to some State department or
       official          ....................
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            Total.........................              163 17 1           71


        3. In the ease of deportation of aliens from your Iinstitution who pays the cost.
     of transportation, yotur institution (or State) or the Federal government?
                                                    Type of institulion


                      Answer                          F                   C             E            T                D       Dep.    A       Total


     Federal Government ....................              7      77           78            3         10            .            6              178
     State Institution or State department...             4      308           3                         3                        S......        21
     No deportations made ..................             2D                   48                      34                       10
                                                                                                                                42     3        199
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     Relatives or friends .................... i                    8                                                            I ' 1
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     Sometimes Federal, sometimes State
      Government ..........................                                    48        2,                                       93   3        198
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                                        49 153
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              FEDERAL AND STATE COLLABORATION IN DEPORTATION

          Doctor LAUGHLIN. In this study one thing came out very promi-
       nently, and that is the peculiar relation between the Federal and
       the tate Governments in the business of deportation. Now it is
       clear that many States hav-e no laws at all to coordinate or cooperate
       with the Federal Government in deporting defectives. They leave
       the initiative to the Federal Government to find these individuals
       that need deportation or are deportable under the law; other States
       such as New York, which has the greatest deportation problem of
       any State, recognizing the gravity of the situation, has a Bureau of
       Deportation wel organized.
          Rather than take the time of the committee to describe that
       process further, I will merely say that we secured front each State
       data as follows:
          Whether the State has any central officer concerned with or dele-
       gated to the task of controlling deportation; whether the State has
       any law of any sort to take the initiative in deportation or to coor-
       dinate with the Federal Government, and also whether the State
       has any law or administrative system enabling the State officers to
       deport or return, not to foreign countries, but to other States in the
       United States, their socially inadequate individuals. This idea of
       deportation to the home of the dependent was treated as an inter-
       national matter, as an interstate matter, and even as an inter-
       county matter, and beyond that as an interfamily matter.
          We find that the Federal Government is much further advanced
       than the several State governments in trying to locate the respon-
       sibility for the production of degenerates. We have laws in the
       United States calling for the deportation of certain classes. Not all
      of the States have laws calling for the return to their home States of
       the citizens of other States, who are dependent and defective, and
      who arc maintained bv the host State. It is clear that when once the
      biological principle of hunain migration is firml3 established in our
      policy of government, the following rule will be put into effect: "Any
      county, State, or nation which is responsible for the production of i
      degenerate or defective iust he inade to take care (if that individual
      and riot impose his custody, expellse, 1nd care upon tsntother
      community."
         In summary of another phase of the study, let me say that we find
      28 States, (see appendix 4, p. 54) each with the department or officer
      for the general control of its custodial institutions and with more or
      less authority over State deportation activities. There are 29 States
      which claim to have machinery and procedure for taking the initiative
      for deportation. Thirteen States report having m provision for depor-
      tation. Twenty-two States report having laws for the return to the
      home States of nonresident inmates of their institutions. But gen-
      erally, so far as State initiative in deportation of aliens is concerned,
      there is but little activity. Only a small portion of the administra-
      tive officers of State custodial institutions with alien inmates are
      acquainted with deportation laws and procedure or take active
      interest in deportation of aliens. When such business is handled at
      all by the State, it is generally handled by a central State agent, but
      for the most part, initiative and execution of deportation processes is
      still largely a Federal matter. Many institutions do not even keep
      permanent records of deportations; thus they are unable to give a
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      statistical history of aliens deported from their respective institu-
      tions. Homes for orphans and dependent children, whose inmates are
      largely native born, naturally show little interest in deportation.
      Schools and institutions for the blind and the deaf very reluctantly
      furnish information pertaining to their pupils. They seem to resent
      having their charges classified among the socially handicapped. As
      this group of handicapped persons, consists largely of native-born
      persons, there is hardly any deportation practiced by institutions for
      their care.
         Two States are of particular interest. In California deportations
      are handled by the department of institutions. This bureau has
      initiated deportations from 13 institutions-6 for the insane, 4 for
      the criminalistic, 2 for the feeble-minded, and I for the blind. But
      New York is perhaps the best example in which the State is excep-
      tionally active in such matters. Here the problem of alien inade-
      quates is so pressing that a Bureau of Deportation is maintained by
      the State hospital commission, which works in close harmony with the
      Federal Government. It is clear that in each of the several States
      there should be an active State deportation bureau or officer in one
      of its departments concerned with handling social inadequates.
      This bureau or officer should be charged with taking the initiative in
      locating deportable aliens and citizens returnable to other countries,.
      and in consummating such deportation and return.
             TYPICAL DUTIES OF THE STATE DEPORTATION OFFICERS

        A paragraph like the following might well define the duties of the
      State deportation officer:
        It shall be the duty of the State deportation officer to survey the institutions
      and population of the State In order to locate individual aliens and nonresident
      social inadequates, and when such inadequates are found, it shall be the duty of
      the said officer to institute and to consummate legal proceedings, in collaboration
      with the Federal immigration service, for the deportation of such aliens to the
      countries of their origin or citizenship, and to institute and to consummate legal
      proceedings for the return, to their respective home States, of such inadequates
      who are citizens of other States.
        The CHAIRMAN. Will you describe again the second study which
      we have in mind?
        Doctor LAUGHLIN. There is another important study which, if made,
      would constitute a logical step in this series of researches. I refer to
      the matter of mate selection. This has to do with family stock
      crossing and with the questions of race mixtures. Suppose we have
      10,000 persons of known race and family stock quality in our midst;
      how will they mate? How many children will each mating produce?
      The answer to such questions is important. These are some of the
      things we want to find out, because of their bearing upon the inborn
      character of future Americans. Mate selection, together with differ-
      ential fecundity, should constitute early studies. Immigration policy
      has and will continue to constitute a major element in this problem.
        The CHAIRMAN. More than in any other field, the Federal Govern-
      ment controls the character of future Americans through immigration.
      These biological studies are of fundamental importance.
        Mr. Box. We shall have to give heed to them or go out of business.
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                  RACE MIXTURE AND DIFFERENTIAL FECUNDITY

         Doctor LAUGHLIN. Wherever two races come in contact there is
      always race mixture in the long run, and the upper levels tend to
      maintain themselves because of the purity of the women of the upper
      classes. The women of the upper classes marry only into their own
      racial and social levels. The women of the lower classes and the
      so-called inferior races tend to take mates, whether legitimately or
      illegitimately, from the dominant or upper races. The consequence
      is that the perpetuity of a race depends upon the virtue of its women,
      and among the lower races, wherever two races come in contact,
      there is a tendency towards "breeding up" by the "pure sire method."
      But that, of course, can not supply the whole nation with its upper
      levels; the upper levels are always recruited by the mothers of the
      better class. The "pure sire" principle in race mixture has had the
      biological effect of breeding up the lower races, and the only thing
      that has prevented the complete mixture of races where the two
      come in contact is the high virtue and the high mate selection standard
      of the women of the dominant classes.
         Mr. Box. May I ask right there, is it not true that the upper
      classes are subjected constantly to the tendency to have very small
      families?
         Doctor LAUGHLIN. Yes, sir; and that is a matter of differential
      fecundity that calls for still another study. The time will come when
      the several States, rather than the Federal Government, in making
      marriage laws, and the people in building up their customs, will have
      to demand fit mating and high fertility from the classes who are better
      endowed physically, mentally, and morally by heredity, and to pre-
      vent, either by segregation or sterilization or otherwise, the repro-
      duction by the more degenerate classes. That is the job of the
      biological control of population, and immigration, of course, is one
      of the three great factors and the only one the Federal Government
      can now use effectively. Immigration control is the greatest instru-
      ment which the Federal Government can use in promoting race con-
      servation of the Nation.
      THE FAMILY OR PEDIGREE STANDARD              FOR ADMITTING IMMIGRANTS

         There is one other feature which might well be brought to the
      attention of the committee, and that is the family basis for admitting
      persons into the United States. The law should define a family
      standard for admission, because equally or even more important
      than the individual is the family stock from which he springs. The
      immigrant is, above all, a progenitor of future Americans. The
      family or hereditary standard should be high enough to insure that
      future Americans sired by present-day immigrants be well endowed
      physically, mentally, and normally. It might be well to define a
      family and the standard for family connections something like this:
        For the purposes of this act, and for administering the immigration law, the
      family is hereby defined as a small group of persons closely related by blood.
        Socially, the family is a small group of persons closely related by
      blood, marriage, or adoption, and which constitutes a single house-
      hold or a single econonc unit. But these latter considerations are
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    apart from the present problem. We are now interested in good
    blood-that is, in the standard of hereditary family excellence. For
    the latter, the law might state:
       A sound family is one whtch, except for the normal exigencies of childhood and
    old age, has not more than I inadequate out of 10 total members; provided
    that such inadequates shall not be so on account of highly hereditary and highly
    degenerative constitutional traits; provided that a sound family shall, in its own
    community, bear a favorable reputation for physical stamina, intelligence,
    obedience to sobriety, and initiative.
      Then if a person, besides being required to be not feeble-minded,
    not insane, not crininalistic, not possessed of loathsome disease and
    not apt to become a public charge, could be required positively to
    be derived from a sound family, we would expect from the persons who
    are admitted to the United States that fewer persons ultimately
    would get into the socially inadequate classes, and there would be
    much less need for deportation, and, above all, we should logically
    expect that the children of immigrants would tend to raise the level
    of our future racial soundness, intelligence, and inborn social instincts.
       The family unit standard would also be an advantage from thie
    humanitarian point of view, because in this country the immigrant's
    family would not have to be broken up on account of one or more
    members being deported. No member of the family would have
    been admitted in the first place, so its members could maintain their
    family unity in their own hones. If family quality were made a
    provision and requirement for immigration, the country would profit
    greatly.
       Mr. WHITE. This question might not be pertinent; but have you
    taken into consideration the great difficulties there would be in
    arriving at this definition, in the way of parentage, progenitors?
       Doctor LAUGHLIN. There is no doubt about the difficulty of the job,
    but if we ever have a process of registering aliens on this side of the
    water, and of examining aliens abroad, and have an immigration
    passport system with immigration passports carefully visaced by
    our consuls on the other side, it ought to be a possible task. It
    would not be a small task by any means, but it would be a possible
    task.
      BASIC PRINCIPLES OF THE UNITED STATES IMMIGRATION POLICY

       The immigration laws or the United States and our immigration
    policy formerly were based upon the asylum idea; let every one come
    to the United States who cares to come. The next step in advance
    was to base the immigration policy on economic grounds. Then the
    third basis is the one we are just entering on now, the biological.
    The first step in that direction was taken when certain undesirable
    classes were excluded, but as we showed in the last hearing, excluding
    the individual without reference to the stock or the family he comes
    from is not very effective, because in the next generation, instead of
    the alien feeble-minded, for instance, supplying only 30 per cent of
    their quota, the children of immigrants supplied 190 per cent which
    showed the letting in of bad blood.
       The time will come when this country will have to face, more cour-
    ageously than it has at the present time, the matter not only of race
    and of individual quality, but also of pedigree or family stock, and
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     we will also have to face boldly and courageously the matter of race.
     It is a matter of conservation of nationality. After the Chinese
     exclusion act, the greatest step that the American people took in rela-
     tion to the nationality or race was, of course, the quota laws of 1921
     and 1924. It is now clear that the country has in its recent legisla-
     tion entered definitely upon the biological basis, a farsighted policy, of
     immigration control.
        The CHAIRMAN. The mere fact that we have a 2 per cent quota
     law is a long step in the right direction.
       Doctor LAUGHLIN. Yes, sir.
       The CHAIRMAN. And you think it led us to the conclusion that we
     ought to weed out within the 2 per cent, or any other per cent we
     have?
       Doctor LAUGHLIN. Yes, sir.
        The CHAIRMAN. Of course, as a matter of fact, the quota act is
     really the first restrictive step we ever had in the law. The others
     were more or less selective attempts, slight attempts to selection by
     certain elimination, with the exception of the Chinese exclusion act.
        Mr. Box. In your opinion, what would be the ultimate result upon
     the people of America and upon the country if we should continue
     indefinitely the policy that had controlled us prior to the enactment
     of the 2 per cent law?
        Doctor LAUGHLIN. The racial constitution of the ultimate American
     would, before many generations, be very different from the American
     of to-day. It would be certain in time to upset our ideals of law and
     government, and it would cause also a severe social upset. Our social
     ideals would be changed- because the fundamental instincts of the
     people would be different. They might be better, but they would
     be different, most probably inferior.
       Mr. Box. I want to have the opinion stay in the record.
       The CHAIRMAN. I will be very glad to have it stay.
     THE SOVEREIGN RIGHT TO DEPORT ALIENS, AND THE OBLIGATION OF
        THE HOME COUNTRY TO RECEIVE ITS RETURNING NATIONALS

        The CHAIRMAN. Suppose the home country should refuse to
     receive its nationals whom we attempt to deport to it?
        Doctor LAUGHLIN. While international law is not written in black
     and white, by a superior legal authority capable physically of enforc-
     ing its statutes, nevertheless it is clearly established in practice that
     no country or State or community for that matter, may refuse to
     receive into its territory its own nationals regardless of whether such
     nationals return voluntarily from or are deported by a host country.
     A second section of the same unwritten law states in substance that
     every sovereign nation has the right to deport aliens frum its teri-
     tories, which right can be limited only by specific treaties. In Italy
     I have had an Italian immigration official tap me on the chest'and
     inform me that Italy has the right to deport any alien within her
     borders without giving any reason for such action. I had to agree
     to that proposition, and at the same time to claim the same right
     for the United States and for every other sovereign nation. As a
     matter of fact, in practice, if we can prove that any given alien came
     to the United States from a certain country or city in that country,
     the home country or community does not refuse to receive him.
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     It therefore behooves us, in our immigration business, to keep a care-
     ful record of origins of immigrants. This is only one more argument
     in favor of registration.
        Deportation of aliens who become public charges is common inter-
     national practice; and it is suggested also for increased use in inter-
     state practice. Under the international practice, the country that
     produces the defective must be responsible for him, if no other
     country can be prevailed upon to naturalize or to care for him. Look-
     ing at the question from the practical standpoint of New York State,
     aliens who become public charges are costing this State a great many
     millions of dollars every year for their maintenance in its custodial
     institutions. It is especially costly to the great cities, and the States
     tnat have great cities in them. Millions of dollars for institutional
     maintenance are spent on inadequate aliens, which expenditure
     should be borne by the State or community which produces the
     particular defectives. In actual practice we do not pay much
     attention to the matter of original responsibility. A man may be
     born in some Eastern State; he may go to some Western State and
     reside there for a short time, perhaps for less than a year, and get
     committed to a public institution. The burden of his maintenance
     will thus be put upon State which did not produce him, to which
     he, in his prime, rendered no services, and in which he has lived but
     a short time.
           RESPONSIBILITY FOR THE PRODUCTION OF INADEQUATES

        If any outstanding principle of practical eugenics has been
     developed within the last few years it is that of placing all responsi-
     bility for the production of hereditary degenerates or defectives.
     This principle is worth restating: So far as a family, a community,
     a state, or a nation is able to maintain its own defectives, it should be
     compelled by municipal and international law to do so. The policy
     of a family throwing its defectives on the community for maintenance
     is not looked upon with so much favor as formerly. In other words,
     the idea of public charity, while not less kind than formerly, is.
     certainly becoming more effective. A State like New York, which,
     for the period 1894-1920, sent from its hospitals for the insane to the
     States of their residence 5,317 insane persons, shows that one State
     does not intend, if it can help it, to maintain in its public institutions
     individuals produced by another. Similarly, the United States does
     not purpose to maintain in its institutions persons who are produced
     in alien countries.
        Mr. WHITE. Thousands of people from all sections come to Colo-
     rado, for instance, to be cured of tuberculosis.
        Doctor LAUGHLIN. That principle of responsibility for the main-
     tenance of dependent, defective, and delinquest classes should hold
     true'not only as between States but, as I have said, between nation.
        Mr. DICKSTEIN. They go out there in order to save their lives.
     Of course, that is an unfortunate situation. If Now York were a
     place where tuberculosis could be cured, they would come to New
     York, of course..
        Mr. WHITE. There are a lot of New York people who have gone
     to Colorado and settled there.
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         Mr. DIcOSTEIN. And we have sent millions of dollars to Colorado
      to support those poor unfortunates.
        Mr. WHITE. Yes; they have sent large sums of money there for
     the support of one of the most splendid institutions in the State,
      the National Jewish Home for Consumptives. That condition is not
     confined to any particular State. That is true also of Kansas, and
     of every other State to which my attention has been called.
        Doctor LAUGHLIN. The general acceptance of the basic principle
     which would place responsibility for the maintenance of inadequates
     on the community which produces them would serve not only a
     valuable international purpose, but also would constitute a valuable
     rule for interstate and intercommunity adjustment, and, what is
     most important, it would work an advance m the practical applica-
     tion of national eugenics or race conservation.
        With the United States deportation is not a matter of caprice.
     It is regulated by most liberal law which is administered with great
     charity and considerable laxity. The standards for deportation call
     for returning to their home countries only aliens who have demon-
     strated, beyond doubt, degeneracy far below the level which we wish
     to maintain for ourselves. As the matter now stands, no nation,
     State, or lesser community which produces a defective or degenerate
     person can refuse to receive such person into its territories when
     such person turns voluntarily from or is deported by a host com-
     munity, State, or nation. It is a good principle as well as an actual
     one, and one which, in the interests of justice, peace, and eugenical
     soundness, should be strengthened. One of the most liberal features
     is the law that prevents the deportation of aliens who becomepublio
     charges "from causes arising since arriving in the United States."
     This provision is a liberal and a just one, and is a keystone against
     injustice in deportation.
                 EXILING AND "DUMPING"o     OF INADEQUATES

       At present, practically all of the territory of the world is claimed
    and fully occupied, so that no nation has a right to exile or to "dump"
    its undesirable human stock into the territories of another. Each
    nation (and indeed each lesser civil and social organization from
    the province and village to the family itself) must, in accordance
    with the principle of "live and let live," be responsible for the pro-
    tection and care of its own undesirable and inadequate human stock.
    Institutionalization is the immediate palliative, but national eugenics
    is the long-time cure for human degeneracy. A general acknowl-
    edgment of the international evil of exiling or "dumping," a harsh
    word not used in the careful parlance of international law, would
    greatly strengthen the principle of responsibility for defectives.
    The receiving nation should acknowledge with gratitude the origin
    of immigrants who become desirable citizens and who leave superior
    offsprings. Such acknowledgments would constitute a considerable
    factor in making international amity.
                   DESIRABLE AND UNDESIRABLE EXILES

      Of course, we have received many splendid persons who have
    made most desirable- immigrants from the seed-stock viewpoint,
    who have been practically exiled or driven out of their home coun-
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      tries because they disagreed with the ruling authorities in religious
      faith or in political adherence. But at the present time, with tolerance
      quite a general thing, we can expect little or no further superior
      human seed stock through exiling or "dumping" by foreign coun-
      tries. Countries are continually increasing their appreciation of
      good human stock. "Dumping," exiling, and assisting emigration
      have, for the most part, in recent generations, resulted and will doubt-
      less continue for many generations, to result in exporting from their
      home countries relatively little splendid human breeding stock, com-
      pared with the number of biological and social misfits. As a rule
      the emigrant who was not welcome in his home country is derived
      front the genetically less effective stocks. We shall have to guard
      our own interests in selecting desirable immigrants. This calls for
      supporting our rules for debarring undesirables, for vigorous deporta-
      tion laws, and for their active enforcement.
      THE LEGAL AND THE EUGENICAL ASPECTS OF CHINESE IMMIGRATION

         Doctor LAUGHLIN. Chinese immigration and its control constitute
      a very important and instructive chapter in national eugenics.
      The Chinese are subject to deportation not because of social inade-
      quacy-many Chinese are of splendid physique and healthy in both
      mind and body, have splendid minds, fine temperamental balance,
      and altruistic instincts-but simply because they are not racially
      assimilable.
         The sex ratio of an immigrant stock is always important. Of the
      61,639 Chinese found in the United States in 1920, there were prac-
      tically 7 males to 1 female. The fecundity of the Chinese in America
      is limited primarily by the number of Chinese women in the country.
      If the Chinese men reproduce in this country, they will have to find
      wives among other nonwhite races, because there is very little mating
      of white women and Chinese men. Unless the number of Chinese
      women increase, the number of Chinese will never grow to comprise
      a considerable percentage of our whole population. The number of
      Chinese in the country under the present policy need not exceed the-
      number which we need in order to maintain desirable commercial and
      cultural contacts with the Chinese people. There must always be
      a certain interchange of visitors, and even permanent residents and
      possibly immigrants, among peoples who are in commercial and cul-
      tural contact. But this number can always be kept low and need,
      in no manner, constitute an immigration of human seed-stock which
      would contribute a considerable proportion of the population of future
      generations of the host country. It need not lay the foundation for
      extensive race mixture, nor bend the trend in the development of
      national racial traits toward the immigrant stocks.
         While the Chinese are recognized to be one of the oldest and most
      superior of the world's races, still, because of a great difference be-
      tween their racial characteristics and those of the foundation stocks of
      the American people, it was not considered desirable to permit them
      to migrate in great numbers to the United States-not great enough to
      constitute an important element in producing offspring for future
      generations. During the year ending June 30, 1925, there were a
      total of 6,804 Chinese adni-tted, while 6,639 departed, leaving a net
      gain of only 166. During this year only 93 Chinese were deported
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     under the Chinese exclusion laws, and 54 by United States marshals
     -147 in all. Only 188 Chinese were.debarred at our ports during
     the year ending June 30, 1925. The Federal census of 1920 found
     61,639 Chinese in the United States. It is important to consider
     that in 1900 there were 89,863 Chinese here, and in 1910 there were
     71,513. If, without the Chinese exclusion law of 1882, economic
     forces had been permitted to operate in the absence of statute law,
     there would have been hundreds of thousands and probably millions
     of Chinese in the United States at the present time. It is a splendid
     demonstration of how, in the case of modern immigration in tunes of
     peace, statute law can control immigration into sovereign states. Of
     the several factors which govern changes in poulaption, immigration
     is the easiest to govern by statute law. The Chinese exclusion act
     was no reflection on the splendid racial qualities of the Chinese people.
     It was simply a statement that the Chinese were so different from the
     foundation stocks of the United States that race mixture, which, in
     the long run, always follows immigration, was not desirable on a
     large scale for either the Chinese or the American foundation races.
     The same eugenic principle applies to subraces within the white race,
     to family stocks within each subrace, and to individuals within the
     family stocks. These are the principal foundations for immigrant
     selection: first, race; second, family stocks; third, individual quality.
     Regardless of race, immigration should be made to recruit to our
     high standard of family stock and individual excellence, and it should
     not be perndtted to become a factor for deterioration, nor for break-
     ing down our law and order. The immigrant should be looked upon
     primarily as seed stock for reproducing future Americans.
                   SOVEREIGN RIGHTS IN HUMAN MIGRATION

        The CHAIRMAN. It is a sound principle of international law that
     every nation has the right to determine who may enter its borders
     and how long each entrant may stay. There is also growing into an
     established rule the principle 'of al'plied eugenics that every com-
     munity, whether a state or a sovereign nation, which produces an
     antisocial person, whether defective or criminal, should be required
     to care for such a person. We should do everything possible, both in
     legislation and administration, to reduce to the lowest possible level,
     principally by debarring and deporting, crime among aliens in the
     United States.
       Mr. Box. Mr. Chairman, the trouble with the whole subject is
     that it is too big for most of us. But it looks as though we will have
     to control immigration to suit our own needs or we will lose our
     national character. A thing like that would spell destruction for the
     future of America.
       The CHAIRMAN. It certainly would.
        Mr. WHITE. Along that very line then, I want to ask, should we not
     now begin seriously to consider if we may, consistently with inter-
     national relations, shut off entirely immigration from those countries
     which we think are less desirable, that would degrade our own racial
     and institutional standards? Of course that would be a hard thing
     to do, but we find by an examination of the report of the Commissioner
     of Immigration that in some years the quota has been filled from many
     certain countries and that it is short from many other countries,
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   but to our surprise, countries that we believed generally-that I
   believe generally would be better if we could have fmmigration from,
   notably England, France, Holland, and the northern countries of
   Europe-these have not nearly approached their quota, to the sur-
   prise of myself and many others. Why not go the limit with them?
      Mr. VINCENT. Then we will get jist what you ar2 after, Mr.
   White. We can do it and do it legitimately and regularly.
      Doctor LAUGHLIN. In California in 1918 there were adnitted to
   all the hospitals for the insane 2,151 persons, of whom 1,959, or 91 per
   cent were natives of other States or countries.
      The CHAIRMAN. I should like to have you present to the committee
   the especial data which you have on the three classes of inad equates-
   that is, the feeble-minded, the insane, and the criminal cla-ses-
   which we discussed earlier.
                   DEPORTATION OF THE FEEBLE-MINDED

      Doctor LAUGHLIN. The feeble-minded present an interesting group
   when studied in relation to deportation. Unlike any other group
   except the congenitally crippled, the alien feeble-minded in the United
   States are a group of persons who entered the country while suffering
   from their particular defects. Persons do not become feeble-minded.
   If they suffer from this ailment, they have always had it. Conse-
   quently, the feeble-minded aliens, both those in our institutions and the
   many more of them who are not in custodial care, bare, by some
   means or another, managed to get past our immigration bars which
   would exclude them. With almost any other class it is possible that
   at the time of entry the potentiality forlater defect or inadequacy may
   be so thoroughly hidden that it can not be determined, even bv the
   best inspection, although the individual may have a constitutional
   make-up which is the principal cause for the particular breakdown
   and a social conduct known as (-rime or some type of insanity, or a
   breakdown of physical and moral energy neeessi r to effective work.
   There is one reason for nondeportability of alien dependents which
   does not apply to the feeble-minded-that is the class which acquired
   the pai cular ailment "from causes arising since admission into the
   United States." Another interesting phase in reference to feeble-
   mindedness is that our standards of admission in reference to intelli-
   gence require only that the individual be talented enough to learn to
   read and to keep out of custodial institutions for the feeble-minded.
   This means that he mar be a very inferior individual so far as his
   intellectual, his spiritual, and his nioral constitution is concerned.
      The CHAIRMAN. Can you show us the table that has something to
   do with the birth rate of different intelligence classes in the United
   States?
      Doctor LAUGHLI.N. Ye.; we have some data on this subjet.
      The CHAIRMAN. You can proceed with that subject then.
       DISTRIBUTION OF INTELLIGENCE AMONG THE FOREIGN BORN

     Doctor LAUGm LI.: The best measure of intelligence in nativity
   groups in the United States has been based upon the Army intelli-
   gence tests. These tests measured 12,407 foreign-born recruits in
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      our Annv, which were fairly representative not only of all foreign-
      born recruits but also of thie whole foreign-born population. This
      test found intelligence distribution as follows: Among the foreign
      born, (1) very superior (Army grade A), 1.1 per cent; (2) superior
      (Armv grade B), 2.9 per cent; (3) high average (Army grade C +),
      7.3 per cent; (4) average (Arny grade C), 26.6 per cent; (5) low
      average (Army grade C-), 16.5 per cent; (6) inferior (Army grade
      D), 30.S per cent; (7) very inferior (Army grade D -, E), 14.8 per
      cent. Now, if we project these per cents to the whole 13,920,692
      foreign-born persons in the United States in 1920, we find that 62.1
      per cent, or 8,644,749, are below the average of American intelligence.
         Mr. Box (interposing). Does that mean that eight-thirteenths
      of them are below the average?
         Doctor L.&Gm.L'. That is exactly what it means. Now, for the
      population of the native stock---
         Mr. Box (interposing). What is the average?
         Doctor L&I-G.L,. The average intelligence do you mean?
         Mr. Box. Yes. Is it the average of the people throughout the
       'UnitedStates?
         Doctor LaU-cmix-. That average is C of the Army intelligence
      grading, which, interpreted in common language, means that a man
      of grade C m.tkes a good commo;. worker. A man of grade C-
      means a man who is a good worker under direction; and a man of
      grade D is larking in adaptability and needs much supervision; and
      in that class the cost of the supervision is greater than the value of
      the work [imdicating grade D on paper]; below that, his labor has no
      net value.
         if a man comes in the level of grade C +, he is an intelligent,
       -killed worker. A man of grade B is a first-class executive. And
      the men of grade A are the leaders in their respective occupations.
            DIMIGRATIOX STANDARDS      IN RELATION TO INTELLIGENCE

         Now, our immizration standards in reference to intelligence are
      much too low if we are to consider immigration from the seed-stock
      standpoint and desire to make it add to the average of our native
      intelligence. Instead of drawing the line between very inferior and
      absolute feeble-minded persons, we should require of the immigrant
      an intelligence at least equal to that of our stocks already established.
      If we set it below this, immigration will tend to pul down the level of
      native intelligence in our future generations of Americans. This is,
      course, regardUss of race. It is a matter of family stocks within
      each race. I have here a table (see Table III, p. 27) showing the
      results of a special survey of 50 institutions for the feeble-minded
      made in 1925. In these we found 36,347 native-born inmates and
       1,514 foreign-born inmates. Out of these, only 18 were returned as
      deportable; 15 were naturalime citizens. It is pathetically strange
      that any Amezan court would naturalize any feeble-minded person.
      Only nine were reported as having become feeble-minded from causes
      armng since admission. These nine may have been admitted as
      chilen    and suffered from some disease or injury which stopped their
      mental development But as a nide, feeble-mindedness is potential
      at birth, and these nine exceptions only serve to emphasize the
      generality of the rule.
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    TABLE III.-Causesof nondeportabilityof foreipn.borninmates of State institutions
                                              for the feeble-minded

                                                                                          Resident of Causes ars-
                                             Number of         Forn:         Naturalfted' Stted     inoelg sine
                                            foreign-born       mates de-            ciieSjtane   moe admission
                                                                                     cit~enshan ive
                                              inmates                                                  to United
           State and Institution                               portable                      y-ew    s    tSates




    1. Alabama: Home and Shool for                             *1 0     1~                                                   06
         Feeble-minded, Tuscaloosa.. 1 0                   1
    2. California:   Sonoma
        Rome, Eldridge           State 7071
                         ..............               1l
                                                                              ....             6       71 140....... ..              .....
       Colorado:
    3.     State and Training School,
                                                               0 0! 0                                      I'1 2 -------
    4.        State Home and Training
                School for Mental Defec-
                tives, Grand Junction.... 4 2            6         0: C                                2          6 .... .... ....   .4
     S. Delaware: Colony for the
            Feeble-minded Stokley.... 2 3
     6. Florida: Florida Farm Colony, I
            Oainsville ...................    IT 2
                                                         5
                                                         3
                                                                   010
                                                                   0 0
                                                                           ............
                                                                                     ! i...
                                                                                        ....
                                                                                         - ........
     7. Idaho: IdahoState Sanitarium,
            Nampe ......................          12    23         0 0                         11112 231..                   ....
     8. Illinois: State School and Col.
           ony, Lincoln ................. 25 51
        Indiana:
                                                        82                 ....                2 56o8 .... i........                 .........
     9.        School for Feeble-minded
                 Youth. Fort Wayne .....      4 3        7                   1       23        3'!                41..       ....
    10.       Farm Colony for Feeble.                             0 0
                 minded. Butlervllie ......    50        5                  1 0 1 4 0                             4
                                                                                                                  00.    0
    11. Iowa: Institution for Feebe-                              0 0
           minded ChUdren, (Ienwood. 11 15              26                 .. ... 11 15                       26 .. ....
    12. Kansai: StateTraining School,
           Winfield ................................              0 0
    13. Kentucky: State Institution
           for Feeble-minded, Frank.
           fort ..........................
    14. Louisiana: State Colony and
           Training School Alexandria. 1 0
    15. Maine: School for Feeble.
                                               1 2       3
                                                         1
                                                                  0 0
                                                                  0 0
                                                                             21.
                                                                              ..
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                                                                                                           ....       ....   2 ..

           .- inded, West Pownal ....... 3 9            12                            9 12 ....... .....
        M.,.sachusetts:                                           0 0
    16.       Wrentham State School,
    17.
                 Wrenthsm ............... 12 37
              State Hospital, Belcher-
                                                       49
                                                                  0 0
                                                                                               12'37 49 .......                      ......
                town ..................... 13127       40                                 13 27 40 ...I.....
                                                                                      ........
    18. Michigan: Home and Training
          School, Lapeer ............... 73 61
    19. Minnesota: School for Feeble-
           minded and colony for epl.
                                                      134
                                                                           ....."........ ° ...
                                                                                             ....' .... .... ......
                                                                                          C960 129.J

          leptics, Faribault ....................
   20. Mississippi: Colony for Feeble-
           minded, Ellisville............ 0 0            0
                                                                           ..                I........I.
   21. Missouri: Colony for Feeble.                               0 0
          minded and Epileptics, Mar.                             0150
          shall .................               1 0      0
   22. Montana: School for Deaf,
           Blind, and Feebleminded              I
           Children Boulder ............           ..  14
   23. Nebraska: Institution for "'"
          Feeble-minded. Beatrice ..... 1 71           21                            ..      7 14 211 ... ....                       ...
   24. New Hampshire: School for 1
           Feeble-minded, Lacona .....       31 7      10                                 .. 31 7 101 .....                          .....
        New Jersey:
   25.       State Institution for Feeble-.
                minded Women, Vine- i
                land .....................   01'"      56                                       0 62 52 ... ..                       ......
   26.       State Colony for Feeble.
                minded Males, New Lis. I
                bon ......................
   27.       State Colony for Feeble.7
                minded Males, Wood.
                bine ..................      401        4
        New York:
   28.       Letchwotth Villag, Tbiells 1         47  105
   29.       Rome Otate School, Rome..!182 841 M
   30.       Newark State School, New.
   31.
                ark .....................
             Syracuse State School.I
                                             0        1o9      01 21 21                0107 107j
                                                                                  .........
                Syracuse .................  2            0
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         TABLE Ill.-Causes of nondeportabilify of foreign-born inmate*--Continued.

                                                                                            Resident of Caume arts.
                                                Number of
                                               foreign-born                                   United
                                                                              I Naturalized States       Ingsince
                                           I     inmates      mates de.          citizens          more admission
                                                              portable                       than five to United
             State and institution                                                             years      States

                                           I~                 °I I 1Ll° I';J
      32. North Carolina: Caswell Train)
              &egSchool,.KInston .......        0 0       0
       3. North Dakota: Institution for
            Feeble-minded, Grafton ...... 20 21
      34. Ohio: Institution for Feeble-
                                                         41               0~....   .... !20121
                                                                                     !....                 41...
            minded, Columbus .......... 60              115
      35. Oklahoma: Institution for
            Feeble-minded, Enid ........ 0 0              0             ...   .......
      38. Oregon: State Institution for
            Feeble-minded, Salem ....... 11 10           21                               .... I 10    10120 ...
          Pennsylvania:
      37.
     38.
              Polk State School, Polk.... 15
              Laurelton State Village,
                                                         33
                                                                          0 ....t..             15    181338...
                Laurelton ................ 0 6            6


                                                                                                            ::li
      39.     Pennhurst State School.
                Pennhurst ...............         27     58
     40. Rhode Island: Exeter School,
           Slocum ......................
     41. South Carolina: State Train-
                                             13 7        10                                           26   918
           In School for Feeble-minded,
           Clnton ...............                   0     0
     42. South Dakota: State Home adi
           School for Feeble-minded,
           Redfield ......             ....   12 15      27
     43. Tennessee: Home and Training
           School for Feeble-minded
           Persons, Nashville ........... 0 0             0
     44. Texas: State Colony for Feeble-
           minded, Austin ..........           1 3        4   0 0
     45. Vermont: State School for
           FeebIl-minded, Brandon.....2
     46. Virginia: State Colony for Epi-
                                                          8   o                                        "S"
                                                                                                      .1'
           leptics and Feeble-minded,
           Colony ..................... 1           1     2   010        0; 1 112
     47. Washington: State Custodial
           School
          Wisconsin: "edci     Lake ........   00         0
     48. Northern
               and    Training Colony
                     Wisconsin
                Chippewa           Schoo,         -
                            Fs .......... 7 16                0 0
     49.     Southern Wisconsin Home                    23
               for Feeble-minded
               Epileptics,   Union Grove.and 0 0         0               0 ....    ....
     60. Wyoming: State School for
          Defectives, Lander ...........       6   0     8        01    ...
                                                                          .....
             Total.    ............
                                                               1
                                                                    7
       I Includes 14 inmates not classified by sex.
                                     DEPORTATION OF THE INSANE

       The CHAIRMAN. The second class in which we are particularly
    interested is the insane. Doctor Laughlin has made studies on this
    subject for this committee and has reported them in past hearings.
    Just now we are interested in the deportation of the class of persons
    suffering from mental disease.
       Doctor LAUGHLIN. For practical purposes insanity is made to
    include all groups of mental disease except feeble-mindedness.
    Feeble-mindedness is simply the failure to develop intelligence.
    Insanity is a disorder which develops in both otherwise normal and in
    defective individuals. It constitutes the cause of the great bulk of
    costs for custodial care of the inadequates. In a Study made by the



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      United States Bureau of the Census under date of January 1, 1923,
      the following facts were determined:
      Nadiuily and parentageof patients in hospitalsfor mental disease, January1, 1923,
                                for the entire United States
      Total number     --------------------------------------------            265,829
          Per 100,000 -----------------------------------------------            252.8
      White patients -------------------------------------------------         244, 968
          Per 100,000 -----------------------------------------------            259. 8
      Negro --------------------------------------------------------            20,084
          Per 100,000 -----------------------------------------------            1920
      Indiau --------------------------------------------------------               244
          Per 100,000 -----------------------------------------------            104.
      Chinese -------------------------------------------------------               207
          Per 100,000 -----------------------------------------------            340. 6
      Japanese ------------------------------------------------------               163
          Per 100,000 -----------------------------------------------            148. 3
                                       White patients
      Native white:
          Native parentage -------------------------------------------        9 2, 913
               Per 100,000 --------------------------------------------          159. 8
          Foreign parentage -------------------------------------------        3 2,271
               Per 100,000 --------------------------------------------          207. 0
          Mixed parentage --------------------------------------------           9,409
               Per 100,000 --------------------------------------------          135.8-
          Parentage unknown -----------------------------------------          34, 673
      Foreign-born white ----------------------------------------------        69, 984
          Per 100,000 ------------------------------------------------          513. 9
      Nativity unknown ----------------------------------------------            5,688
        If the native-born and foreign-born whites are compared with
     reference to their respective rates in producing insane persons-
     insane enough to cause commitment to custodial institutions-we
     find the alien insane 3.22 times as frequent per 100,000 persons of
     their respective nativity group as the insane native whites of native
     parentage, 2.48 times as frequent as native whites of foreign par-
     entage and 3.78 times as frequent as native whites of mixed parent-
     age. here may be something in the fact that the foreign-born
     immigrant suffers great stress in his attempts to make adjustments.
     in the new country, and consequently he breaks down more frequently
     than the native, but after making due allowance for all this, it would
     seem that the immigrants of the present generation are more unstable
     mentally in their hereditary or constitutional make-up than were
     the immigrants of one and more generations ago. This difference
     of frequency is too great to be accounted for by the factor of mere
     additional stress on the immigrant compared with the present stress
     on families already established. One wonders whether or not the
     European countries are not supervising their emigration much more
     intelligently than the United States supervises her immigration policy.
     European nations seem to be appreciating the seed-stock idea, both
     in exporting their surplus stocks and in receiving new blood-all of
     which goes to emphasize the necessity for each nation looking after
     its own fundamental interests.
        In time of onset, the insane differ from the feeble-minded primarily
     in the fact that mpst persons who become insane do not break down
     until adult life. Thus, the opportunity for coming through the
     immigration barrier by a potentially insane person is relatively easy,
     unless we study. the particular individual in his home surroundings,
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    secure some of his individual history, and, above all, learn from what
    sort of family stock he springs. All of this is made more possible and
    practicable by our new system of examining immigrants overseas.
                          DEPORTATION OF CRIMINALS

        The CHAIRMAN. The third special class has to do with criminals.
        Doctor LAUGHLIN. Among the 74,170 aliens found in the State and
     Federal institutions, 11,224 were in such institutions on account of
     having committed crime of a serious nature in the United States.
     This does not include jails or workhouses, but only the penitentiaries
     and prisons. It is interesting that of these crinInalistic aliens, only
     2,909 were reported as deportable. The reasons why the rest were
     not deportable were liven as follows: naturalized citizens, 2,030;
     residents of the Unite States more than five years, 4,272; criminal-
     istic from causes arising since admission, 248; claimed by the authori-
     ties not to be deportable but no causes given, 2,265.
        The CHAIRMAN. The committee will remember that some years
    ago Doctor Laughlin presented a study on "The Analysis of America's
    Modern Melting Pot," in which he showed that, so far as felons were
     concerned, the foreign-born person was no more apt than a native
     born to get in prison in the United States, but it should be pointed out
    that our laws seek to keep out all criminalistic persons, whereas our
    efforts have resulted only in keeping them out to about the frequency
    of our native stock. Later studies seem to indicate that among the
       etty crimes, particularly the violation of the liquor laws, the foreign
       orn are guilty, according to their numbers, to a much greater degree
    than the native stocks.
        Doctor LAUGHLIN. Of course we should try to keep down the
    "quota fulfillment" of the criminalistic classes among the foreign.
    born to zero, but when, in spite of our efforts to do so, we find crimi-
    nalistie aliens within our borders, it would seem that the next best
    step would be to deport them. We can not here go into the causes
    of crime, but it seems strange that prison authorities would say
    that about one felon out of forty-six became so from "causes arising
    since coming to the United States." It would be rather hard before
    a court to prove that the causes of crime were not much more funda-
    mental and long-standing than that. A person may be subjected
    to such strain that he may break down mentally, in which case he is
    not punished as a criminal but is generously cared for as an insane
    person; but to list an individual criminal in this exempt class seems
    almost impossible. The criminalistic is one class for which it would
   seem most proper to remove the statute of limitations so far as de-
    portability is concerned.
        The CHAIRMAN. Any far-reaching plan to combat crime in the
   United States would fail to achieve its fullest possibility if it neg-
   lected the matter of crime among aliens. According to the census
   of 1020, the foreign-born white population of the United States
   comprised 12.97 per cent of our whole population. These aliens
   were admitted not as a right but as a privilege granted them by the
   United States. It is the obvious intent of our law to debar all
   aliens who are criminalistic in tendency. We have thus set up a bar
   against the admission of criminals. But, in spite of our efforts along
   these lines, many aliens who are admitted are later found to violate
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    our laws. Thus in 1922, in a first-hand study by this Committee on
    Imm'9gMfaio and Naturalization, we found in 155 State and Federal
    prsns that, in proportion to their numbers, the foreign-born (quota
    fulfillment, 98.50) were approximately as numerous as our native-
    born (quota fulfillinent, 100.26) prisoners. This is for felons in the
    prisons. If we turn from these more serious offenses to misde-
    meanors, we find the percentage of alien offenders somewhat increased.
    This ratio is substantially verified by the Bureau of the Census,
    which, on January 1, 1923, found the foreign-born white prisoners
     (m all prisons for felons, and jails and workhouses for misdemeanants)
    to constitute 13.8 per cent of the total, a quota fulfillment of 100.39.
    These 13.8 per cent of prisoners were drawn from 12.97 per cent of
    the whole population. It should be the business of our immigration
    laws and their administration to prevent altogether the admission
    of persons likely to violate our laws. But if, in spite of our vigilance
    in debarring such aliens, we find an alien violating our laws in a serious
    offense, he should, after proof of his offense, be deported.
                 INSTITUTIONAL INITIATIVE IN DEPORTATION

       Doctor LAUGHLIN. I will give a description of the way in which we
    went at this particular investigation. First, the matter was consid-
    ered from the standpoint of several State governments. From the
    governor, the secretary of state, or some other responsible official, we
    secured a statement from the particular State government concerning
    its practice of deportation. I have these summaries, and with the
    consent of the committee I will print them in full in the report.
    (See appendix 4, p. 54.)
       Besides the State survey which I have described very briefly, we
    made an institutional survey. We appealed to each one of these
    688 State and Federal institutions, asking each a number of ques-
    tions, and asking each to go into its files and give us certain data,
    such as the name of the institution, where it is located, the type, sex,
    and race of inmates it holds; then the classification of inmates by
    sex and by nativity, whether native or foreign born. The next item
    calls for a report on the number of foreign-born inmates, and how
    many are now deportable-males, females, and total. All this mate-
    rid I have already analyzed for you. Then at that point in the
    questionnaire we gave reference to the Federal immigration act of
    February 5, 1917, with special reference to sections 18, 19, and 20.
    Further, we asked the superintendents of institutions about the
    inmates in their institutions who were deportable to other States and
    to other communities, and we asked for reference in the laws of the
    States as to how these proceses of international and interstate
    deportation were carried on by the particular State. Then we asked
    for an historical note; we asked each institution to state the num-
    ber of persons who had been deported from the particular institution
    since its first deportation.
       We still have some institutions to-hear from, but the returns will
    be practically complete in the near future. The present results show
    the type of information which we have secured from the several in-
    stitutions. For example, take an institution for the feeble-minded.
    Here is one at random, the Nebraska Institution for the Feeble-
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     minded, at Beatrice, Nebraska. It is for both sexes, and on the date
     of this return it had an inmate population of 756. Of these, 747 were
     native born and only 9 were foreign born. That is a western agri-
     cultural State. But when it comes to the matter of deportation,
     they reported none deportable, and since that institution was estab-
     lished it had deported no aliens.
        If we go to Massachusetts, in the Wrentham State School there are
     1,311 inmates, of whom only 55 are foreign born, but they call none
     of them deportable; 55 feeble-minded persons were foreign born and
     were feeble-minded when they came to the United States, because
     persons do not get feeble-minded afterwards-they do not "go
     feeble-minded," we must remember--once feeble-minded, always
     feeble-minded, but none was deportable, and in the whole history of
     that institution they have listed only six persons deported. The
     annual turnover is, moreover, large.
        And so the story goes on the feeble-minded. Now for the insane-
     these are only random samples.
                   POPULATION TURNOVER IN INSTITUTIONS

        The CHAIRMAN. What do you mean by the "turnover"? Do you
     mean the feeble-minded in and out of these institutions?
        Doctor LAUOHLIN. Turnover refers to the period of renewal of
     institution population. It measures the duration of an "inmate
     generation." It measures also the average length of institutional
     residence. The feeble-minded in the State institutions average about
     nine years' residence. Then they die off. That is the average
     record. Sometimes the higher grade feeble-minded, the morons, are
     trained to do menial service, and are sometimes let out on parole,
     but the average residence in institutions for the feeble-minded in the
     United States is about nine years. For the insane the average
     period is only about two and one-half years. Their turnover is much
     more rapid than that of the feeble-minded on account of the shorter
     period of commitment, and due principally to the fact that many of
     the insane may be cured. Of course, some classes of the insane, such
     as the large group with dementia praecox, it would seem, never get
     well.
        Now, if you will take an institution for the insane-let us take
     one right from the middle of the lot, because the stack of reports is
     so large. Here is one from Minnesota. Here is Hastings, Minn.,
     with an innate population of 984. They report 417 foreign born,
     but they report only one deportable.
        The CHAIRMAN. Do they differentiate in these reports as to the
     foreign-born and naturalized foreign-born?
        Doctor LAUGHLIN. Yes; our analysis of causes for nondeport-
     ability shows that.
                       CERTAIN DEGENERATE FAMILIES

       Mr. IlOLADAY. From your analysis of this subject-for instance,
    take a State highly specialized in manufacturing like New Jersey and
    compare it with a'State like California or Oregon, where the industry
    is more agriculture than anything else-is thera a larger percentage of
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     feeble-minded persons in the agricultural districts than in the thickly
     settled commercial and manufacturing districts?
        Doctor LAUGHLIN. No, the feeble-minded families tend to gravitate
     toward the outskirts of the great cities, and in agricultural regions
     toward the poorest lands in the hills. Families of this sort do not
     have money enough to come down into the valleys and occupy
     valuable agricultural lands, nor do the lowest of them have in-
     telligence enough to live in the towns and work in manufacturing or
     commercial enterprises, so they have gravitated toward the lls
     where they squat on the land, and to the outskirts of towns where they
     build shacks from which no one cares to drive them.
        Mr. VINCENT. And they propagate rapidly?
        Doctor LAuqHLIN. Very rapidly. They beg and steal, and were
     often convicted of petty crimes. They were often relatively easy to
     study from the pedigree point of view because of their tribal life, and
     because both the parents' and the children's names are often found
     on the books of the charity organizations.
        The Ishmaels, who are living in Indiana, were studied by Dr. A. H.
     Estabrook, of the Carnegie Institution of Washington." They are
     called American gypsies; they go north in the summer time and south
     in the winter. Their pedigree records show that about four or five
     generations ago they came up from Kentucky, and the further his-
     tory shows that into Kentucky they had come front Virginia, and it
     is thought--it has not yet been demonstrated beyond a doubt--that
     those early Virginians, persons who were exiled from Great Britain,
     were "dumped" into Virginia in very much the same manner as
     England "dumped" many of her degenerates into Botany Bay in
     Australia. Indeed "Botany Bay" has come to mean a place of exile
     for degenerate human stocks.
        At any rate the occurrence of the Ishmaels is typical of what hap-
     pens when we keep degenerate immigrants for seed stock. A few
     degenerate individuals arrive in Virginia, either voluntarily or by
     "dumping," they are pushed westward into Kentucky, and like camp
     followers on the trail of the substantial and capable pioneers, they
     move from Kentucky up into Indiana. That is where they are now.
        The CHAIRMAN. In the meantime they intermarried with other
     peoples?
        Doctor LAUGHLIN. Others of their own social level. They are
     mostly white, degenerate whites. The men hardly ever rise above
     *thementality of 8 or 9 years, consequently they are barely intelligent
     enough to go about and live and beg, but not intelligent nor energetic
     enough to live as intelligent farmers or factory hands.
        Mr. Box. But the women at an early age become subject to
     motherhood and increase rapidly. I want that to go into the record,
      because it is bearing on the matter that is before this committee. Is
      that a fact?
        Doctor LAUGHLIN. They propagate rapidly. We can show you
     the pedigrees collected by Doctor Estabrook; they show the size of
      the families. In these degenerate families the increase is very rapid.
        Mr. HOLADAY..1 remember reading-I do not remember where I
     read it, whether in a book or in a newspaper-of a woman, an alien
     coming to this country, a criminal or partly insane, and she produced
     .children-this vas some 60 or 70 years ago, or maybe longer-and
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    the history was that the number of the same class that had been pro-
    duced in this country by reason of that woman's coming here was
    very large. Have you got anything like that that we can get hold of?
       Mr. Box. Do you mean the Jukes family?
       Doctor L.GHLux. Our office has studied a large number of de-
    generate families. Some of those which have been investigated are
    the Hill Folk, the Jukes, the Ishmaels, and the Nams. One interest-
    ing thing which we find out about degenerate families, whenever we
    send a field worker into a State to begin the study of pedigrees, making
    as his central place of study an institution for the feeble-minded, is that,
    we can get, in any State, into a great network of degenerate families.
    The Jukes and the Ishmaels and others are noted simply because they
    have been studied. They are members of degenerate classes, but
    they are not novel. There are hundreds of such families. The task
    is to trace such families to their origin. The-present-day lesson for
    the Nation and for each State, community, and family is to prevent
    the entrance of members of such families as human seed stock.
       The CHAIRMAIN. And they are not subject to the ordinary moral
    or intellectual or social restraints that other people are?
       Mr. Box. That is true, is it not?
       Doctor LAtGLIN. It is. In these degenerate families fecundity of
    the tribe is limited by the physical fecundity of the women, married
    and unmarried. That is the real limit.
       Mr. WHITE. Are those people susceptible of improvement under
    better environments?
       Doctor LUrGHIa.%. No. The Ishmael study was begun 40 years
    ago. The original student had great hopes of rehabilitating these
    people by charity and opportunity. But such of these people who
    were given opportunities demonstrated that, despite opportunities
    for education and for training and for positions, most of them could
    not and did not make good. It was not in them. They could not
    go on beyond their natural capacities.
      Mr.   WHITE.   None of them has made good?
       Doctor IAUGHLIX. None of the tribe-well, I will not say that.
    Among these degenerates occasionally one will rise above the level, and
    bud off from the tribe and become lost in the general population. I
    had reference, however, to the general run, the "nine out of ten" of
    them.
       In New Jersey, take the State hospital at Morris Plains; there are
    2,702 inmates, of whom 1,202 were foreign born. Of these foreign
    born the superintendent reported only seven deportable.
       Now, instead of taking up these different types of degeneracy, I
    think I might as well go over this chart and give the summaries.
    (See Table 1I,p. 8.)
       Mr. Box. May I interrupt just a moment, Mr. Chairman? Isn't
    there a restriction in our law about their deportation in addition to
    the que:.tion of citizenship? They might be foreign born, unnatural-
    ized, and still be in that class of nondeportable?
       The CHAminiA.. Yes.
       Mr. Box. That is what I wanted to get.
       The CuHmIMAX. And foreign born and not naturalized and con-
    victed of certain crimes, and after a certain time not deportable?
       Mr. HOLADAT. And they don't have to show in some cases that
    the condition existed prir to their coming here?
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      The CHAIRMAN. .This whol3 study is designed to point out the flaws
    in the deportation clauses of the act and the regulations.
       Mr. VINCENT. In other words, up to date, the history of it makes it
    almost conclusive that there ought to be just one provision: If they
    violate any of these laws, deport them at any time.
      Mr. HOLADAY. The Public Health Service makes a particular
    examination to find out the physical condition of the immigrant, so
    that if it comes up in the future, the question of deporting him, they
    can go back to the record and see what existed at the time he came in.
       Mr. Box. Is it not true that in determining who should be sent to
    these institutions the local authorities often fail to make record of
    that? That very weakness could develop there, could it not?
      Doctor LAUGHLIN. That is one place, of course.
      The CHAIRMAN. Does it not further happen that the local au-
    thorities are unable to determine nativity?
      Doctor LAUGHLIN. Often that is the case and even when they are
    able to, it is not required by the laws of some States, and many
    authorities were therefore not concerned with determining "place
    where born."
          DEFECTIVE ALIEN BLOOD IN THE SECOND GENERATION

      Mr. Box. Is there anything to show the number of those in the
    institutions born of alien parents, either both or one?
       Doctor LAUGHLIN. Not in this general survey. We found that
    very difficult, and only occasionally could we get a good return from
    an institution. For instance, the Connecticut School for Boys at
    Meriden, Conn., reported a total of 382 inmates, of whoi 63 were
    foreign born and 319 were native born, but of those native born 90
    had native-born parents, 14 had one parent foreign born, and 278
    had both parents foreign born. Now, that is the sort of information
    we would like to get in every institution.
       Mr. Box. But you did not get that in other institutions?
       Doctor LAUGHLIN. No, sir. One other study that I mentioned in
    the last report as being appropriate for future investigation was mate
    selection, and I have already begun the collection of data on sex
    ratios. Now, the sex of the immigrant is very important, of course.
    We can see how the ultimate population of any country will be very
    different if the immigrants are 100 per cent males or if they are only
    50 per cent males. So that is a question which would come under the
    head of mate selection, which I have indicated here (see p. 3). We
    hope to be able to make a study on this subject in the near future.
       Mr. Box. Can you develop that idea?
       Doctor LAUGHLIN. We desire to (1o that in an early study.
       Mr. Box. Many young men of the best brain and! braw:n in this
    country have been absolutely sterile because of want of marriage.
    They work out their existence and fade away.
       Doctor LAUGHLIN. An examination of such phenomena is one of
    the logical points to develop under the study of mate selection in
    relation to immigration, which we contemplate making.
       This Connecticut institution just referred to, has made up an
    exceptionally thorough report. It is interesting to find that of the
    382 who constitute the entire population of the institution, 278 have
    foreign-born parents, indicating that this institution for delinquent
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     boys is maintained not for American stock but for either aliens or
     children of persons who have been in this country only one generation.
     That is the report from Connecticut.
       Mr. Box. What class of inadequates is that?
       Doctor LAUGHLIN. juenile delinquents.
        Mr. RAKER. Did you got aby reports of the Government institu-
     tions here in Washington for boys and girls?
        Doctor LAUGHLIN. Yes; thesereturns are front State and Federal
     institutions. The Federal Government has only about 15 custodial
     institutions. It has an institution for the insane here in Washing-
     ton; it has also several Federal penitentiaries. About 15 out of 688
     State and Feedral institutions are maintained by the Federal
     Government.
             THE PRINCIPAL LEGAL CAUSE OF NONDEPORTARILITY

        The CHAIRMAN. Let me interrupt you there. I want to make a
     point in the matter of reasons for nondeportability.
        Doctor LAUGHLIN. The reason most nondeportable foreign-born
     social inadequates are not deportable is because they have been in
     the United States more than five years. The insane come to the
     United States at the average age of 28 years. Those who break
     down and go to the hospitals for the insane do so at the average age
     of 41 years. Thus the average alien who goes to the hospital for
     the insane has been in the United States 13 years, and consequently
     is not deportable. This is.the principal reason for the great difference
     between the number of foreign-born insane and the number of
     foreign-born insane persons who are deportable. The second factor
     of naturalization is relatively less important as a deterrent cause.
     (Table II, p. 8.)
                THE DIRECT COST OF ALIENS IN INSTITUTIONS

        The CHAIRMAN. Now this is a good place to bring up the matter
     of statute of limitations-the five-year period. With the feeble-
     minded, five years is long enough, because if a person is feeble-
     midned now and found in an institution, that person is always feeble-
     minded. With the insane or the potentially insane, the five-year
     period of limitation is )lot enough, because, on the average, those
     persons are here 13 years before they are sent to institutions.
        Then there is the matter of cost of aliens in institutions. What is
     the total amount?.
        Doctor LAUGHLIN. At $1 per inmate per day, it costs the State
     governments about $75,000 per day to maintain its foreign-born
     institutional inmates.
        Mr. Box. Multiply it by 365 and see what that would be for the
     year.
        Doctor LAUGHLIN. Of course the greatest expense to the Nation
     is not the dollars and cents for this maintenance, but the moral and
     social cost, and above all it is the biological cost. If these persons
     are potential parents, they are going to cost not only in dollars and
     cents now and in future time, but they are going to deteriorate and
     degenerate the whole population into which they and their children
     migrate.
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                 NORMAL INADEQUACY           OF YOUTH AND OLD AGE

       I mentioned the point of family and community and Stateland
    National responsibility, and how laws are gradually being enacted
    and administrative systems worked out to thrust upon or return to
    the community or the family or the State that permits production
    of the individual, the custody of that person. In most of these
    studies the term "socially inadequate" is not applied to a person
    who is incapacitated on account of the normal inadequacy of young
    childhood and old age. The child could not make a living, of course,
    until he was 15 or 16 years old, and a man 80 years of age is not apt
    to be able to care for himself.
       Mr. VINCENT. Now wait a moment on that. You say 15 or 16.
    You can put it down to 10 if you give them a chance and don't
    bind them down by laws.
       Mr. Box. Of course Doctor Laughlin is assuming that the boy
    ought to be in school.
       Mr. VINCENT. Yes, I know.
       Doctor LAUGHLIN. The point is that the definition "social in-
    adequacy" does not apply to the normal exigencies of childhood and
    old age. They are both normal, and mean nothing from the eugenic
    standpoint.
       Now the study of deportation naturally leads up to the question
    of registration, and if there were a registration system for aliens in
    operation in the United States at the present time, then information
    of the sort, but much more complete and refined than that which we
    have here, could be compiled, and such facts should be compiled and
    analyzed every year for the use of this committee and of the whole
    country.
              INITIATIVE BY THE FEDERAL IMMIGRATION SERVICE

       I want to call attention to one phrase or one paragraph in the
    present immigration law and to point out its defects in not supporting
    properly or not supporting effectively a system for studying alien
    inadequates in the United States and locating them on the initiative
    of the United States.
      In the act of February 5, 1917, section 23, it provides:
       It shall be the duty of the Commissioner General of Immigration to detail
    officers of the Immigration Service from time to time * * * to secure
    Information as to the number of aliens detained in the penal, reformatory, and
    charitable institutions (public and private) of the several States and Territories,
    the District of Columbia, and other territory of the United States, and to inform
    the officers of such institutions of the provisions of law in relation to the deporta-
    tion of aliens who have become public charges.
       That is in the law of 1917, but there is no provision for the main-
    tenance of a thorough roster of State, Federal, and local institutions,
    nor of courts, nor of charity organizations, which latter are often the
    first to come in contact with a potential inadequate.
       If an amendment to this section of the law just read should require
    such a roster to be-kept up to date, then I think it would be much
    easier for the Id'migration Service to maintain the deportation
    service and among
    inadequacy    to maintain   contact
                         the foreign           all only
                                         withNot
                                     born.         theseshould      of social
                                                          sourcesinstitutions
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     be listed in roster form, but all charitable societies which are not
     custodial should be listed and close contact kept with them. If the
     charitable organizations are not listed and used as collaborators,
     then the statute of limitations is pretty apt to exclude from deporta-
     tion the average socially inadequate person, because individuals of
     this sort, very frequently, drift among charity organizations for
     several years before they are sent to the permanent custodial insti-
     tutions. It is essential in effective deportation practice to find an
     individual early in his social breakdown; that is, before he is rendered
     nondeportable by the statute of limitations.
        The CHAIRMAN. Even if they found them early, we would find
     that other countries were not willing to take them without a great
     exchange of letters which endeavor to show their place of nativity
     and proof of birth in a foreign country, and the extent of the break-
     down here which makes it desirable for this country to turn them
     back to the country that gave them to us. That is one of the hard
     things of deportation. Now my experience is that the service down
     here, the Immigration Service, carries on correspondence with State
     institutions and asks them to report the number of deportable aliens
     frequently, and then sends crews around the United States gathering
     up these deportables particularly criminals whose sentences are about
     to expire, and finally brings a carload to New York and sends
     them out.
        Doctor LAUGHLIN. There is no criticism of the administration of
     the law, with the present machinery, and the present appropriation.
     It is simply the.tremendous job that the law has imposed upon the
     Immigration Service. NeV standards, new procedures, better ma-
     chinery, and larger appropriations are needed.
        From the standpoint of a good many of these institutions, we
    find that they never heard of the deportation act, nor do they know
     how to initiate deportation procedure.
        The CHAIRMAN. There is a big flaw somewhere, because the
    figures right here for the year just closed show only a few thousand
    deported. They show many thousand alien seamen deserted and a
    large number of stowaways in the country, to say nothing of the
    classes that begin after that, criminal and dependent.
        Mr. HOLADAY. And thousands of excess quota over the borders,
    smuggled in.
       Doctor LAUGHLIN. These studies are only of State and Federal
    institutions. Only a small portion of the Nation's deportables are
    found in such institutions. The service should deport from local
    institutions, as well as State institutions. This is a relatively small
    study of the whole population. There are only about 75,000 foreigners
    included in this whole study.
       The new deportation act should provide for combing the Federal,
    State, local, and private institutions, and for keeping in touch with the
    courts and charity organizations, and otherwise actively searching
    out deportables in the whole population, both in institutions and at
    laTh'e. CHAIRMAN. Let us come to the conclusion of the whole matter.
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          THREE     PRIMARY FACTORS IN NATIONAL EUGENICS TREND
       Doctor LAUGHLIN. Every nation in its racial trend depends pri-
     marily on three factors. It depends first on mate selection, which
     is ve important.' The States govern that without any reference to
     the Fderal Government, but to know who marry and whom they
     marry is very important. Its control i4 a matter of custom much
     more than of statute law.
        The second factor in racial destiny is differential fecundity-that
     is, not only the absolute number of children that a given mating will
     have, but the relative number of children which matmins of the better
     classes produce, compared to the numbers which inferior classes pro-
     duce. That, too, is a matter controlled largely by custom and by
     social and economic factors. The Federal Government has almost
     nothing, and the State governments very little to do with differential
     fecundity.
        Mr. Box. It is n matter of State control, as far as it is controlled
     at all, is it not?
        Doctor LAUGHLIN. Yes, sir. Now the States, for instance, have
     tried in a small manner to lower the production degenerates. In all,
     23 States have passed eugenical sterilization laws providing for the
     sexual sterilization of certain classes. Of course that is not a Fed-
     eral matter.
        The third factor in racial destiny is human migration, and under
     the form of government which we have in the United States it is, of
     course, entrusted to the hands of the Federal Government.
        Mr. VINCENT. Now, will you restate the three basal factors,
     please?
        Doctor LAUoHLIN. The first is mate selection; second, differential
     fecundity, and third, human migration.
        Deportation is a phase of migration control. It is a matter of
     mixed Federal authority and State responsibility. The peculiar thing
     is this: that the States have the responsibility to go into the popula-
     tion at large to take custody of and care for social inadequates, such
     as the feeble-minded, the insane, and the criminalistic classes. It
     institutionalizes them and pays for their maintenance, whether they
     are foreign born or native born. The Federal Government has the
     sole authority to admit and to deport aliens, so that unless there is a
     close cooperation between the Federal Government with the author-
     ity, and the States with the responsibility, the last line of defense,
     or deportation, is going to break down, and the principal reason why
     the deportation system is not working in the United States is on
     account of this lack of coordination.
                          DEFINITION OF "PUBLIC   CHARGE"

        There is another matter. Our laws should define "public charge"
     clearly. If a person is in an institution maintained by the State, the
     Federal Government, a city or a town, he is a public charge. The
     institution may be maintained in whole or in part by State funds, so
     that in order to cover the case clearly, a definition of "public charge"
     should be put into this clause to clarify it.
        Mr. BACON. Would you advocate that?
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        Doctor LAUGHLIN. Yes, sir, I would add:
       For the purpose of this at, a public charge is a person maintained in whole or In
     part by public funds in a Federal, State, city, county or township custodla or
     charitable institution, or who receives outdoor relief at public expense.
        For maintenance, institutional inmates cost at least $1 per day.
     Moreover, there is a great overhead expense in buildings and ad-
     ministration in the operation of these institutions. In an earlier
     institutional survey, J found that in 1916, for 576 institutions in all
     of the States, the average investment in institutional plants per
     inmate was $1,034.71.
        The computed cost of a "public charge" should include the entire
     cost and maintenance, including overhead and administration-that
     is, what it actually costs the State.
        In 1915 our previous survey showed that Massachusetts spent
     30.4 per cent of all of her State expenditures for State custodial
     institutions. In the same year Alabama spent 5.4 per cent of her
     appropriations for the same purpose, while the several States as 6
     unit spent 15.8 per cent of their total State appropriations for this
     purpose. A large percentage of the inmates of these institutions are
     deportable aliens who are not deported. Thus, from the standpoint
     of dollars and cents, which is the least debit, failure of Federal
     deportation is costing the States a great deal of money.
            ROSTER OF SOURCES FOR LOCATING INADEQUATE ALIENS

        There is another item of importance. The Commissioner General
     of Immigration should be instructed to maintain, besides a roster
     of public custodial institutions, a list of and to make contacts with
     all agencies rendering outdoors relief at public expense. There is no
     roster of these public institutions and agencies kept now. When we
     want to make a special survey, we have to gather the names of these
     institutions from random and scattered sources.
        The CHAIRMAN. Would you like a roster to go beyond the State
     institutions and to the counties and cities?
        Doctor LAUGHLIN. Yes, sir; a roster of institutions foz all classes
     of social inadequates where such institutions are maintained in whole
     or in part by the Federal Government, the State government, cities,
     or counties. I would include also the private institutions, the courts,
     and the charity organizations.
        Besides producing and maintaining such a roster up to date, the
     law should require the deportation service to maintain friendly
     relations with all such institutions and agencies, and to take the
     initiative in explaining to the responsible authorities of each of
     these public institutions and organizations the law on deportation
     and the procedure to be followed in deporting deportable aliens and
     in instituting deportation proceedings.
        The CHAIRMAN. In the case of a person about to be deported, does
     the State pay the cost of transportation, say from Oregon to Ellis
     Island?
        Doctor LAUGHLIN. The Federal deportation service generally pays
     that. The deportee or his friends pay the expenses of a friend or
     relative who accompanies voluntarily the deportee. Generally the
     deportee is a public charge and has no money. The State looks on
     deportation as a Federal matter. (See p. 15.)
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       The CHAIRMAN. The immigration bureau in Portland, Oreg., in
    the month of October, 1924, spent $1t744 for railroad tickets alone
    for deporting aliens. Then do you think a bill somewhat enlarging
    The scope and making clearer certain processes is necessary?
       Doctor LAUGHLIN. Yes, sir.
       Mr. HOLADAY. Have you any idea of the cost to the States and
    counties of maintainin deportable persons?
       Doctor LAuoHLI.        have the figures. That may be computed
    by finding the number of deportable persons and assuming that it
    costs just as much to maintain an alien as it does a native-born
    citizen in the institution.
       In a survey just completed we received returns from 684 out of 688
    State institutions for all types of inadequates, including the crimi-
    nalistic, the insane, the feeble-minded, and other classes. These
    are only the institutions maintained directly by the State, and do
    not cover those maintained by the municipalities, nor do they
    include private institutions. We found 74 170 foreign-born inmates.
    Of course the immigration law contemplated keeping these out,
    but nevertheless they got in. The next best thing is to provide for
    the deportation of most of them. Indeed, only 3,526 of this total
    number were certified as becoming inadequate through causes arising
    since their arrival in the United States.
                MAINTENANCE COST OF INADEQUATE ALIENS

       We have made no exact computation of the direct cost of main-
    taining institutional inmates since 1915. In that year, however, we
    found that for all State custodial institutions the average mainte-
    nance cost was $17.35 per month. This varied from $15.21 for the
    feeble-minded to $40.64 for the leprous, the criminals averaging
    $18.93 maintenance cost per month. If, since 1915, the general cost
    of living has increased approximately 70 per cent, then it is a fair
    estimate that now these 74,170 alien inmates in State institutions are
    costing approximately $1 each per day for maintenance. This does
    not include any charges against institutional establishment.
       So far as the Federal Government is concerned, the situation is
    this: The United States arrogates to itself the authority to control
    immigration, but the several States have the function of maintaining
    most of the social inadequates. There would be poetic justice in the
    States asking the Federal Government to permit itself to be sued in
    Federal courts to recover maintenance cost of aliens whom the Fed-
    eral Government has admitted and who are thrust upon the States
    without any choice on their part, and whom the Federal Government
    is, it would seem, duty bound, at least, to deport. For the year
    ending June 30, 1927, the net cost to the Federal Government of the
    Immigration Service was $1,922,478. Against this the several States
    are spending approximately $27,000,000 per year for maintenance of
    alien adequates whom our Immigration Service has let into the coun-
    try and whom our deportation service does not remove. The au-
    thority and the responsibility for controlling the admission and
    deportation of innigrants is a Federal matter, but the cost and
    responsibility for caring for inadequate aliens falls largely to the
    several States.
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                EUGENICAL ASPECTS .OF DEPORTATION

         Of course, listing this direct cost of $27,000,000 per year is inter-
      esting and is a valuable piece of information because it is definitely
      measurable, but this direct cost is only a small fraction of the actual
      cost of inferior aliens. Their economic inefficiency and their destruc-
      tion of property when at large amounts, in costs to many millions of
      dollars more than the direct cost of those who fall so low as to become
      public charges, while the greatest costs of all are, of course the low-
      ering of national efficiency, the destruction of national ideals, and
      the position of inferior aliens as seed stock for the future generations
      of Americans. Superior aliens are needed in the United States for
      the same reasons that the inferior should be rejected. This is not a
      matter of race, but of family stock within each race.
         Mr. Box. In the question of expense, has any one estimated the
      total cost or indirect expense to the country of the poor, indigent,
      and incompetent that come to this country that are not put into
      institutions?
         The CHAIRMA . You mean municipal and private aid to families
      and that sort of thing?
         Mr. Box. Yes, and the economic drain on the whole country.
      You see that has been overlooked entirely in our discussion so far,
      and I thought possibly, before we got through, we might get that.
      Presumably that is much greater than the amount listed in these
      other figures. Is that capable of segregation?
         Doctor LAUGHLIN. Not definitely now, but we could, by research,
      get at it reasonably near. Such a study of costs should include, first,
      direct institutional cost of defective and dependent aliens, such as
      we have already given; second, cost of outdoor relief; third, cost of
      loss of efficiency and in destruction of property by individual immi-
      grants who are inadequate from constitutional causes; and fourth
      the social and biological costs chargeable to lower efficiency of the
      offspring of degenerate immigrants, compared with normal American
      efficiency, and the social and biological assets accredited to increased
      efficiency of superior immigrant strains. We should then strike a
      balance. It would be a big but a possible job.
         The CHAIRMAN. Now I want to ask, do your figures take into con-
      sideration those admitted into hospitals to be cured of various deport-
      able diseases? In other words, I visited Ellis Island one day and there
      saw several wards full of boys with scalp diseases.
         Doctor LAUGHLIN. It is not the infectious disease which is eugenic-
      ally the most dangerous. It is the constitutional diseases which are
      hereditary that concerns us. Of course we all understand that a
      person with almost any infectious disease, unless it is syphilis or
      leprosy or tuberculosis, can come to the United States and be cured
      and not affect the good citizenship or the individual effectiveness or
      the blood of the individual.
        The   CHAIRMAN.   Just an inconvenience, not a danger.
         Doctor LAUGHLIN. It is a job for quarantine, rather than for de-
      portation.
         Mr. WITE. How do so many of these nonadmissible aliens-the
      class described by you-get into the United States?
         Doctor LAUGHLIN. They get through the immigration sieve
      simply because the Inmnigration Service can not diagnose a man's
      prospect by the short examination given. Making a diagnosis is a
      big job, if properly done.
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                     EUGEHICAL ASPE(TS OF DEPORTATION

        The CHAIRMAN. How do the States fail to connect up with the
     Federal deportation service--that is to say, if they are sleeping on
     their rights, why?
        Doctor LAUGHLIN. The superintendents and boards of trustees
     of the custodial institutions in the States, having complete charge
     of persons committed to their keeping, rarely get in touch with the
     deportation service of the Federal Bureau of Immigration. The
     average alien lives in the institution the same as a native borh, and
     when he crosses the five-year limit he is not deportable. That's
     the average history. The more thorough the examination-personal
     and fami ly-the more surely would we exclude those who later
     become deportable. This examination should not only include the
     physical examination at Ellis Island but should be supported by the
     history or background of the immigrant. His individual or family
     history is really more important than his physical examination.
     The Johnson Act of 1924 is a step in this direction.
        Mr. WHITE. So that, as a matter of fact, the trouble that the
     States and counties and the Federal Govenment are up against is
     that we are not furnishing a sufficient number of employees, medical
     assistants, both men and women, who are competent to pass upon
     the aliens and make the necessary examination? Is that not one of
     the biggest troubles?
        Doctor LAUGHLIN. Yes, sir; that is one of the major troubles.
     Prevention of necessity for deportation is the best remedy. How-
     ever, do the best the Nation can, there will always be need for de-
     portation, or the "final selection," so long as we are an immigrant-
     receiving nation.
        An inventory of aliens in the United States on the basis of racial
     and social values would constitute a measure of the degree to Which
     our immigration laws, including provisions for deportation, are
     effective. One item in this inventory consists of the aliens in insti-
     tutions. If we could havo foreseen that the particular alien wodd
     have become a public charge we would not have admitted him. Also,
     if races which are not assimilable with the foundation American
     stocks are found in large numbers within the United States, this too
     is a measure of the failure of the immigration laws to work to the
     best interests of the country. Then, within each race, the lower
     qualities of individuals-those not inadequate enough to become
     custodial charges but much below the average of our own national
     efficiency-are not adding to our national welfare. Only those indi-
     viduals of compatible race who are capable of reproducing offspring
     of superior quality, and who, themselves, are superior, constitute
     immigration assets.
     PARALLEL BETWEEN RECRUITING THOROUGHBRED STOCK BLOOD BY
       PURCHASE AND NATIONAL FAMILY STOCK BLOOD BY IMMIGRATION

        I have made some studies with regard to a closely parallel thing for
     Mr. Walter J. Salmon of New York, one of the most distinguished
     and successful breeders of thoroughbred horses in the United States.
     When this gentleman recruits his stud farm, he never even considers
     acquiring a mare or a stallion not of the top level, judged by excellence
     of near-kin, and he has been very successful in racing for that reason.
     lie weeds out from the lower levels and recruits by purchase, analo-
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                 WOREICAL ASPECTS OF. DEPORTATION

      gous to immigration in man, to the top levels. Man is an animal,
      and so far as heredity and future generations are concerned, there is
      considerable real basis for the comparison just made.
         Now I will show you how this applies to our foreign-born popula-
      tion. 'he foreign-born population in the United States, if the
      standard had been, not the very highest, but barely above our native
      average, would, instead of having 13,000,000 foreign born in the United
       States in 1920, have refused admission to more than 8,600,000 of
      them. We have already discussed this particular matter. (See p. 26).
      PRESENT LOW LEGAL STANDARD FOR INTELLIGENCE IN THE IMMIGRANT

         The present immigration laws of the United States so far as intel-
      ligence is concerned draw the line barely above feeble-mindedness.
      A person who has intelligence enough to keep out of custodial insti-
      tutions has enough to conform to the immigration laws of the United
      States; whereas it seems to be logical, in studying population, if
      immigration is to recruit to the improvement of quality of our popu-
      lation, with reference to intelligence, this quality in the now human
      seed stock ought at least to be above the average, instead of below it.
         Any sound immigration policy calls for setting our national stand-
      ards in reference to the total number of immigrants we can assimi-
      late; then in distributing then by the quota system according to
      race; then, inside of each race, selecting superior individuals, and,
      above all, in insisting that these individuals be of such sound heredi-
      tary endowment that their offspring will tend to raise the level of
      American intelligence, and to improve the standard of all other
      hereditary qualities which we prize in the American people, such as
      honesty, industry, intitiative, courage, natural reverence for law and
      order, altruistic instincts, artistic talents, ability to collaborate
      ability to solve new problems generally called inventiveness, and
      the like. These qualities, besides sound bodies, are the fundamental
      inborn possessions of a superior race. In administering such a
      standard, we have first to select, in.his home territory, the would-be
      imndgrant from among many applicants; then we can study him on
      board ship; then we can give him the thorough examination at the
      port of entry; then we can if we choose, and doubtless shall have to,
      register him; then if he does not make good, we can deport him.
      Deportation is the last line of defense. If we do not deport the
      undesirable individual, we can not get rid of his blood no matter
      how inferior it may be, because we can not deport his offspring born
      here. A child born here, regardless of race or degeneracy, is a citizen
      of the United States and is eligible to the Presidency, so far as birth
      and citizenship are concerned.
         GAP BETWEEN FEDERAL AND STATE DEPORTATION ACTIVITIES

         In examining deportation, as it works at present, it is clear that
      the machinery is not perfectly adapted to its purpose. There is a
      great gap between the Federal authority and the State responsibility
      for the care of inadequate aliens. There is not much generai knowl-
      edge, among people who deal with inadequate aliens, about ".9 pro-
      cedure to be folowed in deportation. The Federal Government
      lacks sufficient funds for carrying on the work adequately, even if all
      other factors were favorable.
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                          THE USE OF IMMIGRATION

      Immigration can be made to improve the quality of the American
    people, but if the.present standard is not raised and rigidly enforced,
    and if the aliens of degenerate or inferior stock who are found within
    our borders, especially those who will become the parents of future
    Americans, are not deported then, depending on the number of such
    cases, immigration will tend to work not toward the improvement
    but toward the degeneration of the American people.
      The CHAIRMAN. This hearing, together with the charts and tables
    which have been worked out for it, will be published in due form for
    our use, and we thank Doctor Laughlin for his valuable services in
    maltin these researches and in presenting their findings to us. Im-
    migration looks more and more like a biological problem, and if the
    work of this committee results in establishing thiq principle in our
    immigration policy we will be well repaid for our efforts.
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                                                     APPENDICES
        Appendix 1. Historical development of the United States deportation statutes
    and rules. Prepared by Mrs. Marguerite Drake Conklin.
        Appendix 2. Statutes and rules as chronologically developed for each deportable
    class of aliens. Prepared by Mrs. Marguerite Drake Conklin.
        Appendix 3. Boundaries of immigration administrative districts of the United
    States, established by rule 28 of the Immigration Regulations, March 1, 1927.
    (See map opposite p.52.)
        Appendix 4. Practice of the several States in reference to the deportation of
    socially inadequate aliens, and to the return of socially inadequate citizens of
    other States. Prepared by Harry H. Laughlin.
        Appendix 5. Report of the medical examiner of the New York State Bureau of
    Special Examinations, for the year ending June 30, 1925. Prepared by Spencer
       . Dawes At. D., medical examiner.
        Appendix 6. Deportation of aliens and return of citizens to other States, by
    classes of social inadequacy. Survey ending January 1, 1923. Hitherto unpub-
    lished findings of a preliminary investigation on deportation made for the
    Committee on Immigration and Naturalization of the House of Representatives,
    by Harry H. Laughlin.
        Appendix 7. The causes of nondeportability of foreign-born inmates of Ameri-
    can State and Federal custodial Institutions. This is a special memorandum
    prepared by Harry H. Laughlin for Hon. Albert Johnson, chairman of the
    Committee on Immigration and Naturalizatiou of the House of Representatives.
    This study consists of an analysis of the principal findings of the present investiga-
    tions on deportation made for this committee.
        Appendix 8. Set of the principal schedules used in securing data for the re-
    searches on deportation reported In this hearing. Prepared by Harry H. Laughlin.
                                                       APPENDIX       1
         Historical derdopment of thw Unitcd States deportation statutes and rules
                                   [Prepared by Mrs. Marguerite Drake Conklil

           Statute of rule                                                 Provisions

    Mar. 3, 1875, statute, sec. 3.. All convicts and prostitutes must be returned to the country whence they
                                      came, at the
                                          bogtto    expense
                                                  port        of the transportation agency by which they were
                                                       of entry:
    May 6, Ib82, statute, sees. 1, All Chinese laborers are deportable. Every Chinese person other than a
     6. and 12.                       laborer who is entitled to enter the United States is deportable at any
                                      Sttes attay
                                      Stat      the Justice, Judge,
                                                          of the    or commissioner
                                                                  United States, unlessof he
                                                                                          thepctr
                                                                                              court of athe
                                                                                                         certificate
                                                                                                            United
                                       of admission by the Chines Government.
    Aug. 3, 1882, statute, sec. 2... Lunatics,
                                       excluded Idiots,
                                                 classes,andaepersons likelyatto the
                                                                deportable        become public
                                                                                     epense     charges,
                                                                                            of the       added to
                                                                                                    transportation
                                       agency by which they were brought to port of entry.
    Feb. 23. 1887. statute, Sec. 7..I All contract laborers (except domeslcs, and skilled workrmen for new
                                          trades not established in the United             and all
                                                                                          states,    persons beoging
                  1ec13.i1ed$prstetstes)
                                     Allto                            ar     eotbewti   one y-ear
                                                                                  the United      after
                                                                                             States  areentry.
                                                                                                         deport
       Sand 13.                     ,     able at any time by any justice, Judge, or commisoner of a United
                                          States court,
                                          or parent      unless
                                                    in the      the par'ticular
                                                           United               Individual
                                                                    tar or Property        has to
                                                                                       therein  a lawful wife.
                                                                                                  the value     child,
                                                                                                            of $1,000,
                                          or debts of like amount due h       andmoding payment.
                                        AlltheChinese
                                               United persons,
                                                       States ororterritories
                                                                    persons ofareChinese descent,
                                                                                  deportable at anyfound
                                                                                                     time.unlawfully in
    Mar. 3,1882, statute, ecs..Insn persons,       Iaupers, persons with loathsome or dangerous contagious
     iF and .                        diseases polygamists, contract laborers coming in answer to advertse-
                                     ments abroad, and assisted persons who belong to any excluded clae are
                                     deciortable within one year after entry.
    May 1.1892, statute, aees.2 All Chnese. laborers within the United States at the time of the dassage
     and .                           of this act, and who are otherwise entitled to remain Inthe United States,
                                     are deprtable after one 'earunless they possess certificates of residence
                                     issued by the collector of revenue oftheir respective districts..     .
    Apr. 29,190, statute, see. I... All Chilnese                      persons or persons of Chinese escent are
                                   . de portablefrom, the Island territories unless they comply with the rules
                                                                                        I s for the mainland;
                                     and laws, which are the same for the land territories
                                                                     Un the inland from Island territories
                                     au2 eall Chinese laborers, who enter
                                        who go from one portion of Island territory to another, are deportable.
                                       eor

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                         ASPEOTS OF DEPORTATION

     Hietovcal development of the United States deporlaionstattdesand rules--Continued

            statute of rule                                          Provisions

     Mar. 3,1903, statute, se. 21.. All a epties, Insane parsons who have had one or more attacks of insa lty
                                            Pwithin6years previous to entry or who have had two or more attacks
                                       of insanity at any time previously, professional beg          anarchists, and
                                        persons who attempt to bring IA prostitutes are depOrtable within 1
                                      ANa0taf-sw'aihro likely to become public charges re deportable within
                                      AU o~ftthermienexept contract laborers are deportabe within 8 er
                                        after entry at expense of persona unlawfully bringing them In, orof the$
                                       Immigrant fund.
                                      When llon are to be Immediately returned to the country whence they
                                       came, and whentheir physical or mental conditions are such as toreqise
                                       Persnabare the patcu vessel which brought the particular 1Mm!l.
                                                        ofenry pays    the expense of the attendant.
              Fgran
                 7, tattam.           Imbeileto portles
                                                   feble-minded-  prsons Persons with tuberculosis, persons other.
      and 2.                            wie mentally or physically deMecve, public charges and children undae
                                                  16f ae
                                                      eas nacomanedby parent are deotbewithin 3 yeasi
     Feb. , 1917, statute, sm. 3 Any alien who at the time of entry was a member of one or more of the
      and 19.                              asses excluded by law is deporUble within Gyes after entry.
                                      Alien violators of VLnited States laws, aliens advocating or ,eaehlng the
                                        unlawful destruction of proery or teaching anarhy, or the overthrow
                                       of the Uoveroment of the United States are deportable within 5 years,
                                        at the expense of the transportation agency which brought the particular
                                        immigrant to Port of entry.
                                      All aliens who within 5 years have become public charges from causes not
                                        afllrrmatively shown to have arisen subsequent to landing are deportable.
                                      All aliens who within 6 years have been sentenced to Imprisonment for a
                                        term of I year or more, because of a crime Involving moral turpitude, ae
                                        deportable.
                                      All aliens who are connected In any manner with a house of prostitution,
                                        or who receive benefits from any pert of the earnings of any prostitute,
                                        are deportable within 5 years. t the expenseofthetrasportationagency
                                        which brought to imrticular Immigrant to port of entry.
                                      All aliens who have entered the United States by water ,'r land at any time
                                        or place olher than designated by Immigration officials, or who have en-
                                        tcred wit'iout in$iion. are deportable within 3 years after entry, at the
                                       expense V!rhe.tra.iipot.: tion agency which brought the particular immi-
                                       fy'ant t0 lprt of entry.
     Feb. 5, 1917, rule No. 3...... All Chinese persons. who were members of one or more of the classes ex.
                                       cludeJ by law under the immigration act of 1917, are deportable within 5
                                        years after entry.
     Feb. 5, 1917, rule No. 6...... Every Chinese person refused admission to the United States, being actu-
                                        ally or constructively on the vessel or other conveyance by which be was
                                        brought to port of entry, must be returned to the country whence he came,
                                       at the esrense of the transportation agency owning such a vessel or con-
                                        veyante.
     May 19, 1921, statute, sec. 2.. All aliens are deportable who have entered the United States after their
                                     I respective 3 per cent quota allotments have been filled for that particular
                                        fiscal year.
     May 28,1924, statute, sees. 7 Any alien who at any time after entering the United States Isfound to have
      and 14.                           entered without proper immigration visa, or to have remained therein for
                                        alonger time than permitted by regulations, shall be deported in the same
                                        manner as provided for In scs. 19 fred 20 of the Immigration act of 1917.
     July 1, 1925 statute, sec. 19... All aliens are deportable who have entered the United States after their
                                       respective 2 per cent quota allotments have been filled for the particular
                                        year.

                                SPECIAL CASES OF ,ONDEPORTABILITY

     1917, rule 6.................. Every child under 16 accompanied by either parent is deportable, unless a
                                     parnt is already in the United States, or unless the board finds that the
                                     child is strong and healthy, and not likely to become a public charge.
     1917, rule 4.................. The following classes of aliens over 16 years may enter and remain in the
                                     United States, whether such person can read or not, Ifotherwise admis-
                                     sible:
                                       (1) Persons who am physically incapable of reading.
                                       (2) Any alien or citizen of the United States may bring or send for his
                                              father or grandfather over 65 years of age, his wife, his mother, or
                                              grandmother, or his unmarried or widowed daughter, if such
                                              relative Is otherwise admissible.
                                       (3) Persons entering the United Stas to avoid religious persecution
                                              In the country of their last permanent address.
                                       (4) Persons previously residing in the United Statin for 6 years who
                                              return to the United States within 6 months from the date of
                                              their departure therefrom.
                                            Persons in transit through the United States.
                                            Persons lawfully admitted and who later go In transit through
                                              foreign contiguous territory.
                                       (7) Exhibitors and employees of fairs and expositions authorized by
                                              Congress.
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     historicaldevelopment of the United tales deportationstatutes and ruls-Continued
                         SPEOIAL OASES OF NONDEPORTABILITY-Continued

            Statute of rule        I                                  Provisions

     1917 statute, sec. 3........... Skilled labor, Ifotherwise admissible, may remain in the United Statk If
                                          tlb of lik, kind unemployed can not be found In this country.
                                      Tbejrovisions of this law shall not be held to exclude professional actors,
                                        artists professors for colleges or seminaries, persons belonging to recog.
                                        nixed Yerned profesins or persons employee as domestic servants.
     1917 statute. sec. 3........ N..othing In thIs act shall te construed to apply to accredited offils of
                                        fzorel,qn goernments nor to their suites, failes, or guests.
     1917, rule 25 ................. An aten brought tot e United States In violation oflaw nye detained,
                                            the testimony of such alien Is necessary on behalf of the . . overn-
                                         ment in the prosecution of offenders against any provision of this act or
                                         laws of the United States.
     1917 statute, see. ItS.......... If the health and safety of an insane alien would be unduly fmperiled by
                                         Immediate deportation, such alien may, at the expense of the oppropra-
                                        tion for the enforcement of this act, beheld for treatment until such time
                                        as such alien may, in the opinion of such medical officer. be safely de-
                                         ported.
                                      it the wife or minor child of an alien resident In the United Stais arrives
                                        afflicted with tuberculosis or a loathsome or dangerous contagious disease
                                         which is easily curable, he or she may be detained for hospital treatment
                                        and note prte.
     1917 statute, see. 21 .......... Any alien liely to become i public charge may remain in this country
                                        upon giving a suitable and proper bond.
     1917, rule 17, subdivision I... Aliens whose prompt deportation can not be accomplished because of war
                                        or other conditions may, upon permission secured from the department,
                                        be released and permitted to accept self-supporting employment.


                                                   APPEDiX 2
     Statutes and rulew on deportation as chronologically developed for each deportable
                                      class of aliens
                                   (Prepared iy Mrs. Marguerite Drake Conklin]

        Deportable classes          Statute or rule                             Conditions
     1. ConvIcts   (except   for
     1. Convicts exceptt for Mar. 3, 1875, statute,       Every convict must be returned to the country whence
       political offense only).   see. 5.                  be came by the transportation agency bringing him
         Do..o......o.o.                                   to port of entry.
                                 Aug. 3, 1882, statute,   Expense of return voyage of all convicts Is paid by
         Do ..................    see.4.                   owner of the vessel bringing them to port o entry.
                                 Mar. 3, 1891, statute,   AU convicts are deportable within I year after entry.
         Do.......          ....  sec. 11.
                                 Mar. 3. 1903, statute,   AU convicts are deportable within 3 years after entry,
                                  sec. 21.                  at the expense of the transportation agency bringing
                                                            them tepot ofentry. Such agencyalsomust payone.
         Do ..................                              half of the expenses to port of entry.
                              Feb. , 1917, statute,       All criminals are deportable within 5 years after entry.
         Do .................  sec. 19.
                              May 1,1917, rule, No. All aliens who, within 5 yeams have been sentenced to
                               22.                     Imprisonment for a term of i year or more because of
                                                       a crime involving moral turpitude are deportable.
     2. Prostitutes, or white Mar. 3. 1875, statute, Women imported for purposes of prostitutlon'are re-
        slave traders.         see. 5.                 turned Immediately.
         Do ................. Mar. 3, 1903, statute, All prostitutes and all aliens Importing or attempting
                               secs. 2and 3.           to Import prostitutes, are deportable within 3 years
                                                            after entry, at expense of the deportation agency
                                                            bringing them to port of entry.
         Do .................. Feb. 20, 1907, statute,    AU aliens who are connected with a house of prostitu.
                                se. 2and 3.                 tion or who are receiving benefit from any part of the
                                                            earnings of any prostitute or who are connected with
                                                            any Immoral praetoe are deportable by the amended
                                                            law of 1903.
         Do.................. Feb. 5, 1917, statute,      Aliens praetickjg prostitution, connected with houses
                               sec. 19.                     of prostitution or places frequented by prostitutes,
                                                            either r manager, employee or sharer In proceeds, or
                                                            persejs Imiorting or aiding In any way women enter.
                                                            Inr for purpose of prostitution, or for any other Im-
                                                            moral purpose, alien.previously
                                                                                 eor             deported under a
                                                           similar act are deportable within 5 years.
     3. Contract laborers..... Feb. 23, 1887, statute,    An contract laborer, except domestics, and skilled
                                Sec.7                      workmen for new trades not etabilihed In the
                                                            United States, and all persons belonging to recog.
                                                           nired professions are deportable within I year after
                                                           entry at the expense of the transportation agency
                                                           bringing them to port of entry.
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       Stals and rules on deportation as chronologically developed for each deporlable
                                                   class of alien--Continued

          Deportable classes         1-      Statute or rule                            Conditions

       3. Contract laborers .... Mar. 3. 191, statute, The provisions of the law of 1891shall not be held to
                                  see. 3.               excude privtemeretares, and servants of foreigners
                                                                    temporarily resi inIn the United States, nor minis.
                                                                    tears, professor, or persons belonging to recognized
                                                                    leaed
                                                                     ,    prerions
           Do...............          t. 29, 10, statute. Exhibitors and employees of fairs and expositions au-
                                     ;
                                    see. F                        thorized by Congress are not deportable.
          Do.................. Mar. 3. 1903, .atute           Skilled labor. If otherwise admissible. may remain In
                                 I sees. 20 and 21.               the United States If unemployed labor of like kind
                                                                  can not be found In this country.
          Do .................. I NMay   1,  1917, rule  27, 'Otherwise     admissible  aliens  may trade
                                                                                                      enter under
                                    subdivision 6.               for purpose    of leading   skilled        if $100 contract
                                                                                                                     bond Is
                                                                 given to guarantee their Immediate return when the
                                   u.3course                             of training Is finished.
      4. Public charge ......... Aug. 3. 162, statute, All aliens who are likely to become public charges are
                                    me. 2.                   "immediately deportable.
          Do .................. Mar. 3. 1891, statute, All aliens who are likely to become public charges are
                                    see. II.                     deportable within I year after entry, at expense of
          Do .................. Mar.
                                  .      3, 1903, statute, Alvessel aens bringing  thembecome
                                                                            who have     to port ofpublic
                                                                                                     entry.charges due to
                                    see. 20.                      causes prior to entry are deportable within 2 years.
                                                                 at the expense of transportation agency bringing them
                                                                 to port ofentry, or from Immigrant fund.
          Do ................. Feb. 20, 1907, statute, All aliens who have become public charges due to
                                    sees. 19. 21, 23.            causes prior to entry are deportable within 3 years
                                                                 at the expense of the transj,'rtation agency bringing
                                                                 them to port of entry, or from Immigrant fund.
          Do .................. May, 1917. rule No. All aliens who have become public charges due to
                                    22, subdivision II.          causes prior to entry are deportable within 5 years.
                                                                 at the expense of the transportation agency bringing
                                                                 them to port of entry, or from Immigrant fund.
                                                                 Aliens likely to become public charges may be ad-
                                                                 mitted under bond.
      S. nsae ................ Aug. 3, 18k2, statute, All lunatics are immediately deportable at the expense
                                    sec. 2.                      of transportation agency bringing them to port of
                                                                 entry.
          Do..................l31.                 statute. All Insane persons are deportable within I year at ex-
                                    Ds..... .pense                      of transportation agency bringing them to port
                                                                 of entry.
          D. .................. . Mar. 3, 1903, statute, Insane persons who have had one or more attacks of
                                    secs. 2 and 21.              insanity within 5 years previous to entry or who
                                                                 have had two or more attacks at any time previously
                                                                 be deportable within I year after entry.
          Do .................. , Fe.
                                  F
                                  Ssew. ,Is1917
                                              and statute,
                                                   19.        If duly
                                                                  the health  and safety
                                                                        imperiled         of an Insane deportation,
                                                                                     by Immediate       alien would besuch
                                                                                                                        un-
                                                                   alien may, at the expense of the appropriation for
                                                                   the enforcement of this act, be held for treatment
                                                                   until such time as such alien may, In the opinion of
                                 D....Wnsuch                             medical officer, be safely deported.
          Do    ............      May 1, 1917, statute,           When Insane aliens are to be returned to the country
                                     secs. 8 and 23.               whence they came. and when their physical or mental
                                                                   conditions are such as to require personal care, the
                                                                   vessel which brought them to port of entry must pay
                                                                   the expense of the attendant.
      6. Feebleminded ........ I Aug. 3, 1882, statute,           AlUIdiots are Immediately deportable.
                                 j
                                 !sec.2.
          Do ................. Mar. 3. 1891, statute,             All feeble-minded aliens are deportable within 1 year
                                                                   after entry.
          Do..................           Mar. 3, 19,   statute,   All feeble-minded aliens are deportable within 3 years.
                                  se. 21.
          Do    ............     Feb. 20 1907, statute, AU Idiots, Imbeciles, feeble-minded persons are de-
                                  ses. 2 and2D.           portable within 3 years.
           Do .................. Feb. 4, 1917, statute, All idiot, imbeetles, feeble-minded persons are dXort.
                                  sees. Sand 19.          able within 8 years.
      7. Loathsome or danger- Mar. 3, 1891, statute, Aliens afflicted with loathsome or dangerous contagious
         ous contagious disease.  sees. I and II.         disease are deportable within I year.
           Do .................  Mar. 2, 1903, statute, All aliens afflicted with loathsome or dangerous con-
                                  sec. 21.                ftglous diseases are deportable within 3 years.
           Do................Feb. 2, W, statute. All aliens afflicted with tuberculosis are deportable
                                  sec2.                   within 3 years.
           Do .................. Feb. 5. 1917, statute, If the wife or minor child of an alien resident In the
                                  sees. I Iand 2.         United States arrives afflicted with tuberculo "- or a
                                                          loathsome contagious disease which is easily curable
                                                          he or she may be detained for hospital treatment and
                                                          not deported.
           Do.......................... Aliens coming from country where an epidemic or
                                                          disease is prevalent may be detained on board for
                                                          examination pending deportation or admlsion.
      8. Anarchists ............ Mar. 3. I9M3,statute, Persons who advocate the overthrow of United States
                                  secs. 2 and 21.         Government by violent or of all government and
                                                          form, of law, or the asasimintion of public olficlals
                                                          are dei .,rtalie.
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               RUOENICAL ASPECTS OF DEPORTATION      51 Pag
     Statutes and rules on deportation a chronologicolly developed for each deportabM
                                class of aliens-C6ntinued

         Deportabledmas               Statute or rule      i                        Codiits

     8. Anarchists ........... Feb. 5 1917@      sgtate, i Allen vtolatm of United Stata laws, aliens advocating
                                       .&r                        teaching the unlawful destruction of property, or
                                                               teachig anarchy, or the overthrew of the Govern-
                                                                meat
                                                               5 yeas.
                                                                       of the United States are deportable within
     9. Epileptics ............ Mar. &,190, atal           Al epileptics ae deportable within 3 years.
                                   sec. 21.
                                 Feb. 5. 1917, statute,: All epileptics are deportable within 3 yeams.
                                     ee. 19.             i
     10. Chinese .........       May 0, 1882, state, All Chne laborers ae deportable. Every Chines
                                   sees. 1,6. and 12.          personotherthhan alaborerwho iscatitled toenter the
                                                               United Stat is deportable at any time by any ju .
                                                               lice. Judge. or commissIoner of the court of the 1:  lnted
                                                               States at the cg of the United States, unless be
                                                               posssees a eertiflcste of admission by the Chinese
                                                               Government.
                                 Sept. 3,18.INstatute, All Chinese laborers wo hae* retuned to the United
                                   sets. 6 and I3             SWl
                                                              Judge, orwre  deportable oia
                                                                         commlssloner      at any   UmeStates
                                                                                               United      by ay
                                                                                                               outJustice,
                                                                                                                    unles
                                                               the aiuan r individual has a lawful wife, child, or
                                                              pret in the United States or property therein to the
                                                              value of SIAlO). or debts of like amount due him and
                                                              pending payment. All Chinese persons or persons
                                                              of Chinese descent found unlawfully in the United
                                                              Rates or Territories are deportable at any time.
         Do .................. .May 5, ISM, statute, AD Chinese laborers within the United States at the
                                   sems.2 and 6.              time of the p           of this act, and who otherwise ar
                                                              entitled to reman in the United States, are deport-
                                                              able after one year unless they possess certificates of
                                                              residence Issued by the collector of revenue of their
                                                              respective districts.
         Do .................. Apr. 29. 19W, statute, All Chinese laborers and Chinese persons or persons of
                                   see. 1.                    Chinese descent are deportable from the island terri-
                                                              tortes unless they comply with the rules and laws,
                                                              which are the same for the Island territorks as for the
                                                              mainland, and all Chinese laborers who enter the
                                                              mainland from Island territories. or who go from one
                                                              portion of island territory to another are deportable.
         Do ................. Feb. 3,1917. rule.o. 3. All             =hinepersons are deportable within five years
                                                              after entry who were members of one or more of the
                                                              classes excluded by law under the immigration act
                                                              of 1 17.
         Do.................. Feb 5,1917, rule No. 6. Every Chinese person refused admission to the United
                                                              States. being actually or constructively on the vessel
                                                             or other conveyance by which he was brought to port
                                                             of entry, must be returned to the country whence be
                                                             came, at the expense of the transportation agency
                                                             owning such vessel or conveyance.
     11, Entered without In- Feb. 5, 1917, statute, Any alien whe has entered the United Slates by water
           spectio.                se. 1.                    or lAd at any time or place other than designated
                                                              by Immigration ofcIals, or who has entered without
     12. Wihu poe              m-5ay 26,194.4, statute, Any  Inspection
                                                                  alien whois deportable
                                                                               -it itny timewithin
                                                                                               alter 3entering
                                                                                                        years. the United
           migration visa.         secs. 7 ad 14.             States is found to have entered without groper inmi-
                                                             gration visa, or to have remained therein for a Ionge
                                                             time than permitted by regulation.% is deportable
                                                             In the m manner as provided for in the immigra-
                                                             tion act of 1917.
     13. Unable to read ...... Feb. 5, 1917, statute. All aliens over 16 years of age pb)sIcaly capable of
                                   secs. 3 and 19.           reading are deportable who can not rea the English
                                                           . language or some other LnguAge or dialect.
     14. In excess of quota .May 19, 1921. statute, ' AMaliens are deportable who have entered the United
           limit.                  see. 2.                   States aIfer their respectivecountry's 3 per cent quota
                                                             allolment has beet filed for that particular fiscal
                                                            , ear.
                                July 1. 12 statute, A aliens are deportable who have erntered the United
                                  sec. 10.                   States alter their respectire country's 2per cent quota
                                                             alltment has been flled for that particular feal
                                                             year.
     15. Physical defectives.. Feb. 5, 1917, statute. All aliens are deportable who were found at the time of
                                  sews. J and 19.            entry to have been certified by the esaminingsurgeon
                                                             as Wing mentally or physilly defective, of such
                                                             physical defect is of a nature which may affect the
                                                             ability oi such alen to earn a living.
     10. Reentered within ..... do................. Alalienswhohavebeendeportedunderanyofthepro-
           yer of deporta-                                   visions of this act, and who have reentered within
           lion.                                             one ye alter deportation ate deportable.
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                       DUGBNIOAL 'ASPROT                01 DRPONETOX

                                            APPENDIX 3

 BOUNDAaIES O IMMIGRATION ADMINISTRATIV-     DISTRICT or TBE UNrED
   STATES, ESTABLISHED MARCH 1, 1927 BY RULE 28, BY THE COMMISSIO.NIR
   GENERAL OF IMMIGRATION, WITWTHE  APPROVAL OF THE SRCRTARY OF LABOR

                                     (See map opposite p. 52)
                           RULE 28.      ADMINISTRATIVE DISTRICs
   For convenience in enforcing both the Immigration laws and the Chinese
 exclusion laws the territory within which immigration officials are located is
 divided into districts, under the jurisdiction of commissioners of immigration
 or district directors numbered, defined, and with headquarters fixed, as follows:

       Title ooffcer I        Location of                           Extent of distrit
                             headquarters

       Commisslonerof Montreal, Canada..          Includes that part of the State of .Mae       lying et of
        Immigration.                                meridian 68 and north of parallel 45; the counties of
                                                    Carroll. Oratton, and Coos in the State of New liamp-
                                                    shire; that part of the State of Vernont lying north bf
                                                    the counties of Windham and Benington: that part of
                                                    the State of New York, lying north of the counties of
                                                    Warren, Fulton, Oneida, and Oswego, and that part of
                                                    Herkimer County north of Black Creek and Mill
                                                    Creek; also that part of the southern peninsula of the
                                                    State of Michigan 134ng north of the counties of Alon,
                                                    Oscoda, Crawford, Kalkaska, Grand Trawems and
                                                    Bensle; and that part of the northern peninsula of said
                                                    State lying east of the counties of Baraga and Iron: in
                                                    addition to territory within the United States, has
                                                    Iuwlsdiction and control over portsof flalibs. Yarmouth
                                                    St. John, Quebec. and all Canadian Interior stations
                                                    within the contiguous Canadian territory.
      District of direc- Portland, Me ....... Includes that part of the State of Maine lying west of
         tor.                                       meridian 69 and south of paralUel 45; the counties of
                                                    Belknap and Stratford in the State of ew Hampshir.
                                                    and the township of Portsmouth, In the county of
                                                    Rockingham, in said State.
       Commissioner of Boston, Mass ....... Includes the States of Massachusetts and Rhode Island;
         immigration.                               the State of Connecticut except the county of FaIrW4d
                                                    th. county of Rocklngham in the State of New Hamlp-
                                                    shire except Portsmouth Township and the counties of
                                                      ilsljbore, Cheahire Sullivan and Menimak; and that
                                                    part of the State of Vermont lying south of the counties
                                                    of Windsor and Ruthland.
      ..... do ..... ooooo  Ellis Island, New Includes that part of the State of New York lyng south
                              York Harbor, N.       of tWe counties of Essex and Hamilton and t7t part o
                              Y.                    the county of lierkimer lying south of Black Cnek and
                                                    Mill Creek and east of Oneida County, and east     of tho
                                                    counties
                                                    ptof       of Madison.
                                                               the State of Chenango, and Ing
                                                                             New Jersey     Broome: and
                                                                                                north of that
                                                                                                          the
                                                    counties of Ocean, Burngto, an'd Men er. exrept the
                                                    township of Upper Freehold in the county of Mon-
                                                    mouth.
       Chinese inspec-I United States barge Includes States of New York and New Jersey; Chinem
          tor in charge.
                 director.   office. New York.      matters only.
                              N. Y.
       District dietr1Buffalo.       N. Y....... Includes that part of the State of New Ycrk lying west of
                                                    the counties of Delaware, Otego Herkimuer, and south
                                                    of the counties of Lewis and Jeffson; the counties of
                                                    McKean, Warren Erie, and Crawford in the Stale of
                                                    Pennsylvania; and that part of the State of Ohio lying
                                                    north of thecounties of Mahoning, CarroL Twcarawas
                                                    Holmes, Knox, and Morrow and east of the counties of
                                                    Crawford, Seneca, Sandusky, and Ottawa.
       Commissionerof Philadelphia Immi- Includes that part of the State of New Jersey lying
          immigration.        gration Station,      south of the counties of Monmouth, Middlesex, Somer-
                              Oloucester City,      set and Hunterdon. and the township of Upper Free-
                              N.J.                  hod in Monmouth County; the State of Deftwarr,
                                                    and all that part of the State of Pennsylvania lying
                                                    eart of the counties of McKean, Elk, Clearfeld, Blair,
                                                    and Bedford.
       l)Istriet d;reclor.1 Pittsburg?, Pa ...... Indudes that part of the State of West Vig lyin
                                                    north of parael 3I and west of meridian '0 that pet
                                                    of the State of Penylvania lying west of Fulton.
                                                     Huntindon, Center, Cameron, and Potter and south
                                                    of McKean. Warren. and Crawfot and tla part of
                                                    the State of Ohio lying south of the counties of Ma-
                                                     honing, Stark, and Wayne and et't of meridian 2.
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tinted tecuse It showas the actual districts which                   Theiziundaries fte3 1tk~~o
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                                 EUGENICAL ASPECTS OF DEPORTATION

                                                         i
    in.                               Location of                               Extentof district
     ,e.       tk     oman           headrqutm
                                      "

      * Ccmmltionem of' Baltimore, Md ........
                                          Includes the entire State of Maryland; the District of
                                                               Columbia: all that pat of the State of Virginia lying
                                                               north of parallel 38: and that part of the State of West
                                                               Virginia lying east of meridian S0.
      It Disna direct.            Norfolk, Va.........       Includes that part of the State of Virginis lying south
                                                               of parallel 3S; that part of the State of Wst Virginia
                                                                 in south of parallel 3 and east of meridian St and
                                                               t      part of the States of Tennesse and North
                                                               Carolina lying east of meridian 8.
           ..-- do ...........
           -0                     Jacksonville.     .        Indudes that part of the State of South Carolina lying
                                                               east of meridian W; that part of the State of (leorgla
                                                               lying eat of meridian B and south of parallel 32, and
                                                               that Mpart                           lying east of merf-
                                                               din     . of the State of Flouida
     Ii ..      do ..--------     Detroit, Mich ........ Includes that part of the State of Ohio lying west of the
                                                           countit of Erie, Iluron, Richland. and north of the
                                                           counties of .Morrow, -Marion, llardin, Auglalze. and
                                                            Mercer; that part of the southern peninsla of the
                                                           State of Michigan lying south of the counties of Alpena.
                                                           Montmorency. Otsego, Aktrim. and Leelnts, except
                                                           the counties of Berrien and Cass: and that part of
                                                           the State of Indiana ling east of the counties of St.
                                                           Jo'eph. Mvshall, and hulton and north of the counties
                                                           of Fulton. Wabash, luntington, Wells, and Adamq.
     J     ..- do---------        Cincinnati, Oh.o -. Includes those parts of the States of Virginia and West
                                                           Virginia lying west of meridian 61; that part of the State
                                                            f Ohio lying west of meridian $2 and south of the
                                                           counties of Wayne, Ashlaud, Richland, Crawford,
                                                           Wyandot. Hancock. Allen, and Van Wert; that part
                                                           of the State of Indiana lying south of the counties of
                                                           Allee. Whitney. Kosciusko, Fulton, Co,            Carroll,
                                                           Tippecanoe, and Warren; and that part of the State
                                                           of Kentucky lying east of meridian 8.
      1 ....    do ---------      Atlanta, Ga......... Includes that part of the State of Oo Ia lying north of
                                                           parallel 32 and west of meridian 82 those parts of the
                                                           States ofSouth Carolina and North Carolinalying west
                                                           of meridian S. that part of the State of Tennessee lying
                                                           west of meridian 82 and east of meridian 88; and that
                                                           part of the State of Alabama lying east of meridian 88
                                                           and north of parallel 32.
     J4 --- do....-               Chceo. Ico......... Includes that part of the State of Indiana lying north of
                                                           the counties of Vermilion, Fountain, Montgomery,
                                                           Clinton, ]toward, and Miami. and west of the counties
                                                           of Wabash. Kosclusko. and Elkhart: the counties of
                                                           Can and Berrien In the State of Michigan; all that part
                                                           of the State of Wisconsin lying south of the counties
                                                           of Florence, Forest. Oneida. Lincoln, Taylor. and Ver-
                                                           non and eat of the counties of Clark. Jackson, and
                                                           Monroe; that part of the State of Iowa lying east of
                                                           the counties of Winnesbiek. Fayette. Delaware, Lnn,
                                                           Johnson, Washington, Henry, and Lee; and that part
                                                           of the State of Illinois lying north of the counties of
                                                           Hancock, McDonough, Mason, Logan, Dewitt, Piatt,
                                                           Douglas and Edgar.
     15 _.do ..-.....             S,. Louis, Mo ....... Includes tbat Wartof the State of Kentuck lying east
                                                           of meridian Se; that part of the State of Illinois lying
                                                           south of the counties of Vermilion. Champaign, Mc-
                                                           Lean Tazewel, Fulton, Warren, and Henderson; the
                                                           counties of Lee, Henry, Van Bun, Jefferson. Davis
                                                           Wapello. A, panoose. and Monroe in the State of
                                                           Iowa: and all that part of the State of Missouri lying
                                                           east of meridian 93.
     IV Dl rict director.         Memphis, Tenn..        Includes that part of the State of Alabama lying north of
                                                           parallel 32 and west of meridian 8; that part of the
                                                           State of Tennessee lying west of meridian 8; that part
                                                           of the State of Arkansas lying e t of meridian 93; that
                                                           part of the State of Louisiana lying east of meridian 93
                                                           and north of Warallel 32; and that pat of the State of
                                                           Miss:ssIpp1 lying north of parallel 32.
     17    Com i         of       New Orleans, La.... Includes that part of the State of Florida lying west of
            immigration.                                   meridian $5; those parts of the States of Alabama and
                                                           .Mississippi lying south of parallel 32; and that prt of
                                                           the State of Louisiana lying south of parallel 32 and
           District director.'    Grand Forks, N.          east of merid in 93.
                                                         Includes that part of the northern peninsula of the State
                                    Dak.                   of Michigan lying west of the counties of Dickinson and
                                                               Marquette; tat part of the State of Wisconsin lying
                                                              north of the counties of Price. Sawyer, Washburn, ann
                                                              Burnett; that part ofthe State of Minnesota lying north
                                                              of the counties of Pine, Aitki, Cas, Hubbard, Becker
                                                              Mahomet. and Norman; and that part of the State of
                                                              North Dakota lying north ol the counties of Can.
                                                              Barnes, Stutsman, Kidder, Burleigh, Oliver, Mercer,
                                                              Dunn, and McKenzie.
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                EUGENICAL ASPECTS OF DEPORTATION"


      Dist.        Title of offloo          L0o5tlou f                of          xtn o1dIstrict
                                                                                        ditrc
      No.                             ,    headquarters                          Extent

        19 Ditrltdeaotor. Minneapolis, Minn. Includes that part of the State of Wiseonain lying north
                                                        and west of the counties of Crawford, Richland, Sauk
                                                        Juneau, Wood. Marathon, Langlade, Oconto, and
                                                        Marinette except the counties of Douglas. Bayfleld,
                                                        Ashland, and iron; that part of the State of Minnesota
                                                        lying south of the counties of Carlton Itasca, Beltrami,
                                                        Cleerwater, and Polk; that part of the State of North
                                                        Dakota lying south and east of the counties of Trail,
                                                        Steele, Griggs, Foster, Wells, Sheridan McLean,
                                                        Mountral, and Williams; that part of tie State of
                                                        South Dakota lying north and east of the counties of
                                                        Mionehahs. Turner, Ilutchinson, Douglas, Charles
                                                        Mix. Gregory, Trlpp, Mellette, Washabaugh, Penning.
                                                        ton, 'Meade, and Butte; and that part of the State of
                                                        Iowa lying west, north, and east of the counties of
                                                        Allamakee, Fayette. Bremer. Butler, Franklin! Wright
                                                        Humboldt,
                                                        Oseola.       Pocahonlas, Buena Vista, O'Brien, and
        It....d    ........... Omahs, .ebr ....... Includes that part of the State of Iowa lying west. north,
                                                        and south of the counties of Apanoose. Monroe.
                                                             pello. Jeffern. Henry, ouls, Itusestine Cedar,
                                                           ones Dubuque Clyton, Winnesheik, Chickasaw
                                                        Floyd, Cerro Gordo, Hancock, K            1ssuth,
                                                                                                       Palo Alto,
                                                        Clay, and Dickinson; that part of the State of South
                                                        Dakota lying south and west of the counties of Moody,
                                                        Lake, McCook, Hanson, Dasison Aurora, Brule,
                                                        Lyman, Jones, Jackson, Haakon, Ziebach, Perkins,
                                                        and Harding; and that part of the State of Nebraska
                                I                       lying north and east of the counties of Scotts Bluff
                                      •              i Morrill,
                                                        Willow. Garden, Keith, Lincoln, Frontier, and Red
        21Kans                            City, Mo...Ildes that part of the State of Arkansas lying north of
                                                        parallel 36 and west of meridian 93; that part of the
                                                        State of Missouri lying west of meridian 93; that jart
                                                        of the Stale of Kansas lying east of meridian 100: and
                                                        that part of the State of Oklahoma lying east of meridian
                            do .I  an
        22..... do........... San Antonio, T
                                                Ta...'100 and north of parallel 38.
                                                      includes that part of the State of Louisiana lying north of
                                                      Ix..
                                I                    I parallel 32 and west of meridian 93; that part of the
                                                        State of Arkansas lying west of meridian 93 end south
                                                        parallel 36; that part of the State of Oklahoma lying
                                                        south of parallel 36; and all that part of the State of
                                                        Texas lying east and south of meridian 100, parallel 32
                                                        and meridian 102 except the counties allotted to New
                                                     1 Orleans. La., District No. 17.
        23 .    do ........     I Helena, Mont .      Includes that part of the State of Wyoming lying north of
                                                        para..lel 44 that part of the State of Montana lying
                                                        south of parallel 48 and east of meridian 115, and that
                                                        part of the State of Idaho lying east of meridian 115 and
                                                        north of parallel 44.
        2I District director., Denver, Colo ....... Includes that part of the State of Kansas lying west
                                                        of meridian 10;, that part of the State of Nebraska
                                                               lying west and south of the counties of Fumna& Gosper,
                                                              Dawson, Custer, Logan, .McPherson, Arthur Grant,
                                                              Sheridan, Box Butte, and Sioux; that part of the State
                                                           I  of Wyoming lying south of parallel 44 and east of merld-
              3I                                              fan 100; and the State of Colorado.
        25!          do       .       I El Paso, Tax.       Includes that part of the State of Texas lying west and
                                                              north of meridian 102, parallel 31, and meridian 100;
                                                              that part of the State of Oklahoma lying west of mernd-
                                                              Ian 100; the State of New Mexlco and that part of the
                     do ........... I Spokan                           Arizona
                                                              State ofall       lying east of meridian 114.
                                                 Ws.....    Includes      that part of the State of Montana lying
                                                              north of parallel 48 and also that part lying west or
                                                              meridian i!5; that part of the State of Washington lying
                                                           I east of meridian 120. that part of the State of Oregon
                                                               lyin g east of meridan M2and north of parallel 44; and
                                                         that part of the State of Idaho lying north of parallel
                                                         44 and west of meridian 113.
       27            do ...........
                             Slt Lake City, Uah.a..... Includes the State of Utah; that part of the State of Wyo-
                                                         ming lying west of meridian 109 and south of parallel
                                                         44; that part of the State of Idaholying south of paral.ll
                                                         41; and that part of the State f 1 eveda lying north of
                                                         s ralel 37 and east of meridian 117.
        8 Comm[         of Sttle, Was                   includes all that part of theotate of Washington lying
           imn...ation.                                  west of meridian 120 except the counties of Klickitat,
                                                         Skamanla, Clarke, Cowlits, and Wahkiakum sad the
                                                         townships In the county of F£-Ific bordering on the
                                                         Columbia River in the State of 1.,ehington.
       2 DIstriet director.' Portland, Oreg .....     Includes all that part of the State of Oregon lying south of
                                                         parallel 44 and also that part lying west of meridian 120;
                                                         the counties of Klickitat, Skamania, Clarke, Cowlitz.
                                                         and Wahklakum and the townships In the county of
                                                         Pacific
                                                         of       bordering on the Columbia River In the State
                                                            Washington.
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                                EUGENJCAL ASPECTS OF DEPORTATION                                          55
     Nos.
     Dist.   Title of officer       Location of
                                    1oaluo
      No.                          headquarters                         Extent of district

       30 Commissioner of San Francisco, Calif. Includes that part of the State of Nevada lying west of
             Immigration,                            meridian 1i1; that part of the State of California lying
                                                     north of the counties of San Luis Obspo%. Kern, and
                                                     San Bernardino and west of meridian 117.
       31 District director. Los Angeles, Calif... Includes that par1 of the State of Arisona lying west of
                                                     meridian 114; that part of the State of Nevada lying
                                                     south of        darall
                                                                       37; and that part of the State of CUl-
                                                     fornls lying east of meridian 117 and south of the coun.
                                                     ties of [nyt, Tulare, Kings, and Monterey.
       32.....do ........... Ketchikan, Alaska.. Includes the Territory of A L
       33 Commissioner of San Juan, Porto Rico. Includes Porto Rico and the Virgin Islands.
             Immigration.
       34 District director. Honolulu, Hawaii... Includes the Territory of Hawaii.
       3.....do ........... Oalveston, Tex......    Includes that part of the State of Louisiana lying west of
                                                      meridian 93 and south of parallel 32, and that part of
                                                      the State of ea lying south and east of the counties
                                                      of Panola, Rusk, Cherokee, Houston, Madison, Grimes,
                                                      Waller Austin, Colorado,avac, De Wltt, Ooliad
                                                      Bee Ive Oak, Jim Wells, and north of the county ol
                                                      Kleoerg.


                                   APPENDIX 4
     PRACTICE OF TEE SEVERAL STATES IN THE 'MATTER OF DEPORTATION OF ALIENS

                     AND OF THE RETURN OF CITIZENS OF OTHER STATES

                                  (Prepared by Harrey H. Laughlin)

                                                  3. ALABAMA

     A. Authority: State board of administration; chief officer, L. A. Board, president.
     B. Deportation of aliens:
           1. Initiative-Federal.
           2. Procedure.
           3. Aliens in population at large
           4. State laws: None.
           5. Statistical records.
     C. Return of nonresidents:
           1. State laws: None.
           2. Procedure: Merely give transportation.
           3. Statistical records': 'one.
     D. Criticisms:
           1. Should keep all aliens out.
           2. Aliens should be supported by State of legal residence.
           3. Registration of aliens would settle the problem.

                                          2. ARIIONA
     A. Authority: None.
     B. Deportation of aliens:
            1. Initiative: Federal.
            2. Procedure: Hearing before Federal officer; case reviewed at Wash-
                 ington; warrant for arrest and deportation executed.
            3. Aliens in population at large: No procedure.
           4. State laws: None.
           5. Statistical records: None compiled.
     C. Return of nonresidents:
            1. State laws: None.
           2. Procedure: None.
           3. Statistical records: None.
     D. Criticisms:
            1. Proof of legal entry; application for citizenship; five years residence
                 prior to becoming a public charge.
           2. One year's residence in another State prior to becoming a public charge
                 should establish legal residence in that State.
           3. Laws for enforcement of the foregoing.
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                       EUGENIOAL ASPECTS OF DEPORTATION

                                       3. ARKANSAS
     A. Authority: None.
     B. Deportation of aliens:
           1. Initiative: Federal.
          2. Procedure: None by the State.
           4. State laws: None.
                                       4.   CALIFORNIA

     A. Authority: Department of institutions; chief officer, W. D. Wagner, director;
           State deportation agent, Charles F. Waymire.
     B. Deportation of aliens:
           1. Initiative: L.al, through the above department.
           2. Procedure: VifAcation of entry; medical certificate presented; rest
                 done by Federal authorities.
           3. Aliens In population at large: Department has jurisdiction only over
                 State hospitals and industrial schools. Has no information in regard
                 to others.
           4. State laws: Section 2191, Political Code, 1923, as amended by chapter
                 85.
            5. Statistical records: See second biennial report.
     C. Return of nonresidents:
           1. State laws: Section 2191, Political Code, 1923, as amended by chapter
                 85.
           2. Procedure: Legal settlement determined; patient returned to sheriff of
                 home county.
           3. Statistical records: See second biennial report.
     D. Criticisms:
           1. Institutions should be maintained only for bona fide residents of United
                 States.
           2. Each State should care for its own inadequates.
           3. Interstate conference should be held to form uniform policy of reciprocal
                 exchange.
                                       6.fCOLORADO

     A. Authority: Department of charities and correction; chief officer, Gertrude
            Vaile secretary.
     B. Deportation of aliens:
            1. Initiative: Stale.
            2. Procedure: Superintendent of institution reports to above department,
                 which reports to United States Immigration Bureau. If alien has
                 become a public charge since entry into United States, State pays
                 expenses to seaport. Agreement between department and United
                 States official as to payment of expenses of deportation and mainte-
                 nance.
            3. Aliens in population at large: No provision in statutes.
            4. State laws: Chapter XVII Compiled Laws, 1921.
            5. Statistical records: See sheet attached to schedule.
     C.' Return of nonresidents:
            1. No provision.
            2. No provision.
            3. No provision.
                                      6. CONNECTICUT

     A. Authority: Department of State agencies and institutions; chief officer.
           Raymond F. Gates, State agent.
     B. Deportation of aliens:
           1. Initiative: State.
           2. Procedure: Examination to procure prior cause certificate; verifica-
                tion of entry; report of ease to United States officials.
           3. Aliens In* population at large: Federal cases, procedure as above.
                State cases, procure case history, passport, United States income
                tax release and accompany alien to port.
           4. State laws: Chapter 150, Public Acts, 1921. Also Federal laws.
           5. Statistial records: See annual reports of department.
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                        EUGENIOAL ASPECTS OF DEPORTATION                             57
     C. Return of nonresidents:
            1. State laws: Chapter 150 Public Acts, 1921.
           2. Procedure: Obtain case history report to State to which return is to
                 be made; agreement for voluntary return, or by warrant under
                 above law.
           3. Statistical records: See reports of department.
     D. Criticisms:
            1. Consider physical and mental condition of patient; consider dependents-
                 whether case is desirable resident; whether expense will be temporary
                 or for indefinite period.
           2. See 1.
           3. Authorize district commissioners of Immigration to issue warrants for
                 arrest of aliens; establish subdistrict offices when necessary. Inter-
                 state: Uniform legal settlement laws.
     H. Documents and records: Copy of laws blank forms and annual reports Eent.
     F. Remarks: Federal Government should reimburse State for maintaining de-
           pendents after they have been reported to United States officials. Need
            larger force in immigration department.
                                        7. DELAWARE
     A. Authority: None.
     B. Deportation of aliens:
           1. Initiative: Federal.
          2. Procedure: None by the State.
          4. State laws: None.
                                 S. DISTRICT OF COLUMBIA

     A. Authority: Board of charities; chief officer, George S. Wilson, secretary.
     B. Deportation of aliens:
            1. Initiative: Local official, usually.
           2. Procedure: When local official finds deportable alien In an institution,
                 he reports to United States officers.
            3. Aliens in population at large: Local officials do Dot deport aliens In the
                 population at large.
           4. State laws: No local statutes.
           5.Statistical records: Local authorities keep no records.
     C. Return of nonresidents:
            1. State laws: Section 7, Act of 1899, provides for removal of nonresident
                 insane.
           2. Procedure: Cooperation with local authorities in other States to
                 establish legal residence.
           3. Statistical records: Figures for 1924 given.
     D. Criticisms:
           2. One year's residence as self-supporting individual or family.
           3. Federal Government should be allowed to define by statute conditions
                 under which public charges can be transferred from one State to
                 another.
     E. Documents and records: Copy of law sent.
     F. Remarks: The District of Columbia is different from the States in many
                  respects, and has very limited experience with aliens.
                                         9. FLORIDA

     A. Authority: Board of commissioners of State institutions; chief officer, John
          W. Martin, Governor of Florida.
     B. Deportation of aliens:
          1.Initiative: Federal.
          2. Procedure: None by the State.
          4. State laws: None.
          5.Statistical records: None.
                                         10. GEORGIA
     A. Authority: No bureau.
     B. Deportation of aliens: No laws authorizing deportation.     "Banishment from
           the State is prohibited by the State Constitution."
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      58       EUGENICAL ASPECTS OF DEPORTATION

                                         I1. IDAHO
     A. Authority:
            1. State prison board, Boise.
            2. Idaho Insane Asylum, Blackfoot.
            3. Department of public welfare, Boise.
     B. Initiative: Federal.
     C. Return of nonresidents: State laws; Chapter 186, Laws of 1923.
                                      12. ILLINOIS

     A. Authority: Department of public welfare; chief officer, Judge C. H. Jenkins,
           director.
     B. Deportation of aliens:
            1. Initative: State.
           2. Procedure: Deportation agent secures history of all patients committed
                 to institutions. One year establishes residence in the State. Domes-
                 tic cases are handled'by the State, foreign cases are turned oter to
                 Federal deportation agent of the district.
           3. Aliens in population at large: These are handled exclusively by the
                 social service department and the Federal agent.
           4. State laws: Duties of State deportation agent transferred to depart-
                 ment of public welfare by section 53 of Civil Administrative Code.
                 These duties are to arrange for the deportation of alien inmates of
                 the State hospitals for the insane and other charitable Institutions
                 of the State. (See p. 43, General Information and Laws.)
           5. Statistical records: See the Institution Quarterly, Volume XV, No. 3,
                 September, 1924, page 197.
     C. Return of nonresidents:
           1. State laws: Gentlemen's agreement with many other States. System
                 of reciprocity which saves expense.
           2. If other States have no department of welfare or similar board, the
                 matter is taken up with the county judge, which method is usually
                 unsatisfactory.
           3. Statistical records: See page 197 of the Institution Quarterly for Sep-
                 tember, 1924.
     D. Criticisms: Habeas corpus proceedings interfere. Too much authority in
           hands of Secretary of Labor. Too many small politic!ans interfering wYith
           regular method ot deporting aliens.
                                       13.   INDIANA

     A. Authority: Board of State Charities; chief officer, J. A. Brown, secretary.
     B. Deportation of aliens:
            1. Initiative: State.
           2. Procedure: Institution reports case to board of State charities. Board
                 secures facts about alien's entry Into United States and reports to
                 United States official of the district.
           3. Aliens in population at large: Aliens reported to Federal authorities;
                 nonresidents returned by board.
           4. State laws: Acti of 1917, chapter 56, page 142.
           5. Statistical records: Number of persons deported or returned tinder the
                 law of 1917, 83.
     C. Return of nonresidents:
           1. State laws: Acts of 1917, chapter 56. Copy inclosed.
           2. Procedure: Invcstigation to determine legal settlement; correspondence
                 with public agency in other State; deportation by board of State
                 charities.
           3. Statistical records: 76 nonresidents returned. Names of receiving
                 States given.
     D. Criticisms: One year cdnstitutcs legs! residence in the State.
                                         14. IOWA

     A. Authority: No central bureau.
     B. Deportaiion of aliens: No State law on deportation.    When an alien prisoners
          term has expired, he is delivered to the United     States agent. Notice of
          warrant of deportation is filed with the warden     30 days before the date
           of release. Sentence is sometimes suspended to     effect deportation.
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                       EUGENICAL ASPECTS ,OF DEPORTATION

                                        IS. KANSAS

     A. Authority: State board of administration; chief officer, Mr. A. B. Carney,
           chairman.
     B. Deportation of aliens:
            1. Initiative: Federal.
           2. Procedure: Cmes that might be deportable are reported to United
                 States officials, who make the investigation. Soon after an alien's
                 arrival In the penitentiary, a questionnaire is filled out and sent to
                 the Federal authorities at Kansas City. Deportation is promptly
                 instituted In all cases found deportable.
           3. Aliens in population at large: Above procedure in all State Institutions.
                 Frequently State officials or peace officers report undesriable aliens
                 to United States authorities.
           4. State laws: None.
           5. Statistical records: None available.
     C. Return of nonresidents.
            1. State laws: The State tries to admit only citizens or at least legal
                 residents to its institutions. Nonresident Insane and public charges
                 are returned to an institution in their home State whenever possible.
           2. Procedure: Correspondence with institutions in the home State and
                 relatives of the dependent person.
           3. Statistical records: None avitable.
     D. Criticisms:
           1. Aliens should be cared for if only temporarily Incapacitated, but should
                 be deported if they are to be public charges permanently.
           2. Same as above.
           3. Larger appropriations for enforcing United States immigration laws.
                 Removal of statute of time limitations.
                                      15. KENTUCKY

     A. Authority: No central bureau for the deportation of aliens. State institu-
           tions are under the jurisdiction of the State board of charities and correc-
           tions, whose chief officer is Joseph P. Byers, commissioner of public
           institutions.
     B. Deportation of aliens:
           1. Initiative: State.
           2. Procedure: Superintendents of State institutions report to Department
                 of Labor all aliens committed to their institutions.
     C. Return of nonresidents:
           1. State laws: None.
           2. Procedure: Superintendents of institutions report to State board of
                 charities and corrections all patients who are not legal residents of
                 the State. The board communicates with authorities in the State
                 of which the patient Is a resident to arrange for his return. All
                 expenses of such returns are paid by the State of Kentucky.
                                      17. LOUISIANA
     A. Authority: None.
     B. Deportation of aliens:
           1. Initiative: Federal.
          2. Procedure: None by the State.
          4. State laws: None.
                                        18. MAINE

     A. Authority: No central bureau.
     B. Deportafion of aliens:
           1. Initiative: State.
          2. Procedure: State or local officials report alien paupers to United
                States officers, who do all in their power to deport them. The great
                majority of alien paupers belong In Canada, many of them having
                entered illegally.
          3. Aliens in population at large: No detailed procedure.
          4. State laws: None.
          S. Statistical records: None.
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     60.               EUGBNIOAL ASPBOTS OF DIPORTATION

     C. Return of nonresidents.
           1. State laws: Revised Statutes, chapter 29, section 40.
           2. Procedure: On complaint of overseer of poor, any Judge of municipal
                 or police court or trial justice ma b his warrant cause a nonresident
                 pauper to be removed from the State to the place where he belongs,
                 at the expense of the town removing him.
           3. Statistical records: None.
     D. Criticisms: Laws relating to admittance of aliens should be more rigid.
           Many are admitted who have no Intention of becoming good citizens,
           and many enter illegally.
                                        19. MARYLAND
     A. Authority: Supervisors of city charities, Baltimore; chief officer, Nathaniel:
           0. Grasty, secretary.
     B. Deportation of aliens:
           1. Initiative: State, through the above board.
           2. Procedure: Cases are referred to above board. If board determines.
                 that case is deportable, it is reported to commissioner of immigration.
           3. Aliens in population at large: Procedure same as above.
           4. State laws: NoJ$.
           5. Statistical records: None available.
     C. Return of nonresidents:
           1. State Laws: Baltimore has reciprocal agreements with a large number
                 of States governing the nonresident problem. Copy of these non-
                resident articles attached.
           2. Procedure: If investigation of supervisors shows a person to belong in
                 another State, and if permission can be secured, he is returned at the
                 expense of the supervisors.
           3. Statistical records: None available.
     D. Criticisms:
           1. Aliens not physically or mentally able to be self-supporting, and likely
                 to become a public charge, should be deported.
           2. A nonresident who becomes a public charge within one year after
                 arrival in the State should be returned to the State front which he
                 came.
           3. A Federal law governing all States "would be a boone to the whole
                 country."
                                     20., MASSACHUSETTS
     A. Authority:
          1. Department of public welfare; chiet officer, Richard K. Conant, com-
                missioner.
          2. Department of mental diseases; chief officer, Dr.'George M. Kline,
                commissioner.
          3. Department of correction; chief officer, Sanford Bates, commissioner.
     B. Deportation of aliens:
          1. Initiative: State.
          2. Procedure: History of each ease is taken and Form 534 (proof that
                alien has become public charge from causes existing prior to landing)
                is sent to the institution; also Form I stating that alien is held for-
                deportation. Form 534 filled out by hospital physician is returned
                to one of above departments, which sends it to the immigration
                commissioner at Boston. When Federal officers have arranged for
                deportation, written order for discharge of alien from institution is
                given to immigration commissioner by department concerned.
                   In practice the department of correction has an agreement with
                the commissioner at Boston whereby it reports all aliens committed
                to penal institutions, with all available data in regard to arrival,
                place and date of birth, parents, relatives in United States, etc.
                The department has no authority to pay the expense of deportation,
                so all arrangements for deportation snmust be left to immigration
                commissioner.
            3. Aliens in population at large: In case of families liable to he per-
                 mnanently dependent, the department of public welfare, in a letter
                 to the commissioner dlescribles family conditions, instead of filling
                 out inedical certificates. Otherwise procedure is the same.
            4. State lawq: (a) Criminals (ch. 127, sec. 114, general laws 1921); (b)
                 paupers (ch. 121, sec. 9, general laws, ch. 122, sec. 21, 22); (c) insane
                 (ch. 123, see. 20, getieral laws 1921, as aw*ndcd by cb. 245, actsof 1923).
            5. Statistical records: Figoires from department of Puulic welfare giv cin
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               EUGENIOAL ASPECTS OF DEPORTATION    61
    C. Return of nonresidents:
          1. State laws: (a) Criminels (oh. 127, sec. 114, general laws, 1921); (b)
                paupers (ch. 121, se. 9-11; oh. 122 teo 2oh          122 sec. 22); (c)
                Insane (oh. 123 sec. 20, as amended by Ah. W56, acts of I2).
          2. Procedure: (a) he department of public welfare Investigates each
                case brought to its attention, to establish legal residence in another
                State, and furnishes transportation, sending an attendant when
                necessary. Department is guided by transportation agreement of
                allied national agencies. (b) In cases where the department of
                mental diseases deports, the matter Is taken up with central board
                of receiving State. Form 3 Is sent to States having reciprocal agree-
                ment; otherwise letter describing case is sent.
          3. Statistical records: Figures supplied by department of public welfare.
    D. Criticisms:
          1. (a) Department of public welfare believes State has no moral or legal
                responsibility to care for unnaturalized aliens for any considerable
                period, especially if they are likely to become permanent public
                charges.
          2. In absence of uniform State laws, State departments should be author-
                ized by law to form agreements as to Interchange of public charges.
          3. Commissioner of immigration of each district should             power to
                                                                          yave
                issue warrants of arrest and deportation, except in appealed oases.
    E. Documents and records: Manual of laws, sample forms, etc., enclosed.
    F. Remarks: Cost of maintenance pending deportation proceedings should be
          borne by Federal Government. Rule 22, subdivision 11 of the Federal
          law is inoperative, because alien who is dependent from causes arising
          subsequent to entry will seldom give his consent to deportation.
                                      21. MICHIGAN
    A. Authority:
          1. Auditor general.
          2. State hospital commission, chief officer, Mare Murray, director.
    B. Deportation of aliens:
          1. Initiative: State.
          2. Procedure: Superintendent of institution reports to auditor general,
               who in turn reports to United States officials.
          3. Aliens in population at large: Reported to United States officials.
          4. State laws: Act No. 59 (public acts 1921); act No. 151 (public acts
                1923); act No. 72 (public acts 1907).
    C. Return of nonresidents:
          1. State laws: Same as above. Matter handled by reciprocal agreements.
          2. Procedure: If receiving state grants request to accept person, he Is
               returned at expense of State making return.
          3. Statistical records: None.
                                     22. MINNESOTA

    A. Authority: State board of control; chief officer, R. W. Wheelock, chairman.
    B. Deportation of aliens:
          1. Initiative: State.
          2. Procedure: Deportation agent of above board reports deportable aliens
               in insane hospitals to Federal deportation agent. Agents at penal
             Istitutionas report directly to Federal agent.
          3. Aliens in population at large: Reported to Federal agent by local
               authorities, chairty organizations, etc.
          5. Statistical records: Figures for 1923-24 inclosed.
    C. Return of nonresidents: 1. State laws: See. 4046 General Statutes, 1913.
                                     23. MISSISSIPPI

    A. Authority: No central bureau. Separate board for each institution.
    B. Deportation of aliens:
          1. Initiative: Federal.
          3. No information. White population is almost 100 per cent Anglo-
                Saxon.
          5. Statistical records: None.
    C. Retsirn of nonresidents: 3. Statistical records: None.
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        62       EUGENIOAL-ASPEOTS OF DEPORTATION

                                        25.   MONTANA

       A. Authority: No central board.
       B. Deportation of aHens:
             1. Initiativ6: Federal.
             2. Procedure: United States agent notifies warden of prison whenever an
                  alien Inmate is wanted for deportation. Alien is discharged on con-
                  dition that he be deported.
             3. Aliens in population at large: No central board to deport aliens at
                  large.
             5. Stati tical records: None.
       0. Return of nonresident:
             2. Procedure: Superintendent of State hospital for the Insane makes a
                  recommendation to the board of commissioners for the insane for the
                  discharge of any Inmate who has not resided In the State for one year.
                                        20. NEBRASKA
       A. Authority: State board of control. Chief officer: A. E. Allyn.
       B. Deportation of aliens:
             1. Initiative: State.
             2. Procedure: Guardian appointed by proper court procedure, and case
                  reported to district director of immigration.
             3. Aliens in population at large: Reported to district director.
             4. State laws: Copy of law enclosed.
       C. Return of nonresidents: Matters handled by various county boards or com-
             missions.
                                        24.   3ISSOUR!
       A. Authority: None.
       B. Deportation of aliens: No State laws or procedure pertaining to this subject.
                                         27. NEVADA

      A. Authority: No central bureau.
      B. Deportation oraliens:
          1. Initiative: State.
            2. Procedure: Upon red)ort of warden of State prison, board of parole
                  commissioners orders alien surrendered to United States officials
                  when called for.
            3. Aliens in population at large: No such activity.
            4. State laws: None.
            5. Statistical records: None.
      C. Return of nonresidents:
            1. State laws: Revised laws of Nevada, 1912 (Vols. I and 11); revised
                  laws of Nevada, 1919 (Vol. III).
            2. Procedure: When a mutual agreement can be made with the State in
                  which the alien has legal residence, he is returned under contract
                  drawn up by superintendent of institution and confirmed by its
                  governing board.
            3. Statistical records: See biennial report of superintendent of Nevada
                   Hospital for Mental Diseases.
      D. Criticisms:
            1. Prior criminal record; conviction for crime here; prior record of pauper-
                  ism or abandonment of familv elsewhere on the one hand. Om the
                  other hand, evident misfortune sustained here.
            2. Cases of dependency, especially with criminal tendencies, should be
                  returned to original community legally charged with their care and
                  supervision.
            3. There should be appropriations for this work available all the year
                  around.
                                       2). NEW JERSEY
      A. Authority: Department of institutions and agencies. Chief officer: Burdette
           G. Lewis, conimissioner.
      B. Deportation of aliens.:
            1. Initiative: State.
            2. Procedure: Department obtains information as to date and port of
                  landing, and name of steamship, and forwards it to institutions where
                  alien is confined. The superintendent then fills out medical certifi-
                  cates and sends them to the Fcderal authorities.
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               EUGENIOAL ASPECTS OF DEPORTATION     63
    C. Return of nonresidents:
           1. State laws: Section 424-425 chapter 147 laws of 1918.
          2. Procedure: Facts in regard to nonresidents are collected and sin-
                mitted to hospital commission or some other board it State where
                patient is supposed to have legal residence. If return is authorized
                patient is sent back at expense of the State of New Jersey.
    D. Criticisms: 3. Psychological examinations should be given in all cases.
                                 28.   NEW HAMPSHIRE

    A. Authority: State board of charities and correction; chief officer, Win. J.
          Ahern secretary.
    B. Deportation of aliens:
          1. Initiative: State.
          2. Procedure: Cases are referred to Federal authorities by anyone inter-
               ested, usually trustees of an institution or State board of charities
               and correction.
    C. Return of nonresidents:
          1. State laws: No definite regulations. Each case settled by agreement.
          2. Procedure: Trustees of State Hospital for Insane have reciprocal agree-
               ment with Mai'sachusetts and several other States whereby persons
               becoming insane within two years after entering the State may be
               transferred from an institution in that State to an institution in the
               State from which they came. Feeble-minded persons may also be
               removed from the State within two years after arrival. Trustees of
               New Hampshire State Hospital act as a board of lunacy in making
               agreements.
                                       30. NEW MEXICO

    A. Authority: No central board.
    B. Deportation of aliens:
           1. Initiative: Usually Federal.
          2. Procedure: Immigration officer makes periodical visits to State peni-
                tentiary, interviews prospects and files notice of intention to deport
                with officers of penitentiary.
          3. Aliens in population at large: Handled by Federal authorities.
          5. Statisticalrecords: None.
    C. Return of nonresidents:
          1. State laws: None.
          3. Statistical records: None.
    D. Criticisms: Present Federal and State laws seem adequate.
                                         31. NEW YORK

    A. Authority: No central board. (See 1919 report of bureau of deportation,
         p. 9.)
    B. Deportation of aliens:
           1. Initiative: State.
          2. Procedure: Landing is verified; Form 534 is issued; clinical and medical
                history" secured and issued with Form 634; request for warrant of
                arrest is made.
          3. Aliens in population at large: No knowledge of any such procedure.
          4. State laws: Insanity law (Art. I, see. 19).
          5. Statistical records: None.
    C. Return of nonresidents:
           1. State laws: Insanity law (Art. II, see. 19).
          2. Procedure: Case is submitted to State or local officials or relatives or
                friends, and upon acceptance the nonresident is returned to the
                institution or individual designated.
          3. Statistical records: None available.
    D. Criticisms:
          1. An alien who is a public charge or who belongs to an excluded claw,
                whether or not he is a public charge, and irrespective of the time he
                has been in the United States, should be liable to deportation.
          2. "The right to legal settlement should be acquired and lost In the same
                manner as is the right of franchise and should be modified only on
                humanitarian grounds and then only on acceptance of responsibility
                by the State of which the patient is a legal resident."
          89604--28-5
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       64       EIIPIUNMi(AIj ASIi'EOTS O 1i
                                          iPORlTATION

     D. Criticisnis- Continued.
            3. Modification of Federal law Indicated under "1" above. No Federal
                law 8hoilh( be 1mad to interfere with State rights as to cltizenship.

                                     32. NORTH    CAROLINA

     A. Aiithorlty: No central bureau.
     II. )eportation of allens:
            I. Initiative: State.
            2. Procedure: If an alieni is found to be insane, the clerk of the court
                  notlilcs the governor of naio of sich allied and as iany facts aliout
                  the clie its posille, seidilg also a copy of the exaiiiation taken.
                  The governor senis tils Information to the Secretary of State in
                   Iaslilngtoni, requesting him to inform the iiister resident or
                  plenipotentiary of tile Ocoitry of vich the insane person Is citizen.
            3. State laws: C. 8., sectlion 0211.
     C. ihttlirn of ionresilents:
             1. State laws: C. S., section 6210.
            2. Proceduhre: If a ionresident is found to 1e Insane, tile clerk of cotlrt
                  notifles the governor of the State of which hiv is a citizen of the facts
                  in thi case. Meanwhile th lisano person is c, ifiiied within the
                  colinty, but liot conniitted to a Stato hospital. If the homn1.    State
                  does not provide for Ills retirn, th county coinissioners tirn hin
                  over to tie sheriff of lls home county or the suiporintuident of a
                  State hospital, the county removing him bearing the e'xpeise.
                                     (33.   NORTHi DAKOTA

     A. Authority: State board of administration; chief officer, It. H1. Murphy,
          chairman.
     I. IDeportation if aliens:
           I. Initiative: State.
           2. Procedure: If a deportablo alien iinate of an istitiltoin was it re-iflelit
                 of another State before entering thi institiution, that State is notilied
                  ali(1 alien0 transferred there. Completion of deportation takes
                  lilace from that State.
           3. Alinm in population at large: Same procedlire as "2," above, except
                  that case is presedel to the Federal court.
           4. State laws: No dclhito law.
           5. Statistical records: None.
     C. Return ofil lolrelhlenlts:
           2. Procedure: Each case is tirought to attention of alithoritil of State of
                  which patient Is a resident. If tile facts give are accepted as con-
                  chlsve evidence, deportation takes place. Iiiiilgration conilnis-
                  sionir (fillinK out schedule) believes exceptions can be lade ill
                  many cases without injury to the State.
           3. Statistical records: None.
     D. Criticisms:
            1. Iltgl Inspection at port of arrival. "Better eliminate where they
                  live than attenipt to ferret them out after arrival here."
           2. State should approach coach caso without prejdice, alld after coilsi-
                  ering rights of allen sad people as a whole, (10 what seems best for
                  all colncerled.
            3. Better nnidl more easily interpreted laws, and lil efficient orgaizatioin
                  to enforce them.
                                             34. 01110

      A. AUthority: l)epartmuent of iblic welfare; chief officer, J. E. hlarper, director.
      II. h)eportation of aliens:
             I. Initiative: State.
             2. Procedure: Aliens thought to lie deportable are reported to district
                   immigration officer.
            3. Alies i i ppilation at largo: No State provision.       reported by local
                  oflicinal to Federal authorities.
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              EUOBNIOAL ASPHOT8 OF DEPORTATION     65
    C.   return of nonresident:
            1. State laws: Revised Statutes, sections 1817-1820, inclusive.
           2. Procedure: Nonresidents are not admitted to State institutions except
                 in special cases. Application for admission Is made to the judge
                 of probato court or superintendent of the institution, who makes an
                 investigation to establish the legal residence of the patient. These
                 findigs are reported to the Ohio board of administration. Judge
                 or superintendent may recommend to board that patient be admitted
                 even though a nonresident, and board further Investigates and
                 decides on the case.
           3. Statistical records: See figures enclosed.
    D. Critleismns:
           1. The only type of alien public charge for whom we have legal or moral
                 responsibility 18 one who has declared his intention of becoming a
                 citizen, and who is dependent from causes arising since admison
                 to the united States.
           2. Onily thoso who came to the State intending to make it their permanent
                 hlorae, and whose insanity began during residence there, should be
                 cared for.
           3. Undesirable aliens should be deported, irrespective of the time they
                 have been it the UnitLd Statep.
                                       88. ORE(JON

    A. Authority: Oregon State board of control; chief officer, Carle Abrams, sec
          retarv.
    I. Deportation of aliens:
          I. Initiative: State.
          2. Procedure: State board of control reports all cases found to the Federal
               Innnigration agent at Portland, who arranges for their deportation.
          3. Aliens in population at large: State board of control reports all came
               to the lioderal Immigration agent at Portland, who arranges for their
                ieportation.
          4. State laws: Chapter 210, general laws of Oregon, 1921; chapter 218,
               general laws of Oregon, 1925.
    C. Return of nonresidents:
          1. State laws: Chapter 216, general laws of Oregon, 1021.
          2. Procedure: Reciprocal agreements exist with other States for the
               inutual exchange of public charges from one State to the State
               where they have legal residence. Two years' residence in the State
               constitute legal settlement.
          3. Sta.o records: None supplied.
                                      33. OKLAlHOMA

    A. Auithority: State oard of public affairs; chief officer, Carl L. Rice, chairman.
    1. l)eportation of aliens:
           1. Iitintive: Federal.
          2. 1rocedoire: None except through Federal Government.
          4. 5. N. laws or statistics.
    C. Return of niresiedets: No laws or procedure on this subject.
                                    $7. P'NN.YLVANIA

    A. Authority: No central office.
    I. Deporlatiol if alicils:
          1. Initiative: State, occasionally through pardon board.
         2. lProvdchre: Pardon hoard aid penitentiary authorities cooperate with
               Federal department to bring about deportation of criminal alien..
                 An applicationi for pardon is mado to the pardon Ioard and is granted
                 oil condition n that Fcderal authorities insure fiis deportation inmme-
                 diately uinon release.
           :1. Aliens In population at large: No procedure.
           .1. State laws: None.
           5. Statistical records: No records of deportation.
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       66       EUGENICAL ASPECTS OF DEPORTATION

      C. Return of nonresidents:
            1. State laws: There is an arrangement by comity between Pennsylvania
                  and adjoining States whereby citizens of'other States found in
                  Pennsylvania insane asylums are transferred to the States of which
                  they at. citizens.
            2. Procedure: Departmenkt of welfare cooperates with similar depart-
                  ments in adjoining States to effect return of insane persons to the
                  institutions of the State of which they are citizens.
            3. Statistical records: No records. Very: few instances of interstate
                  deportation.
      D. Criticisms:
            1.Pennsylvania desires to have alien public charges deported whenever
                  Federal laws permit but has not attempted to work out the problem.
            2. Pennsylvanir is willing to receive Pennsylvania citizens who have
                  become dependent and to send back noniresident public charges to
                  other States but has not been able to work out atneconomical system.
                                    39. SOUTH CAROLINA
      A. Authority: None.
      B. Deportation of aliens: No law, procedure or statistics on this subject.
      C. Return of nonresidents: State laws: Removal of insane persons, section
            5086, vol. 3, Code of 1925.
                                      40. SOUTH DAKuTA

      A. Authority: State board of charities and correction; chief officer, Charles M.
            Dry, president (?).
      B. Deportation of aliens:
            1. Initiative: State.
            2. Procedure: Federal authorities attend to such cases when requested to
                 do so by State officials.
            3. Aliens in population at large: If not a Federal case, "we run them out."
            4. State laws: None.
            5.Statistical records: Figures sent with second report.
      C. Return of nonresidents:
            1. State laws: None.
            2. Procedure: Chief deportees are itinerants who seek aid from the town
                 or county. If possible their return is arranged by negotiation;
                 otherwise their fare is paid and they are sent on their way. How-
                 ever, instances are rare.
            3. Statistical records: None.
                                          42. TEXAS
      A. Authority: None.
      B. Deportation of aliens: No State laws in regard to deportation of aliens or
            return of nonresidents to other States, and to organized efforts to bring
            about such returns. This work is carried on to a very limited extent by
            charitable organizations.
                                          43.   UTAH
      A. Authority: None.
      B. Deportationt of aliens:
            1. Initiative: State in insane cases; Federal in prison, cases.
            2. Procedure: Superintendent of State Mental Hospital reports insane
                  cases to Federal inspector, and ie comes and checks ove:" records
                  with superintendent.     Inspector visits Utah Sta!e prison periodic-
                  ally and prison officials cooperate with Itit in bringing about depor-
                  tation.
            3. Aliens in population at large: Inmigration inspector arranges for de-
                  portation of all aliens reported to hint by institutions. Sonic coun-
                  ties are very indifferent to the subject, probably through ignorance.
           4. State laws: None.
            5.Statistical records: Perhaps they would be available for the Utah
                  subdivision at the main office at Denver.
      C. Return of nonresidents: Salt Lake County, one-third of the State's polla-
            tion, investigates all Cases of persons applvinig for charitable; medical or
            hospital aid, and reports deportable ca.scs to inspector. County official
            welfare worker often scturcs aid of relatives in deportation. Statistical
            records of deportationt might be obtained front the Denver office.
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                        XUGENICAL ASPECTS OF DEPORTATION                              07
                                            44.   VFRMONT

     A. Authority: No central bureau.
     B. Deportafion of aliens:
           1. Initiative: State.
           2. Procedure: About the only eases that come lip are those of aliens
                committed to State prison. The superintendent of the prison makes
                arrangements with the Federal authorities to have the prisoner de-
                ported upon his release.
           4. State laws: None.
     C. Return of nonresident: State laws: Reciprocal agreements with several
           States whereby insane persons committed to State hubpitals are exchanged.
                                            45. VIRGINIA

        No provision by law for deportation of aliens, and while there is a provision
     for returning nonresident insane and other dependents, this provision is rarely
     acted upon.
                                      46.     WASHINGTON

     A. Authority: Department of business control; chief officer: W. J. Hays, director.
     B. Deportation of aliens:
            1. Initiative: State.
           2. Procedure: Inclosed form 1015 is filled out when patient enters hos-
                 pital for insane, and is sent to State deportation agent. Request
                 for verification of landing then sent to district immigration com-
                 missioner, followed by medical certificate of physician in charge of
                 patient, on which warrant is based.
           3. Aliens in population at large: No provision in State laws.
           4. State laws: Chapter 82 (laws of 1915); chapter 158 (laws of 1921);
                 chapter 100 (laws of 1923).
           5. Statistical records: Figures inclosed covering period from September,
                  1919, to September, 4924. Biennial report of above department also.
     C. Return of nonresidents:
            1. State laws: Chapter 15S, sessions laws of 1021, provides for return of
                 nonresident insane inmates of State hospitals, bitt does not provide
                 for social inadequates at large.
           2. Procedure: Correspondenet with friends and relatives to establish
                 legal residence; then person is returned to relatives or county sheriff.
                 Copy of reciprocal agreements with New York, California, and Oregon
                 inclosed.
           3. Statistical records: Figures given from September, 1919, to September,
                 1924. Very little was accomplished prior to 1919 when the first
                 State deportation agent was appointed.
     D. Criticisms:
           1. All aliens of excluded classes should be deported without time limitation
                 by the agency which admitted them, the Federal Government.
           2. Legal residents of other States should be returned when they become
                 p)blic charges.
           3. Time limitation should be removed from Federal law. The law would
                 be strengthened if recommendations of interstate conference on
                 immigration (New York, October, 1923) were adopted. There
                 should be a uniform law il all States to permit reciprocal agreements.
     E. Documents and records: Forms, biennial reports, tables, etc., sent.
     F. Remarks: The State Department must take action if Federal laws are to be
           inforced. Lack of passport from foreign consul is greatest obstacle to
           deportation.
                                   47. WEST VIRGINIA

     A. Authority: State board of control; chief officer, James S. Lakin, president.
     B. Deportation of aliens:
           1. Initiative: Slate.
          2. Procedure: State board of control reports cases to Federal service at
                Pittsburgh, Pa., and deportation is executed by Federal Govern-
                ment. No fixed procedure.
          3. Aliens i population at large: No knowledge of any such procedure.
           4. State laws: Section 27, chapter 58, Barnes's Code of 1923.
          5. Statistical records: None available.
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     68                EUGENICAL ASPECTS OF DEPORTATtON

     C. Return of nonresidents.
           1. State laws: Section 27, chapter 58, acts of 1921. Copy enclosed.
           2. Procedure: Board secures permission to return patient to State of legal
                residence by corresponding with authorities in that State.
           3. Statistical records: None available.
                                         48. WISCONSIN

     A. Authority: State board of control; chief officer, Dr. Vrn. F. Lorenz, president.
     B. Deportation of aliens:
           1. Initiative: Both State and Federal.
           2. Procedure: Federal Government files request with institutions and takes
                charge at expiration of time.
           3. Ailens in population at large: Procedure suggested )y United States
                 Department of Labor.
           4. State laws: None.
           5.Statistical records: See Chicago office of United States Department of
                Labor.
     C. Return of nonresidents:
           1. State laws: No rules. Each case handled under general administration.
           2. Procedure: No such practice. Occasionally an insane patient is trans-
                ferred by request to another State.
                                         49. WYOMINO
     A. Authority: State board of charities and reform, chief officer: Governor
          Nellie 1'. Iossi, president.
     B. Deportation of aliens:
          I. Initiative: State.
          2. Procedure: If aliens are found in the State penitentiary, the Federal
                officer at Denver is notified and he attends to their deportation.
           3. Aliens in population at large: Th,,se are rarely, if c-vtr, deportld.
           4. State laws: None.
     C. Return of nonresidents:
            1. Procedure: When tire snilerintendent of tie hospital for insane finds
                 Itnonresident in th e istitut ion, lie conuniicates with authorities
                 in the patient's home State and lie is returned at the expense of the
                 State of Wvoming.
            2. Statistical records: Figures given for 1923-24.


                                         A PI-EN'IIx5


     REPORT OF THE. M:beAl, E'XA.IINEn OF Till N'EW YORK STATE: Br-nEAU OF
       SPECIAL EX.XMrNATON's, FOR TIlE YEAR ENDING .JINE 30, 1925, PREPARED
       BY Spip.xnEcs L. DAWES, M. )., MEDICAL EXAMINER

                       ANNUAL     REPORT OF TIlE MEDICAL EXAMINER

     To the State hospital commission:
        The medical examiner respectfully submits herewith the annual report of the
     bureau of special examination, State hospital commission, for the fiscal year
     ending June 30, 1925.
        During the fiscal year this office Inns investigated 2,123 cases, and from this
     number we have certified to the Federal autllorities 400 aliens, as public charges,
     insane from causes not aftirmativelv shown to have risen subsequent to landing
     an increase from the previous year of 8S. "l'hi%is the largest number certified
     by this office in many years. As a matter of fact, there Inns been a steady rise
     in the number of certificates issued ever since tine adoption of what is known as
     the "quota" law. Logically either the character of aliens coming into this
     country since 1919 is distinctly inferior, or else the inspection and examination
     at ports of entry is less adequate than ever before. Tine actual number deported
     in the past liscal year was 24 1. 30 less than were deported the previous year arid
     159 less than the mmlber certified )y ns. Stirely if this department with its
     woefully inadequate force can certify 100 aliens, the Federal Government should
     he atle'to remove more than 2.11 in the same period.
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               RUOENIOAL ASPEOTB OF DEPORTATION      69
        .Acomparative table of certifications and deportations for seven fiscal years in
     succession follows:


                                                                              Year                     --                        (erlifl-
                                                                                                                                   'ates         I

     19                   ..............................................................................         S7
     1929 .................................................................................              :S7    147
     19r1------------------------------------------------------------------------------
     1921 .................................................................................               1l293
                                                                                                           MAP  l7;"

     19"23............................................................................                                                  4(t)12       271



        This serves to emphasize the statements just made.
        The diflicultics in -ecuring passports have not lesset'ned, hut have rather Ieen
     increased. As t master of fact, the attitude of lhe Polish and G(irnil (OV-
     erninents is so unfriendly as to make it practically iseless to apply for pas-
     ports. On the other hand, the attitude of mo1(1st           olier goveniienls is dis-
     tiactly friendly, and the aid s1l(d courtesy granted the State by tle majority of
     them, iliotaely treat lritait, Italy, and France, is morly of coumiient.
        There hav', bCen relatriatecl 212 alitns without expense to the Federal Gov-
     ernmentt, almost as mnliy is thlit Uovernment lelorted. Most of these should
     never have been ,i'ilitled to this 'oiniitry alid practically all should have been
     sent bI:tck inelr Feltrzd warl'ltit hi.1 tie illtit of IhN inliligiatill Mt hei   ia
     observed. Of tliese o repatriated(1, 135 were sent at the expese (if friends and
     relatives. In this latter class we siow alt increase of 5S liver tie pr'ccdinii year.
        Oir dillicuilties in the reiioval of titliresideli's ar ,;till increasing \iltng to
     the: rulings. of the courts is to legal rcsilette:en , (olilielling the Slate il iny
     instaices to carte for ainl sullport hidlvidudls                                                       oli have   iel   i   flih       State litt
     a few (lays or a few weeks,, manifestlyunfair and illogial situatioit. Of noirei-
     deInts remiiovel we have a total of 67(i.       Of these. 462, or lwore than I wo-thirdls,
     wetre ren ived wit liit    ciot of :tily kind tee the State.
        If we s51ill) the total removed frolic h State. of relpatri:itc. and liioiresieiih
     at the exlCtipe cof friends tind relatives, we ee that it aionits to 59i7. and inannch
     as the average cost (of removal froml                                               the Stateisi about $IM3. thi. otlict' ws rc.poii-
     siblo for a saving hi this respect to the State of $61,491.
         If we refer to Table 2 it will b seCi that 250 latieits were removed directly
     from Belleveii and King's County Ilospital, observation ward., without previous
     cotmitm ent it) one of our Stateinst ititutions. a great saviiig in cost anlid Ilabor to
     the State tld the municipality, to may nothing of the delay incident to the renloval
     of a patied          1ilce colnittCd.    Tle Veterai'        ltrtau -till cooperates imost
     heartily with this olfice. a- miiay he seen by referring to the sanme table and iiotilig
     the fact that 77 patient, were removed from Veterans' hireil llo.,pital No. S1.
     The Veterims' Bureau still reports all ioitresident ca.ws to this lureau fe'r oir
     alproval before removal to or acceptance front other States; and we still report
     all ex-soldier eases. to then before reitoval.
         'Tlit total retllovals elriig the year were 1,129,
                                                          •
                                                                  or 37 less thani lie year pre-
     cedig. This slight decrease maiy lb,' wol              ait rilitCd to tlit' fal that eally
     ill the l1o4ntilh (of July lhe ftlll],d niqropriate biy tIIn legislature for lt-'latriatioli
     and trasffer, wer' enltirely exhaiisted. and for a lrgelpart' tif flh nliith of .1liec
     no reiioval . wert imiade at thee expenllse (if tlip State. As a nlat, r cef f:ct, mithill
     certain iund tiheinmumnbtr of removals i, prat't i('tilly lihiild         to the aitoliat of
     irniV Willaethtl ollice f r t' avaihlathle, a11el it weeilih se  se,'lll ithit  Wib., ,e.tllliltii(
    viewpiint on!lit phe hart eef t lie giN'at miti,woiili liersiltl       the tli give mis a giet cir
    :ipprejiri:itimii nol a larger milkiig fierce.
       It is a fact thatt f lip per (lilta    cost ofl ,'art', Iliiiqiiniten le, alid ill)-ktclvp of a
    patieit in lcet' of tilr Sllate hit.pilals is about ,12l 5 per yvar. It i.s Ihirefore
     pllrely i tmatter of arilliliiel h' to know that ir 1,129 rvimiutals diiiiuigl I, '(all
     represi'it a gros.s saviiig to tiht' State if New York for oletl*%-4
                                                                       am'allte f . 4i.N25.
    The entire cost of adimiiii.stratimn of this 0lhite, %lhie'hi ilit'iitdlo.       t t11
                                                                                         eilv .ilaricv.
     ill retll, tIrailspll latiil., and iliidentiitil., is, minih'r .1,i.I, a teit 'avilig 1to tile
    State thitliigh the eepe'ralihenS of tO  t liprti      ofills  .ial exfjViiiaeiie foor theWti-.l
    year eui ineg .hlimp 30, 1925, (if $112,,S25.
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       70       EUGENICAL ASPECTS OF DEPORTATION

                 IHELATIONS TO THE FEDERAL GOVERNMENT, TO OTIER STATES
         Our relations with the local government official. continues to be miost i)lea-a t,
     esl)ecially with the Comnni"sioner of Immigration for Ellis Island. and there
     cal lie i1to averse ctiticisin as to their attitude. On the contrary, the allititle
     of the Federal Gloverilment, as represented ht- lite Deparl nwt eof Labor in Wa.l-
     iligtoll is so arbitarvM. 1itijiust, al uifair as to uuake iluia.ed comment alint
     impossible. The Departienit of Labor continues til cancel warrant., (if arrest
     without voichsafing reasons. or giving anything but ex parte leearitig.4 to the
     intere.tei aliens. More warrants of arre.-t and i.arrUnts of deportation hlave
     been (anceled by thle Department of Labor (during the past fiscal year tli ever
     since recoris ha-e Ie'ei kept by the State of New York.
        The great majority of these 'a.ses appear Ul1)m tle records as clearly within
     the intent of the law, and only the deci-ion of the Secretary of Loalor i, re.%poi-
     silble-o far as ti(t. State of New York is aware- for retaining their in the miuntry
     anl(i to cotravciiri.ig the- iitelit of tit(. slatiite it the latter (if these iuide~.irailte
     aliens.
        The media: exuneiler visited Great Britain during the niolth 44 Jily wid was
     there accorded e-ery facility for making inspections and exainatio01s by the
     American cOislils gci:eral at" Liverioeil anl Londoi and hy lhe tOt.           isi at Soutli-
     aijitolti.  lie was also assisted in his investigations by tle White 'tar Line anl
     the ('eimard Line. lie fould that the so-called examination abload (the i)as-
     Vort regeltiiens instituted itiler the. new immigration act by the Secretary of
      Labor anld relating to visas for immniigrants) were evenly less efTfctial and prac-
     tical, and more annoying and troidilcsure than it lad been believed they could lie.
        The prospective ininigrant umeust appear lfore the consul general and aeiwer
     a serie- of quesitiois stat ig that hIe is neither an imbecile, idiot, elileptic, mnelital
     defective, or all insane person; that ie is not afflicted with constitutional ps)-y,
     pathic inferiority, and very many and various other questions whih it actually
     takes him over a half lifour to answer, with the reliresentative if the consul
     working at top speed. lie of course does not know the Iumeaning oi l ro. of these
     terms, if any of them. ito is it believed lie would answer them c, rre(tly if lie did.
     lie swears to the fact that they are correct, and yet there i io penalty fixed
     wiich can Ile elforec(.
        This procedure inust be carried out, even for babes in arns, so that the only
     practical advantage accruing from this procedure would seei to be giving cxtra
     work to the already overworked consular staff. The law, of course, provides
     for the i.si-ileo of a medical certificate bky sonie phyician to be attached to the
     aJ)plication for a visa, bitt does liot provide that it shall lie true, nor do(. it
     specify t:e kind, character, or official position (if ally) of the physicial.               It is
     plain to see that the alien may employ any physician, and if his first certificate
     does not please iim, lie may discard it and employ others until lie find-; one
     whose certificate does siit.
        The medical exaiier       has lid two liearing. mnost helpful and cotirteotls. froin
     tile House Committee ol Immigration and Naturalization, and has aided in
     forniulating niew legislation which passed the last House of UIel)renenlatives ani
     will undoubtedly I)M", both houses of the coining Congress.              Several important
     changes are likely to occur in the iiew immigration act bearing upon time of
     deportation and the elimination of the question of Iloblic charge-, as well a
     ser ing 1marants of arre.,t by the local imnnigration ofli ers.
        The medical examiner has delivered niy                addresses regarding ilnnligration
     in various parts of the country and believes that sentinient in general is in line
     with the inodificatione in the imnigration laws which were adopted bey the
     interstate conference oil inimirgation held under the auspices of the State hospital
     conmission ili 19'13.
        In the last report of tle medical examiner, the following reconmmen:idation was
     made:
         -As the courts have recently held that legal residence (and thus legal settle-
      ment) in New York is oiie of intent, so that a resident of another State may ac-
     qiuire a legal residence in New York over night, the medical examiner suggests
     that the coniii.sioii secure a ciance ill tile law which will providee that legal
     residence iay he had ill -New York ill the saito manner as is thee right to vote
     in this State."
        As far as I ai aware. ito steps were taken in this respect; the mcdicol examiner
     therefore oiice more iirves tlis recommendations to (ie attention of the State
      hospital coninii.sion. all of which i- respectfully subitted.
                                                                 $m't;':l     Il.l).wr:
                                                                          .l1,,'Ike!             r,
                                                                                       I",.imijp,yf.
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                                              EGENICAL ASPECTS OF DEPORTATION

                       TABLE I.--MoldY ncord of reinoras, ycar ns:fkd Jume 30, 1925



                                                                                                                                     1                    d


     Aliens deirted and repatriated:                                                                                                                                      1
     *  Ileprted under Federal warrant ........    211   1                                              14 1l                31t 17          23           24        1. '0)             It11,                 14
        lepatriated--
            Expenre of State .....................  7715                                                Il           2  8I 3                    2          3          3        27' 2               2          9
             -xpen.se of friend ------------------- 15j 12                                               9           8 18IS I                             l          t4        12  8              1$         14
     Nonre'ident s removed:
        Exjense of State ........................  211 16                                               16 IS 1IS 21                            19        -5) 9 .32                    20 12  13
        Erense of friend; ....................... 4E2 1f6                                               41 .1) 31 ,45                            r        25 24 S                      () 4,% 71
                 Total        .....-----------------------                   1. 129        70        91         C9 t(Y) 1031 75                           N-2 GI 19 104                            3.5 121
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     ('sinvesgte,..........................                       2.123 :190 119 150 tI 119 162 179 112 27123) 141
                                                                                                                t213


                TABnL1. 2.-Paticnts                   armored from State hospitals and other intilutions

                                                                      Aliens deported and repatriated                                               J Nonresidents returned


                 State !iospit1I4                  Grand
                                                   total                              states                                      Expense
                                                                    Totajl          Tlimn-   Vsiense
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     1)annemora ................                                               3 .........                                                                        12                   2       .....
     (;       nl ....................                                         11       3;                                  2          ,
      larlem V'alley ..............                             .........          .........             .........               .......        .
                                                                                                                                                                  4'1                 21                     273
     Htudson Itiver ................                                         13                 10         2    2
     King., Park .................                                           37                 2.',       5    7
       1anlwtltan Sltile hlospital-.                                        1"6
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     St. Io'\urcnte .................                                                                                                                               *;                 2aq                       33
     Utica ........................                                           N                                            1,               2
                                                                              1                     2
     W ilIrd ......................                                                                                                                            :211                   ,31                   175
     Belle%?w               -..................                              30                          -                --     -          23
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             Total..................       ,13                              43                 21                         7;,              l:Z.                6;                     214                   462



     ('crlirirtt.sis  cd by the State hospital commi.n-sios and #Ili(n juit~t.S dpotI'lfroi
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           this State by the Unitnd Statc. Government in thc ix't,     yc,ars 199-1926



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     Julie -'/, t05 ..................                    I;                       117         Juie 30, 1424 ...........                                                                   1                7
     Julile :. V4,
                1121 ..................                    E6                     :pyj         Jit n 3. 1n2 .............                                                         I'0!                      211
     h lll       €22 ------------------                   -%a                      172         D1ec. 31, 1U9- I............                               ....                    215:                      124


          I f, montlhs.
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     12                      EUGENICAL ASPECTS OF DEPORTATION

                                                      APPENDIX 6
     DEPORTATION          OF ALIENS       AND    RETURN        OF    CITIZENS TO OTHER                STATES,     BY
           CLASSES OF SOCIAL INADEOUACY.                      Suuvr< ENDING JANUARY 1, 1923
     (Hitherto unpublished findings of a preliminary investigation on deportation
       made for the Committee on Immigration and*Naturalization of the house of
       Representatives, by 11. 1I.Laughlin)

     TABLE A.-Institutional findings on internationaldeportation awl infkrtate return
       of socially inadequate inmates. Reported by 667 institutions with a total of
       4.51,0.48 inmates, in a surrey enrling January 1, 1923

                                                                                                          'Citizens
                                   Num-            Aliens de-           Citi-                          returrteaeto
                                        (f Total
                                        of          portable         returnable to          le s        rstiv
          ('iat Of institution     irz-t- nurnter                    ohtm,tates                         r
                                  lutions
                                  repo~rt- ofin.
                                           maltes Now-
                                     ing                  Per        Num-     Per    Num-,' Per        Num- Ver
                                                        icr   celt    ber    cent     1wr     (trit     tr      cent


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                                                         1\0t.a,     13  0.4        7          2.52     174      0.5,
     Ins4ue ............... .        jfk   .2...   J '. f 1.11       .    .I, 7, 1137               t,,76- I 6.45
                                                                                               l6,.i.'
     Criminalistie adults ........ II". Wo2:3 I, ltJ 9.741          21.   .. 4 1 ,M           15. 2       .tA; j    .,4
     Crialinalistt-e juvenil-s .....  N   ?Z :,!If      .    ..36   2W,   .A40     2,1-        1.12      1,452j 7.  W
     Elpifelli.s.................. 12       9. 41J      S   i. it;    2   .Xt       I                 I      1N    .27"
     Tuliercuto; ............... 71        11,91        4U 2. a)      3   .03     lm-          5w)I           7    .07
     leprou             -
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     JBlind ...................... -    ,   5,9,71  .......
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       3 These are the total nunters, tcr     given Is)the itcstitutrnil authorities as living bc-en deported from
     the  s clnning
       I Tol'o      of,leirtation;.
               i lntar                 from
                        t(tiirnle'I fr'm     the several
                                          k-,ginniu;g      instiltutiow.
                                                      of s-Uch               Jan. 1.l,192-1.
                                                                           t,hoi~
                                                                 rtulrnls to          192..
        IDuring th'- ijtr:'.'l ofthe :Urve) (1IJ22) the nuinlier of in-itntions vtrie,lightly from time to time


                                                 FEEBLE-.MINDED

        Total zmmtber of institutions: 52.
        Number of institutions reporting: 49.
        Total number of minutes reported: 3S,036.
        Nativity: Native born,. 82.72 per cmt; foreign born, 5.31 per cent; itikuown,
     11.97 per ccitt.
        Ntiber of aliens deportable: 4.
        Number returnable to other States: 13.
        Historical notes: (1) Xtiwber of feeble-mtinded aliens reported by -19 institu-
     tions as having been deported since the establishment of tie institutions, by
     States: Iowa. 1;Massachusetts,    31; New York, IS; North Dakota, 1; Virginia, 3;
     Wyoming. 3; total, .57. (2 ) Feeble-minded residents of other Statei returned
     by thee .19 instittiltons to their respective home States: 17.1.
                                                        INSANE

        Total number ofinstit titmus: 1615.
        Numlwr of i. stitutions reporting: 160.
         'otal tumiber of imnates reported: 225,553.
        Nativity: Native bori. 5.6%per tcel,          ; freignj Iorn, 20.90 per cit; rnkiown,
     19.42 per vcnt.
        Nt!intber of aliens ,leportable: 920.
        Nitinler rettti.tble to other Stales: Siii.
        Historical notes: (1) Nuttber of insane allies reported by 160 State irstitu-
     tions atshavizli been          i,,;prted since the establishlinet of the instititions, by
     States: AI:t:m 'i,   2; Color.tdo. I; Conectictt. 291; Delatware, 2; Idaho, 3; Illinois,
     171; lidi:ci:, 20; lhwa, 10; .Mailtre, 10; N.iryhand, 9: .\as-ahttsetts..179; Michi-
     gan, 175; Minnsota, -115; Mmti:a, I-;; Ncirlika. 27; New .ker:ey,66; New York.
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               EUGENICAL ASPECTS OF DEPORTATION     73
    5,139; Ohio, 79; Oregon, 76; Pennsylvania, 36; Rhode Island, 203; Tennessee, 1;
    Texas, 3; Virginia, 18; Vermont, 6; Washington, 303; Wisconsin, 1 Wyoming, 7;
    total, 7,637. (2) Insane residents of other States returned by these 160 insti-
    tutions to their respective home States: 8,670.

                                        CHIMINALTSTIC

       Total inber of institutions: 207.
       Number of institutions reporting: 201 (117 prisons and penitentiaries, 84
    juvenille reform schools).
       Total number of inmates reported: Juvenile. 23,263; adult, 89,253; total,
    103,516.
       Nativity: Native born-juvenile, 88.82 per cent; adult, 80.50 per ceiit.
    Foreign born--Juvenile, 9.62 per cent; adult, 14.2-4 per cent. Unknown-
    juvenile, 1.50 per cent; adult, 5.26 per cent.
       Number of uleportable aliens: Juvenile, 8; adult, 1,109; total, 1,117.
       Nuwnler returnable to other Slates: Jutvenile. 205; adult, 218; total, 423.
       Historical notes: (1) Number of criminal aliens reported by 201 State institu-
    tions as having been deported since the establishment of the institutions, by
    States and Territories: Arizona, 53; California, 67; Colorado, 5S; Connecticut, 1;
    District of Columbia, 3 (juvenile); Idaho, 29 (.1 juvenile); Illinois, 12; Iowa, 27
    (1 juvenile); Indiana, 10; KIansas, 30; Louisiana, 2; Maryland, 2; Massahelsetlts,
    13 (1 juvenile); Michigan, 96 (2 juvenile); 1issouri, 1; .Nevada, 7; New Jersey, 2;
    New York 51 (53 jvenile); Ohio, S (juvenile); Oklahoma, 72; Oregon, 1 (juvenile);
    Peimsylvaia, 5; Texas, 91; Utah, 7 (2 juvenile); Vermont, 8; Waohington, 93;
    Wisconsin, 15; West Virginia, 2; Canal Zone, 1,002; Hawaii, 10; total, 1,811.
    (2) Criminal residents of other States returned by these 201 institutions to their
    respective home States: Juvenile, 1,452; adult, 1,006; total, 2,45S.
                                          FPILFPTIC

       Total initiwlier of intitutins 13.
       Number of instututions. reportiwng: 12.
       Total number of inates reported: 9,430.
       Nativity: Native brn, 79.36 per cei; foreign born, 7.3-4 per cent; inknown,
    13.3(0 per cciii.
       Niwnaber of aliens dportiable: S.
       Number returnable to olher States: 2.
       Ilistorcial note-: (1) Nuber of epileptic aliens repoiled by 12 States inditu-
    tions as having beell deported -sinc the establihunent ,if the institutions, by
    State.: Massachusetts, 1; Texas, 1; Illinois. 2; total, 4. (2) Epileptic residents
    of other State.; returned hy these 12 institutions to their respective home Slates:
    20.
                                        TI'UnIICULi)L'S

       Total nuniher of iiitidlious: 75.
       Nnnwher of iwitifilions re orlig: 71.
       Total nunher of itnnatei reported: 14,691.
       Nativity: Native born, 6M .34; per cent; foreign born, 1.S3 per cent; known,
    20.87 per cent.
       Nuniher of aliens lelvrtatl: -T8.
       Niunih-r rehf rnable to other States: 3.
       Historical notes: (1) Number of tulierclous aliens reported by 71 State
    in.st.tiiolns ts having been dcliirted since the estali.-hwiucnt of the iinstitutionis,
    by States and Territories: Cminctinit, 26; Maryland, 6; Mns:clwsetts, 10;
    Missouri, 2; Oregon, 3; i'enwa-ylvaia, 5; 1lawaii. 57; total, 109.
                                          LL'iEOVI'S

      Total number of institutions: 7.
      Nuniber of institutions reporting: 6.
      Total number of inmates reported: 5,955.
      Nativity: Native born, 95.67 per cent; foreign born, 4.33 per cent.
      Nwimber of aliens deportable: 1.
      Historical note: Numbier of leprous aliens reported by six State institutions
    as hr.ving been deported since the establi'hient of (ihe institutions: Cawa"
    Zoe, 13; Louisian"a, 1; total, 11.
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     74                       EBTOENIAL ASPECTS OF DEPORTATION

                                                         BLIND

       Totol number of institutions: 45.
        Number of Institutions reporting: 41.
       Total number of iumates reported: 5.421.
        Nativity: Native born, 93.41 per cent; foreign Ioris. 1.79 pewr cent; unknown,
     4.80 per cent.
        Number of Inmates returnable to other Stales: 11.
        No inmates reported as having )een deported or returned to other Statee.
                                                          D:AF
        Total number of institution,: :13.
        Number of institutions reporting: 32.
        Total number of inmates reported: 6.1369.
        Nativity: Native born, 87.75 per cent; foreign born, 1.47 per cent; unknown,
     10.7S per cent.
        NXiniber of imnates returnable to other.States: I.
        Historical notes: (1) Wisconsin School for the Deaf has deported 15 aliens
     since the establishment of the institution. (2) Deaf residents of other States
     returned to their respective home States: S.
                                        I)F01M11;
       Total nm'ber of institutions: 7.
       Number of institutions reporting: 7.
       Total number of inmates reported: SS3.
       Nativity: Native born, 97.96 per cent; foreign bunrn, 0.01 per cent.
       No inmates deported or returned to other States.
                                                       DEPENDENT


       Total number of insituti, ns: 93.
       Number of institutions rel)ortitig: 86 (66 homes for the aged amid infirm, 20
     homes for children).
       Total number of inmates reported: Adult, 35,155; children, .1,463; total, 39,61S.
       Nalivitv: Native horn-Adlt, 71.13 ter cent; children. 99.80 per celli.
     Foreign bor-Adult, I1-.-13 per cent; children, 0.20 per Cenlt.    'nkmiown-Adult,
     14.44 per cent.
        Number of aliens deportable: -i0.
        Number returnable to other States: 6;4.
         historical notes: (1) The State itifirmary at, Tewksbury, Mass., has deported
     210 dependent aliens simce the estaldishmment of the institutiom.    (2) JDepei(le;at
     residents of other States returned to their respective home States: State infirmary
     at 'Tewksbumry, Mas., 1,013; Confederate I lme, lliggirisville.    Mo.,  1.


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     "rile C,'s-;             NoNDEP;lORlTARIlLITY         O    FI)M-G~l~tN-11ORN.'I-VIIATES OF .\.MMIUCAN
                                       iSATE .    17-;t')DAL. I1'.TITUT~i[ON.'


     (This is a special miemorantimn prepared by harry if. Lighlin, for Iol. Albert
       Jolnson, ehairmal:I of the CommittCe on ]liImmigrationl and Nattiralization of
       the iounse of hllpresontativ's. This memnoran'll m r~iws an amalvsis of ihe
       principi:l inings of the present inv stiations ,mi deportation n'de for this
       coluliulit toO..                                                         -]
                                              i .Uflm: NIs Ii ]t;',u!u' I )FFIv! .
                                                 C.'m'AIR:oIF    [\'-Ti'rjrio\   OF      .
                                                   (:,)I, S prinI bi.b,, ,,      . Y., Jit,v-   , I 19M?.
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               Ci;*.   '.'.     It   respois      to     oir   re(Im'st I sibmuit this letter as :t short
     sitm'tmarv Or Ihi recet.i ,vstigmtioins on dleportation of soial ibtmah'cgates which
     I have |'emm ecmznlmeting for thi' Comnittee or Immigration aul Natralizttion
     of the lioums of Itpresen0tatives.        'hi.s survY smipli, I first-hatntl data in
     reference to inmate population nativity awil deportahility of 61 out of 6WS State
     and F,,hral instititious covering all't.l       s of soivial ii~m maev in tit se'vetal
     Stat-s. 'l'huis, inslitlions ha I -m t h' 'iti-s of hi.r rtspective reti-rrns which were



           1     I
9-cr-02637-MSB Document 57-3 Filed 10/14/20 PageID.432 Page
                EUGENIOAL ASPECTS OF DEPORTATION    75
     wade during the calendar years 1925 and 1926, a total of 478,433 inmates, of
     whom 74,170, or 15.50 per cent, were definitely known to be of foreign-born birth.
     There were doubtless many more aliens among this total institutional population
     because the institutions reported being unable to determine the nativity of 10.58
     per cent of their total charges.
         Our present task Is to study these 74,170 foreign-born inmates in reference to
     their deportalpility. We find that only 3,798, or 5.12 per cent, of the total
     number of foreigni-born inmates were reported by their custom ians as definitely
     deportable. Iiowever a survey uimde several cars in the future would un-
     doultedlv show only a fraction of this nimier as actually having beeu deported,
     because imatey of them will (it.      before possible deportation; a very small numier
     will Ie discharged or reported Ps "recovered," but tle great majority of them
     wiill li themselves
                    ,
                               retained in their rspective institutions intil tley severally
     atali five       vesn of residence iii the United States, at ohich thne' they %%ifi
     ailtolliatlh'Iy ease tIe depo rtalae.             0
         NOTL.-,e 'ahle II, P. 8, for the essential data analyzed in this mnioran-
     dili m.
         There are three principal rtasmi why t he foreign-born ininates of our custodial
     institutions are not deportable. 'fljee amr, first, the foreign-born person may
     be a naturalized citizen; second. he Iay have been a resident of the Unitel
     States until the statute (if limilations has nade him nondelortahde; third, lie
     may have become inadequate and dependent, actually or technically, from causes
     arising sice his admission into the United States.
           ih neaccompanying table (Tihle II, p. s) gives an analysis in reference to
     tliese three causes of nondeportability. Of these 74,170 foreign-born inmates
      15,363, or 20.71 per cent, were not dleportable because they were naturalized
     citizens, 33,447, or 45.10 per cent, were not deportable because they had resided
      in the I aited States more than live years; while only 3,526, or 4.75 per cent, were
     not deporable because they were inadequate and dependent from causes techni-
     cally reported as arising since their admission into the United States. While the
     authorities clahnned nondeportalility for IS,036, or 24.32 per cent, but gave no
      rea-,ias for such vlaim. Contnastcd with these 70,372, or 94.88 per cent of uon-
     dcportables nly 3,798, or 5.12"per cent were listed as deportable.
          Permit n.e tosunumnarize tur findings by causes and classes. Among the foreign-
     born fechle-minded persons in institutions of the United States we find that only
      15 (or (1.9-1 ier cent are naturalized (ili/cns. It is a strange comamcntary on our
     natmalizaticn procedure that any court should naturalize a feeble-minded
     individtial. For the insune, the excu.e- is wore reasonable. The alien might be
       .elav:ng normally in every respect wihen naturalized, hut might later break
     doli        itlh insanity, billt jivrm.-s do not break do%%n with feeble-inndedness.
       lie latter are casLvs of retarded mental development. They never reach nor-
      nvality. Nine or 0.56 per cent (if the. feeble-nimided alien inmates were declared
      to Ibe nondeportahle because I hey bIcame feeble-minded from causes arising since
     tlheir admission into (lie United States.
         Of cour,e, illchildhood, d-ease or accident may cause an otherwise perfectly
     normal child to suffer anl arre.-ted mental development. So these caes seem
     reasonable and are not delortnble under our policy. If it can be shown definitely
     that in certain cases the caunes really aro:e after admission to the United States,
     thein it would scene that our just duty would be to maintain these unfortunates
     in our institutions. lint, ol flile otler hand, of the total of 1,602 foreign-born
     feehle-minded inmates we fild oly 21, or 1.31 F.er cent, listed by their institu-
     tional authorities as deportahle; 926. or 5i.80 per cent, are not mow deportable
     beca se they have been residents of flie United States for more than five years;
     631 individuals, or 39.5S per cent, w'ere claimed by' their custodians as being
     nIlhdijortable, but for this number the autho ities gave no reason for claiming
     such immunitv. Tits meais, of tmrse, that the feeble-minded persons were
     always so; thht feeble-nifidedn.-.s is a con.titutional defect; that this whole
     particular group was admitted into the United States contrary to the law which
     forbidN the admission of feeble-minded persons; and that because they were not
     located and deported within five years after their arrival these mentally defective
     persons itmust remain a permanent exlwnse to the several States, and a social
     amid biological drag on tine l plulalion of tile country.
         Tile insane show a very diflreint ritulatioi.      Iiere, of the 53,9.0 f,icign-brn
       inmates, we find that only 1,22:3, ,or2.27 per cent, are deplortable; 11,439, or
     21.1 t per cenlt, are Ittdeportabiae because' they are niaturalized citizens. This
       Wieal6s thal,ait the time of ilmligratimill, atind fr :a ]liltl   Of vears afterwards,
                                                                       t'r
     the numemiticrs olf this partichllar groitip mere e.t(msitsly sotuid lit iicnshil material
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               EUGHNICAL ASPECTS OF DEPORTATION

     and were therefore naturalized. Later on they developed psychoses the incipient
     signs of which were not recognized at admission into the U0nited States, nor at
     naturalization. Next we find that 25,730, or 47.66 per cent, are nondeportable
     because they have been residents of the United States more than fivo years;
     while 1,615, or 2.99 per cent, are reported as nondeportable because they became
     Insane from causes arising since their admission Into the Unitcd States. While
     13,979, or 25.89 per cent, of the foreign-born Insane were listed as nondeportable,
     but for such nondeportability the institutional authorities could supply no reason.
     The relatively small percentage of alien insane becoming so from causes arising
     since their admission reflects, statistically, the constitutional nature of insanity.
     Only in case of a very severe injury or poisoning, or infection with certain types
     of diseases, can Insanity 1)e sail to 1)0 caused, primarily, by factors other than
     those which are constitutional and therefore inborn ald hereditary in the
     Individual.
        With the criminalistle classes thelsitiation statistically parallels that for the
    insane. By figures and percentages, we find 11,22.1 foreign-born persons in
     prisons for the more serious crimes, who arc reported, iii this survey, as being
     criminaistic. Of these, 2,409, or 25.02 per cent, are reported as deportables;
    2 032, or 18.09 per cent, are not (lel)ortables because they are naturalized citizens.
     Next, 3,272, or 29.15 per cent, are nondeportable because they have been resi-
    dents of the United States for more than five years; only 248, or 2.21 per cent,
    were reported by their respective institutions its being eriinalistic from causes
    arising since their adtisslon into the United States; while 3,265, or 29.09 per
    cent, of the foreign-born inmates in our irisots and reforiatories were reported
    nondeportable, but no reason for such ionle)ortalbility was given. Thus,
    statistically, we find that the foreign-born potential criminal is, ih general, a
    constitutionally inadequate person, uIt that, in many cases, he was abie to pre-
    sent so normal an appearance to the immigration ollicials and to the oititirali-
    zatiot oflicers that, before lie was taken lit charge by the State as a crinitaliistic
    person, he was adinitted and naturalized as a normu Mitd desirable citizen.
       Amotg the epileptic, 741 foreign-born iimates were reported. Of these, only
     10, or 1.34 per cent, are deportable. Of those who were not deportable, 71, or
    9.48 per cent, were naturalized citizens; 668, or 89.78 per cent, were it the United
    States more than five years, while tot a single one of this class of aliens wam re-
    ported as having become inadequate from causes arising sice admission into the
    United States. Thus, as with other types, statistically, the epileptic show con-
    stitutional rather than environmental causes of this particular iniadequating
    defect.
       Among the tuberculous class 2,608 foreign-born patients were found. Of
    these, 118, or 4.62 per cent, were designated as deportable. Among the non-
    =opprtale, 858, or 32.90 per cent, were naturalized citizens. Oie thousand and
    eleven, or 38.77 per cent, were residents of the United States for more thalt live
    years; 541, or 20.74 per cent, were reported as having become tuoiercuhlous from
    causes arising since their adinissim into the cited States; whie 80, or 3.07 per
    cent, of the tutherculous aliens in State institutions were listed as nondeportal;.e
    with no reason for such given. ''iberculosis is all infectious disease wlich is
    most likely to bit the young and underltourishcd, but there is also an element of
    heredity in its cause." Soite families and individuals are especially susceptible
    to it by herelity, others sceit to lilierit comparative iminunity. While we seek
    earnestly to prevent ani to cure tuberculosis in this country, we should logically
    eiough aid such prevcttimot by guarding against the immigration of infected per-
    sos and of persons who are, by itlmeritamce, most suiseeptible to this disease.
       Aiong the 52 foreign-born lepers, there were ito natuiralized citizens; nrone
    had coitractcl leprosy after coming to the Uitited States; bitt all, or 100 per cent,
    were nondelortable because they had been here for nore tIalln five years.
       The blind showed 130 forcigm-Iorn irmiates, none of whom was cieportalble; of
    these .14,or 33.85 per cent, were noidet-portable becaiise of nattralizatioti; while
    45, or 31.62 Iper cent, showed a residence of more thait five years' duration; avid
    15, or 11.54 per ceit, were Ihindied front causes arising sin'e their arrival ill the
    United States; and 261, or 20 per ccit, were !isted a mionuleportabihe but with no
    reason given.
       The deaf showed on.iy 57 foreign-born ininalhs, of whom only 3, or 5 76 per
    cnt, were listed as deol;rtaue; 11, or 1,930 per cent, were ntt dlci orlablo because
    of naturalization; .33, or 57.89 per cent, because oif more thtan five etas' residence.
    No aliet deaf ill institutions clainmedl iitlntu itv from deportati.ii on account of
    Caul1CS arising since admuissiomi; while tie aithoritics %itcd10 alie (leaf, or 17.54
    per cenit, of this group as nondileportalple Iut gav' iot rasit why.
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               FUOENIOAL 57-3
                         ASPEOTSFiled 10/14/20 PageID.434 Page
                                 OF DEPORTATION

         'l'le:eloefriited ndl Crippled showtel I h Id aliei iniiates being inemtitairted by
     the States primarily ol iecout, cf deforiity apart from depeinericy or other
     inaleegaig causes. Of these 16, none was listed as deportable. The reason
     for iilth)ortllility ii the ease of 12 individals, or 75 per cent, was jioro than
     live years. residence; mide of .1 iitliviletals, or 25 per ceit, was depenteit from
     c*titie.' itristig sttee tdiiissieit.
         In the elepenidenit classes there were 3,7-16l foreigee-liorn initiates; olly 14, or
     0.37 per cit, of whou were dejportable. 'he ease. of totileporttlbilit' Iarallel
     closely with those fur the ietamc and the critnitalistic classes. We-l tiac that 895,
     or 23.89 per cit, were niatiralized citIzens; 1,69S, or 45.33 per vent, fiatd been
     residents of the United States inero itan live years; ,091, or 29.2) per cenit,
     were toitl'eportable front causes reported as arising hic admissiont into the
      United States; whilo -15, or 1.20 1er cent, were listed as nomde'porlablo hut the
     anittorities gave nio reason whir.
         Norit:illy, if nece sary, the Anericant people scen glad to stipport, in their
     ilistitutions, their foreigi-born residents wh) alte leocle.ss, aged, or crippled, or
     %hito are disabled by accidelit, provided riih persons caitie to tihe 1'utited States
      elise nlild l th acidaitii,      aend who, at lie tue (if ahi.issioni, so far as file motest,
     critical ex:ii       tioite utlhl determitle, were proiiitig citizenship material. But
     nice (tenn taot doult the meost till of our foregii-lborit elieitdeets would show, i a
     inore carefitl workicig eiet, of lheir Iperso al "end faitczily histories, a I talrepuilation
     itll aIt highltp'erntiIge of eillereitt kitIs eof collstit tltoitll or hertditiry inle-
      putecy :tiutoitg their iecar kil. There tare, (if course,. exceptions, tit ill general
      lhese illadeqllates have tlot tended to raise tit' .Atl:irdsof iIzitl)i aid efli-
     cicneey. They have, contrary t tit- intent of otr laws, somehow gotten ito the
     ('4)plllt Iv.

        l'erihit me to e euuterate what seen to he the logical cotliislriis of this p:rtleu-
     lar research:
        I. hite five-year limiltalion provides the pritwilial cause , noneleprtahility,
     and ceset'ently the princilpl caise of ciurretit experist in rnaintainiting foreigi-
     horn ineletituales an delendents cif all tVpes.
        2. Practically onue in five of our forei n-horn islituitional ininats claina hn-
     intinity front eleportatiot oil aticoeitt if nattiralizaioi.    This is tlu it large per-
     reittage, liit it speaks rather lielerly for this. phase of iir tialeralizatiat practice.
        3. 'Ite siaI) percentage, ait it I in 24), oif foreigt-|iorn inttates reported as
     Iiondcperlable froti causes arising sit'e adtissio in to the Ulited State, .ihows
     thal, generally speaking, lhee causes. of inaedccqutay are censtitutioial rather than
     eivironilitiil or aecidnttl, intl t hat1, except iI e'.casional inslilee, Ilhe foreign-
     lern in Aieritcan custolial institutions represent defective imian                     reedinig
     stocks.
         .I. From    lit'  stahtelpoint   ,if ratel coniservalion, justice, charity, aimd eceuloty,
     I hte'      ldtit'
                 t      e     ent ralte time te'ssitr--
         (i) 1Fcr establishing higher stlatieards, aild for exeriiag greater vigilanice ant
     .t rictne'ss in sortitig oet dlefe 't.ivcs, anit parlicilarly pItelitial inadtequates, who
     alteliept to cnter the U'nited SIt's its itmiteigract.;.
         (b) 1Fr exercising greater sneilitay to avid iaturalizing ),thitial erittiials
     anid clleer inadetlehatcs, Partic'iearly lie ltoeutially insatt' nuuIt' ctr-d-wells.
         (r) liolgically, the whole siluatitent pediss loeiari lhe practical ui'ess.ity for
     leretrielitag, in flier iiinigratiot statutes anei retflat ins, agetivis for s.'iering iore
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     referc'ite' to hislrpersoial anl faetily history and his rehoitatien, aete for ieakitg
     the attailititent of higl personal ri'htitatieen a ite1 a socundl faitily iistery pre-
     reqiiisitcs fer the tlmis.siot of iitiigratts.
         Of 'oiir.e, oiily ill seefar :ts ecir fcre'igtt-lern inadeqlh.ats of bad ldehcl bave
        c'boitac' pairent.-; ;of children. cer tar. in dliv fittinr' lt clii' Slech, are MlIety a per-
     Iimnleitt Iniace. The principit eif i tliring eae'hi country and r'eccmmnit' which
     proeeces an inleetuiate to care for lin requires, as,;aitint lr (ef Niare itealilng--
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      Ilan the , exeptinal ret urn of fereign-oriec             ia ilats   to Iheiir lie    cmi t '.s
     antl ecell iuceit 's. it is itlih imire ittipertant i l ll ihia's of itit idmitatlitcit to
     loIck eire after the nest ge-raticce hite aiter the lir,'ciel.
          ltc.' li''t ully seli lititd                                    l,',Iii.
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                                  OF lEi'OITATION

                                                          APIE.NDX N
       Set of ile principal schedules tised in securing data for the researches on depor-
     tation reported fi this hearing. Prepared by Harry Ii. Laughlin.

                                                             Fins A
       This form was used to secure the correct list. of State institutions for the social
     inadequate. A list had been previously prepared as of January 1, 1921, and
     the present form brought this list down 'to the limp of the present investigation,
     January 1, 192i4.
     EII41:'ICAL, INVESTIGATION OF TIlE E      lOMMITTEF:
                                                      ON I tMMiltATION AND N.VTI'rAl.-
            .IZAfo" %'ii Till: HOUSE OFIt1Il:E-NTATIVU.S, WASIINGTO,     I).I.
     Subject: New custodial instititions opened and old custodial instit-itiois closed
       in tileState of -.... since .Januarv 1, 1921.
     (For ulo I[ii alrealy in Imn I. -cy I which we 'e;ire to correctt oring down If. eite, meo"Stnittlm
                                                                    tin 1 elillqlle:t' ('Ifsos$," Unite, I Wlties
       l)irectory of.vte Ii'!iitioi for tlie I)';,0tIve, l)epen I.nl,
           Bureal of the Co(. q14)

        For the present pirpose, a custodial instittltiohi is olle devoted to custodial
     or other cotitiitioUs care, treatment, or educa!ioi of persons belonging to one
     or more of tilefollowing classes: (I) Feeble-nuinded; (2) insane includingg the
     Inervous and lisiychopatler)                 ; (3) (riminalistit    (liwlliling the I1clilllelit
                                                                                                    atld way-
     ward); (4) epileptic; (.5) iebriate (including drig habitt6.s); (6) I)iseased (iiudll-
     ilig the tliberculoits, the syphilitic. the leprouts, an1d others with chronic ilfec-
     tiois segregated diseases); (7) blind (iclUding those with greatly impaired
     vision); (8) deaf (including those with greatly ilmpaired hearing); (0) reformed
     includingg tie crippledl); &uii( (10) dependent tinilding chihlrei and oi folks
     in homeses" ne'r-do-wellI, tramps, aid paperss.
                          (A) NKW STATE INSTITrTIsiNS OtENEI) SIN(E JANUrAlRY I. v921

                                 inslitution
                          Name t,1                           Where                  Dd
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                                                                                                          dfrOvidt~l for


     (5)--. "----
     (4)-----    -----------
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        Kinfllv illolt this scltdlile and returns it to II. It.Laulghlin. expert ciugeihics
     Lageit.  onmniittu e oinImmigration nd Natiralizationi, louise of llprescintatives,
     Cold Spring Hlatrbmor, Long Island, N. V.
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       aU             .
                          i                  U

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               EUOENZOAL ASPEOTS OF D, POTATION    79
                                                                       FORM B
         This form gave the first returns for all State and Federal Institutions!
      RUCIENICAL INVESTIGATIONS OF THE COMMITTEE ON IMMIGRATION AND NATURAL-
            IZATION OF THE HOUSE OF UHF.PRESENTATIVES, WASHINGTON, D. C.

      Special subject: Deportation of public charges.
        I. Name of institution -                                               . . . ..-----------------------------------------
        2. Where located ----------------------------------------------------
        3. Social or pathological classes provided for ---------------------------
        4. Are there any limits to the races or nationalities provided for?----------
              If    so, describe ---------------------------------------------------
              ...............................................................-

         5. Sexes provided for: Males only, females only, or both sexes?..........
         6. Inmate population -------------      Date _--------------------------
              (a) Of this n~mnher, how many arc native horn?
                        Males ------------ females ---------- , total--------.....
              () flow many are foreign born?
                        Males ------------ , females ------------ , total..........
                                                                               Grand total ...........
        7. Aliens deportalile.--O! the present foreign-born inmates, how many are now
      deportabie?
                           Males ---------- , femals ----------
                                                                                      , total ...........
             (Uniter sections 18. 19. and 20. Immigration act of Feb. 5. 1917. providing for deportation of aliens
           who become public charges within five years after adminssion.)
        8. Residents of other States rcturnable.-Of the present inmates, how many
      ar, returnable or deportable to other Stntes of the inlo. under the State laws?
                           Males ------------- females ------------- total ------------
        9. Please give relerence to State laws and regulations governing such returns
         -- - - - - - - - - - - - - - - - - - .-..   .   . .   . . .   . . .   . . .   . . . . .   . .   . . ..   .   .   . . ..   . . .   . . . .   . . .   . . ..--
                                                                                                                                                                  - - -


         10. historical note.- -how marnyv inmates of the, institution have been deported
      or returned sice its establishlment (state wLhethCr Cstimated or compiled data)-
                ,) 'o foreign countries? Male -        , female ------   total -----------
              () To other States of the Union? lule ---          ,female -       , total.. - -
              (c) Date of first return of inmate to other State or nation -------------
                                 (Signed) --------------------------- ----------------
                                 (Position) ------------------------ ------ ----------
        D ate --------------------
                                              FPonNI C
         "his furill .iiplied s:,ljhplmentary reltiro4 in reference too the initiative taken
      in seciling Me(l     .urnat ionIof i.:stit mlional inmates, to supply data oin ciulahora-
      lintalbei -4em8tate And Fedlerid itlhutitics, anul too inquire into the plivy 4,f the
      st-eral State. in rt,ference to the return of nonresident in-titutional iiites.
      LtuCi;d'AL.INVisTi(ATiINi:.Js OF TiE dOMMITTFI ON IMNIIiiIATI43N A Ni) NATUIAI.l-
            ZATION ')F TIM HO'SE (IF IIt-PIsFNTATIVFS, WAS111. (IroN, 1). C.

      Special slbjec.: S1isilde!intary notcs on the deportation of puihlle charges.
        1. Name of institution ----------------------.------------------------
        2. Where located .....................................................
        A. )eportation of aliens:
                I. With what Federal dclmrtation office, if any, has your inslituition
                     m iadeililue liate conta cts? ...............             ..................
                2. In the case of deportatioi of aliens from your inslittion, wvho has
                     taken the initiative, your institution or the Federal authority?_ _.
                    :4. It. the e. 4,f dcelirttin of aliis front your in.tituiti-n, who) pays
                           the '.st of ralsport nl ion tilld oIt hel" helpuriation e,.hitenes( to tie
                           Border or port of depart tire. yicr izAa.-ilt in (thai is, your State)
                           vr th-, l'dvral (&i )v.rnnzet? (':l1niua sy.Aein of charges.) ......
                       89 0-2-------0- - - - - - - - - - - --                                                         - -- - - -                         -- --



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                DUG KOAL A ES OF DEPOEATTION
         B. The return of citizens of other States who are Inmates of your institution:
               I. Whenja citizen of another State is returned from your institution, to
                    what officer in his home State is he delivered? ................
                          -------------------------------------------------------
                  2. Inreceiving
                        such eases, what is the nature of the cooperation given by the
                                 State?      .. . . . . . . . . . . . . . . .. " . .
                          receiving
                             ----                                        ..---------------------------------------
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                    3In return
                         tecase   ofsuch. returns,
                               charges?    . . . . who
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                                                         . . .the. .transportation
                                                                       . . . . . . and
                                                                                    . . otl'tir
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                         Muni-c- r-- ?--------------------------------------------
                        -------------------------------------------------------
                  4. What. practical rule determines whether an Inmate shall be returned
                          to h is ho m e S tate ? . . . . . . .. . . . . .... . . . . . . . . . . . . . . . . . . . . . . . . . .
                          -----------------                 M--------------------------------------
        ( . Rem arks : ----------- ------                   ---------------------- -----------------

                             (Signed) ........................................
                             (Position ) -------------------------- --------- -----
        Date--------------------------
                                                           FORM D

        This form supplied data on the reasons for nondeportability of nondeportable
     alien inmates:
                        Causes of nondeporfability of foreign-born inmates
     N am e of institution -----------------------------------------------------
     W here located ----------------------------------------------------------

                                                                                                          Number

                                                                                               Male       Female         Total

     Number of foreign-born Inmates ..............................................
       A. Foreign-Mtn Inmates deportable .....................................................
       B. Foreign-born Inmates not deportable .................................................
                (a) Not deportable
                  ()Not deportable because
                                    because naturalized.
                                                 in United StWateiveyears     ..............................
                                                                                            or------
                       longer ..................................................                            ..........
                 Ce)Not   deportable because dependent from causes arising
                       since admission to United States .................             . ....      .

        Date --------------------------                              (Signed) ........................
                                                          FORM E
       This form secured still further detailed information concerning poUcies of the
     several States in reference to deportation of aliens and the interstate return of
     inadequate:      COMMi.7-EE ON IMMIGRATION AND NATURALIZATION,
                                                                      HousE          OF REPRESENTATIVES,
                                                                                                IVeshington, D. C.
     SPECIAL RESEARCH OF THE DEPORTATION OF ALIENS, WITH PARTICULAR REFER-
                  ENCE TO THE PRACTICES OF THE SEVERAL STATES
                                                                           State of ...................

       YOUR EXCELLENCY: The Committee on Immigration and Naturalization of
     the House of Representatives is making a study of the deportation of aliens.
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                           EUGENICAL ASPECTS OF DEPORTATION                                            81
    In order to perfect this research, we need certain data about State practice in
    the matter. We should be very grateful if you would request the proper State
    official to fill out the inclosed questionnaire and to return it, with other appur-
    tenant data, to Harry H. Laughlin, expert eugenics agent, Committee on Immi-
    gration and Naturalization, House of Representatives, Cold Spring Harbor, Long
    Island, N. Y.
            Very sincerely,                            ALBERT JOHNSON, Chairman.



                                              FILING RECORD

       I. Received by the governor of the State on ............--                            and referred
                                                          (Date)
    to ---------------------------------------        for reply.
                     (Name of officer)
      2. This questionnaire was filled out, and the accompanying schedules supplied,
    by -------------------------------------------------------------------
                             (Name)                                         (Official position)

                       (Address)                                  (Date)
       3. Date received by the Committee's agent ------------------------------
      NoTz.-Wben this questionnaire Is filled out kindly return it. accompanied by the records asked for in
    Item E. page 4, to larryH. Laughlin, Expert Eugenics Agent, Committee on Immigration and Naturgll
    zation, House of Representatives, Cold Spring Harbor, Lrng Island, N. Y.
                                                                State of --------------------
                      DEPORTATION LAW[,          REGULATIONS,       AND    PRACTICES

    A. State authority:
             Official designation of any central State board or office having charge
               of the State's custodial institutions, relief cases, the deportation of
               aliens, and interstate return of inadequate citizens.
                  Official name of board or office -------------------------------
                  Present chief officer .........................................
                                                    (Name)                              (Position)
                                              -----------------------.-----------------
                                                                     (Address)
    B. Deportation of aliens:
            I. In case of deportation of deportable aliens found in the custodial
                 institutions of this State, or In the State's population at large
                 who takes the initiative-the Federal Government or the Statef
           2. Please describe in some detail the procedure followed in effecting
                     the deportation of deportable aliens found in the custodial insti-
                     tations of the State -----------------------------------------

               3. Also, please describe in some detail the procedure followed by the
                    State officials in deporting deportable aliens found in the State's
                    population at large: ........................................

               4. References to and copies of the laws of the State under which the
                    above practices are carried out: ------------------------------

               S Statistical deportation records, by date, sex, age, type of defect,
                   iiation or race, from the central State authority:--------
9-cr-02637-MSB Document 57-3 Filed 10/14/20 PageID.439 Page
      82                     EUMBNICAL ASPECTS OF DMPORTATION

      C. The Interstate return of socially inadequate American citizens from your
            State to the State of which the deportee is a citizen and legal resident:
              1. Kindly give reference and quote any State law, regulation, order,
                   or practice under which a custodial inmate or public charge, or a
                   socially inadequate individual in the population at large, may be
                   returned by and from your State to the State of which the deportee
                   is a citizen and legal resident: --------------------------------

               2. What is the procedure followed in such interstate deportations?                                               --

               3. Statistical interstate deportation records, by (late, sex, age, type of
                       defect, and receiving Sfate: -------------------------------

      D. Criticisms and recommendations:
               1. What history and condition of an alien would, in your opinion, form
                   an equitable basis for the line of demarcation between (a) the
                    moral and legal responsibility of the State or community to care
                   for an alien public charge, and (b) public policy to deport a socially
                    inadequate alien found within or becoming inadequate within the
                    territories of a given State or community? ....................
               2. Where would you draw this line in the case of American citizens
                    legally residents of other States or cities?-------------
               3. What Federal or State laws, regulations, or practice would, in your
                       opinion, insure the more certain and prompt deportation of deport-.
                       able aliens, and the interstate return of citizen public charges to
                       their home States or communities? --------------------------

     E. Documents ana iecr s:----------------------------------------------
            Kindly accompany the return of thi, questionnaire with copies of laws,
              regulations, forms, orders, records, statistics, and other appurtenant
              data.
            List of such material which will accompany or follow the return of this
              questionnaire:
                 I ---------------------------------------------------------
                 2 ---------------------------------------------------------
                      3 ----------------------------------------------------
                      4 ----------------------------------------------------
                            . . . . . . . . . . . . . . . . . . . . . ..--
                                                                      --   . . . . . . . -.-- - . . . . . . . . . . . . . . . . . . .
                      6 ----------------------------------------------------
                 -- -- - -

      F. Remarks:
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